             Kyle S. Hirsch, Esq. (#024155)
             Julie M. Birk, Esq. (#033908)
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             Two North Central Avenue, Suite 2100
     3       Phoenix, Arizona 85004-4406
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     5       Internet: ky\';, l;ij~s~l)/{{J?Q) ph}\~L.l~(}
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    6
             Counsel for lndigo-Dl.I Holdings 1, LLC
    7
                                           IN THE UNITED STATES BANKRUPTCY                    COURT

                                                       FOR THE DISTRICT OF ARIZONA

             In re:                                                         In Involuntary Proceedings Under Chapter 11

             GILBERT HOSPITAL, LLC,                                         Case No.2: 18-bk-04557-BMW
   1')
    ~I
         !
                                                         Debtor             DECLARA TION SUPPORTING MOTION
   13 :      ----_.----------------                                         FOR RELIEF FROM THE AliTOMA TIC
                                                                            STAY
   14        INDIGO-DLI HOLDINGS J, LLC,

   15 :                                                  Movant
         I

   16 I v.

   17    I   GILBERT HOSPITAL                    LLC,

   18                                                    Respondent

   191
         I             I) Benjamin           Bornstein,       first being duly sworn, upon my oath. make the following
   201
             declaration.
   21
                       1.          I am of sound mind, over the age of 18 years, and fully competent to testify to the
   22
             matters stated herein.

                       2.          I am a Company Officer of Indigo Capital Services. LLC the special servicer to

             Indigo-Dl.l Holdings L LLC ("Lender'').                  I am authorized to make this declaration on Lender's
   25
             behalf.
   26
                       3,          I make this declaration of my own personal knowledge.              If called to testify. I
   27
             could and would testify consistently with my testimony set forth herein.
   28

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                          f,

                                          4.          Attached as Exhibit 1 is the application          (0    appoint a receiver. along with my

                     ~I        accompanying           declaration,    filed in the Maricopa County Superior Court ("Receivership                      Action
                     3         Declaration"),         which    r   hereby incorporate    by this express reference.             Capitalized       terms not
                     4         defined in this Declaration have the meaning given in the Receivership Action Declaration.
                     5                    5.          r   have also read and reviewed Lender's motion seeking relief                1'1'0111   the automatic
                     6         stay that is being filed in the above-referenced                    bankruptcy      case ("Stay Relief Motion").
                     7         Attached as Exhibits 1-3 to the Stay Relief Motion are operating figures pulled directly from
                     8         reports submitted to Lender by GH and FHA management.
                     9                    6.          GH and FHA reported to Lender that they had combined cash, by the end of
                    10         January 20 18, of less than $200,000.            GH and FHA reported slightly higher cash balances as of
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                    111        the end of February 2018.
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                    12                    7.          GH and FHA provided Lender, through counsel. with cash projections for the
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                               2018 calendar year.             According to those projections,

                               2018. and GH will have only $36,000 in cash by the end ofNovember
                                                                                                     FHA will run out of cash by September

                                                                                                                            2018.

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                    16
                                          8.          According to GH and FHA's management,                  specifically     Dennis Rutherford, GH

:!It                           and FHA have been engaged since approximately                    October 2017 in an ongoing effort to sell their
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                   17     I
                               assets and operations as a going concern.                To date, Borrowers have received only one letter of
     ~
                   18          intent, dated March 30, 2018, that Borrowers have not accepted and which contains several
                   19          defects.

                   20 '                        have read the foregoing Declaration             and declare Linder penalty of perjury that the

                   21
                   22
                         I     foregoing is true and correct.

                               DATED:          May 3, 2018.
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                         EXHIBIT 1




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                         Main Document   Page 3 of 174
                      1   Kyle S. Hirsch, 024155
                          Julie M. Birk, 033908
                                                                                             COpy
                     2    BRYAN CAVB LEIGHTON PAISNER                                        APR 06 2018
                     3    TwoN, Central Avenue, Suite 2100
                                                                                              MICHAeL K. JEANES, CLERK
                          Phoenix, AZ 85004-4406                                                      C,CRUZ
                     4    Telephone: (602) 364-7000                                                DEPUTY CLERK
                          Facsimile:. (602) 364-7070
                     5
                          E-mail:       kyle.hirsch@bclplaw.com
                     6                  iulie.birk@bclplaw.com
                     7    Attorneys for Plaintiff Indigo-DLI Holdings I, LLC
                      8
                                          IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                      9
                                                     IN AND FOR THE COUNTY OF MARICOPA
                     10
    0                11   INDIGO-DLI HOLDINGS I, LLC, a Delaware                Cas~·No. CV-za ,<,(-OOS-l'ID
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                          limited liability company,
11:111(0             12                                                         APPLICATION FOR EX PARTE
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    Ul  •                                      Plaintiff,                       APPOINTMENT OF RECEIVER
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ozlllO
... ~fX),...                       vs,                                          (Commercial Court Assignment
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                                                                                Requested)
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                     15 NEW VISION HEALTH, LLC, and Arizona
Bt~g
 ~ ~-                   limited liability company; GILBERT
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~ I- ~
                     16 HOSPITAL, LLC, an Arizona limited liability
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                     17 company; and FLORENCE HOSPITAL AT
    ~                   ANTHEM, LLC, an Arizona limited liability
                     18 company,
                     19                        Defendants.
                     20
                                  ,Pursuant to A.R.S. § 12-1241 and 1242, Plaintiff Indigo-DLI Holdings I, LLC
                     21
                          ("Plaintiff") submits this Application for the appointment of a receiver ("Application") to
                     22
                          take full possession and control over the property owned by, and the business operations
                     23
                     24   conducted by, defendants New Vision Health, LLC ("NVH"), Gilbert Hospital, LLC
                          ("GH"), and Florence Hospital at Anthem, LLC ("FHA" and, collectively with GH and
                     25
                     26   NVH, "Borrowers"). Plaintiff seeks the appointment of a receiver without notice to the

                     27   defendants pursuant to Arizona Rule of Civil Procedure 66(a)(3).

                     28


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                   1            This Application is further supported by the attached exhibits which include,

                  2    among other things, the supporting declaration of Plaintiffs representative, Benjamin

                  3    Bornstein, attached here as Exhibit 1 ("Bomstein Declaration") with the exhibits attached

                  4    thereto, and the supporting declaration of the proposed receiver, attached here as Exhibit
                                                                                               I




                   5   2 with the exhibits attached thereto; the proposed form of Receivership Order submitted

                   6   concurrently herewith; the accompanying application for entry of an order to show cause;

                   7   and the entire record before the Court.

                   8                         MEMORANDUM OF POINTS AND AUTHORITIES

                   9   I.       INTRODUCTION.

                  10            GR operates an emergency hospital located at 5656 S. Power Road, Gilbert,
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                  11   Arizona ("GR Business"). FHA operates an emergency hospital located at 4545 North
                                                                                          I

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~ WO       0
                  12   Hunt Highway, Florence, Arizona ("FHA Business" and, collectively with the GR
zClOg             13   Business, "Business"). NVH owns 100% of the equity interests in GH and FHA.
ozm
i!~~ 14                         Borrowers are obligated to Plaintiff under three loans secured by security interests
!l~2~
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 ~ IS'"           15   in and to virtually all of the Borrowers' assets. Borrowers have defaulted on their
z ~ IE
~ =0J4                 payment and performance obligations to Plaintiff, and in the controlling loan documents
IIIof             16
  z .
  !               17   GH and FHA agreed to the appointment of a receiver upon the occurrence of a default.

                  18            Furthermore, the appointment of a receiver is essential to protect and preserve

                  19   Plaintiff's rights and interests. Appointing a receiver without notice is imperative, among

                  20   other reasons, to protect Plaintiffs collateral values in light of threats of eviction by the

                  21   existing landlords.

                  22   n,       RELEVANT FACTUAL BACKGROUND.

                  23            A.          The Loans.
                  24
                                FHA filed a petition for Chapter 11 bankruptcy protection on March 6, 2013, in
                  25
                       the United States Bankruptcy Court for the District of Arizona ("Bankruptcy Court"),
                  26
                       thereby commencing Case No. 4:13-bk-03201-BMW ("FHA Bankruptcy Case"). GH
                  27
                       filed a petition for Chapter 11 bankruptcy protection on February 5, 2014, in the
                  28
                                                                      2
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                   1    Bankruptcy            Court,   thereby   commencing        Case   No.   2:14-bk-01451-MCW          ("GH

                   2    Bankruptcy        Case").      The GH Bankruptcy       Case and the FHA Bankruptcy          Case were

                   3    jointly    administered        for plan confirmation   purposes only, and on February           9, 2016,

                   4    Bankruptcy Judge Brenda Moody Whinery entered an order in the FHA Bankruptcy Case

                   5    confirming       a plan of reorganization     ("Plan") that, among other things, (i) restructured

                   6    prepetition      secured debt obligations      owed by GR and FHA to Bank SNB; and (ii)

                   7    reorganized the ownership structure vesting 100% of the ownership interests of GR and

                    8   FHA in NVH, a newly-formed limited liability company.

                   9              In connection with the Plan provision that restructured the prepetition secured debt

                   10   obligations owed to Bank SNB, the Borrowers entered into that certain Amended and
     0
     ...N0         11   Restated Loan and Security Agreement dated March 14, 2016 (as the same may have
":~III

!!~..,
= ~                12   been amended and/or modified from time to time, "Loan Agreement").                      Pursuant to the
Ii': w~      0
                        Loan Agreement:                (i) GR agreed to repay Bank           SNB the principal      amount' of
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!!           til
                   14   $5,711,285.42 ("GR Loan") secured by, among other things, a blanket lien in virtually all

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                   15   of GR's personal property interests ("GR Property"); FHA agreed to repay Bank SNB
     ~ tS '"
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~~~                     the principal amount of $8,288,714.58 ("FHA Loan") secured by, among other things, a
ID 0 II:           16
     :;cD.

     !             17   blanket lien in virtually all of FHA's personal property interests ("FHA Property");                 and

                   18   (iii) Bank SNB extended a $750,000.00, one-time revolving loan to all three Borrowers

                   19   ("Revolver" and, collectively with the GH Loan and the FHA Loan, "Loans") secured by,

                   20   among other things, the GR Property, the FHA Property, and a blanket lien in virtually all

                   21   of NVH's          personal property      interests ("NVH Property"        and, together with the GR

                   22   Property and the NVH Property, "Property").                The Loans are all cross-defaulted.

                   23             The Loan Agreement expressly provides that the lender is entitled to 100% of the

                   24   proceeds of the sale of any collateral securing repayment of the Loans, net of reasonable

                   25    closing costs actually paid.            Upon the occurrence       of an event of default, the Loan

                   26   Agreement         expressly authorizes the lender to exercise all rights, powers and remedies

                   27    available under the prepetition           security agreements,      which continued    in effect 'post-

                   28
                                                                          .    3
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               Case 2:18-bk-04557-BMW                  Doc 16 Filed 05/03/18 Entered 05/03/18 15:04:14                   Desc
                                                       Main Document   Page 6 of 174
                  1   confirmation.         The prepetition security agreements expressly provide consent to the

                 2    appointment of a receiver in the event of a default.

                 3             Effective as of December 31, 2016, Plaintiff acquired all Bank SNB' s right, title

                 4    and interest in and to the Loans and the documents evidencing and securing the Loans

                 5    (collectively, "Loan and Security Documents").

                 6             B.          Borrowers' Defaults And Creditor Enforcement Threats.
                  7            On November 2, 2017, Plaintiff delivered a letter to Borrowers providing notice of
                  8   certain events of default under the Loan and Security Documents, including breaches of
                  9   financial covenants and the failure to pay the required monthly payments due under the
                 10   Loan by no later than October 14, 2017. Defendants have failed to cure the covenant
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                 11   defaults, failed to cure the missed payments due October 14, 2017, and have subsequently
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                 12   missed required monthly payments due under the Loans. Plaintiff is presently owed
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~~ClIg                roughly $13.1 million under the Loans.
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!f~§~                          Plaintiff has also learned that GH and FHA are in default to other creditors. For
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 B tf ...        15   example, GH and FHA are operating the Business under terminated leases due to their
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 zD.                  failure to pay rent for several months. The landlords have demanded that the Borrowers
    !            17   vacate the hospital facilities. See Ex. 3. Based on representations by counsel for the
                 18   landlords, eviction proceedings are imminent.          As another example, GH and FHA's
                 19   medical records hosting vendors have threatened to terminate critical services due to
                 20   months of non-payment. See Ex. 4. If medical records hosting services terminate, patient
                 21   records cannot be accessed and billings cannot be submitted for payment.
                 22
                               Plaintiff has also recently learned that Borrowers have liquidated assets without
                 23
                      Plaintiff's consent to afftliates and/or insiders, including assets potentially worth more
                 24   than $3 million.
                 25
                               Plaintiff has also learned that Borrowers are quickly running out of cash to support
                 26
                      the Business.          According to cash flow projections prepared by the Borrowers, the
                 27
                      Business will run out of operating cash in September 2018.
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                                                                      4
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                        1   III.     LEGAL ARGUMENT.

                        2            This Court "may appoint a receiver to protect and preserve property or the rights

                        3   of parties therein, even if the action includes no other claim for relief." A.R.S. § 12-

                        4   1241. The legislature amended A.R.S. § 12-1241 in 1993 so that a party seeking a

                        5   receiver only needs to prove "that the property or the rights of the parties need

                        6   protection," and is not required to show irreparable harm or lack of an adequate legal
.,                      7   remedy. Gravel Resources of Ariz. v. Rills, 217 Ariz. 33, 37, 170 P.3d 282, 286 (App.

                        8   2007) (affirming trial court's exercise of discretion ordering appointment of receiver over

                        9   partnership).

                       10            Plaintiff requests the Court immediately appoint a receiver over the Borrowers

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                       11   with full authority to operate and manage the Business and, as necessary and appropriate
     D:wlO
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     iII:I""           12   in. the Receiver's discretion, to liquidate the Property for distribution to Plaintiff in
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          o     0      13   accordance with the Loan and Security Documents and applicable law. OR and FHA
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                            expressly consented to the appointment of a receiver to take possession of the GR
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     gl         10     15   Property and the FHA Property ~pon the occurrence of an event of default. Not only
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     ~D:~              16   have Borrowers defaulted on their obligations to Plaintiff, .but they have also defaulted on
     lII~f
           !           17   their obligations to several others.

                       18            Under the circumstances, the immediate appointment of a receiver is critical not

                       19   only ,to protect and preserve Plaintiff s security interests in the Property, but also to

                       20   oversee and manage emergency hospital operations. To the extent a receiver is not

                       21   immediately appointed, hospital. operations could very likely become quickly and

                       22   severely impacted, thereby posing a serious threat to Plaintiff and to the public. The

                       23   landlords have issued notices of lease termination and have demanded that-Borrowers

                       24   vacate the hospital buildings; eviction proceedings are imminent.         Medical hosting

                       25   providers are threatening to terminate services, and are under no obligation to continue

                       26   providing services. Under these circumstances, timing is critical such that an immediate

                       27   receivership is vital to preserving the existing Business and property value without

                       28   interrupting the emergency medical services provided by the Business.
                                                                          5
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                   1           A receiver would be a neutral, independent party serving at the direction of the

                   2    Court under the terms of a receivership order approved by the Court, the proposed form

                   3    of which is included with this Application for the Court's consideration. A receiver

                   4    would protect, preserve, and safeguard the Property, with the power of sale to liquidate

                   5    the Property for the benefit of Plaintiff and Borrowers' other creditors (if any).

                   6    Importantly, the receivership order authorizes the receiver to operate the Business using

                   7    all existing medical licenses, including Medicare and Medicaid billing numbers and

                   8    procedures. The immediate appointment of a receiver would preserve operations and

                   9    facilitate what may otherwise be numerous independent enforcement efforts by various

                  10    creditors in a single, consolidated, organized fashion.
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                  11           Plaintiff proposes that Resolute Commercial Services ("Resolute"), by and
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.,:;'             12    through its Principal, Jeremiah Foster, act as the receiver. The Declaration of Proposed
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1Il~88            13    Receiver attached as Exhibit B sets forth the relevant background, skills, and experience
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     01'l               of Resolute and its professionals, specifically focusing on hospital operations. Resolute,
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                        by and through Mr. Foster, is willing to perform the duties and responsibilities of a
~&~               16    receiver as set forth in the proposed form of receivership order. Plaintiff requests that the
mit
    !             17    Court immediately appoint Resolute to act as the receiver, with reasonable bond as

                   18   determined by the Court.       Appointing Resolute as receiver will protect Plaintiffs -

                   19   interests and the public interest by inserting a professional who will secure and protect

                  20    the Property, operate and manage the Business with an understanding of the financial

                  21    pressures presently imposed thereon, and make sound financial decisions designed to

                  22    minimize the negative impact on creditors (including Plaintiff) and the public. Plaintiff
                  23· reserves the right to proceed with other enforcement rights, such as and without limitation
                  24    pursuing- a DCC sale of its collateral. To the extent a receiver is appointed, Plaintiff and
                  25    other creditors will be in a stronger position to pursue recovery without Borrowers'
                  26    interference. This dual-tracked approach may efficiently limit a prolonged receivership.
                  27
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                      1    IV.    CONCLUSION.

                      2           Plaintiff asks that the Court: (i) grant this Application and immediately enter the

                      3    Receivership   Order; and (ii) grant such other and further relief as the Court deems just

                      4    and proper under the circumstances.

                      5           DATED this jJ?day     of April, 2018.

                      6
                                                                     BRY~NPAISNER
                      7                                                           ,             ~

                      8                                              By
                                                                          Kyle S. Hirsch
                      9
                                                                          Julie M. Birk
                     10                                                   Two N. Central Avenue, Suite 2100
    0                                                                     Phoenix, AZ 85004-4406
    ...1'1
    0
                     11                                                   Attorneys for Plaintiff
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                         EXHIBIT 1




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    1 Kyle S. Hirsch, 024155
      Julie M. Birk, 033908
    2 BRYAN CAVB LEIGHTON PAISNER
    3 Two N. Central Avenue, Suite 2100
      Phoenix, AZ 85004-4406
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      Facsimile: (602) 364-7070
    5
      E-mail:       kyle.hirsch@bclplaw.com
    6               julie.birk@bc1plaw.com

     7   Attorneys for Plaintiff Indigo-Dl.I HoldingsI, LLC
     8
                         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     9
                                 IN AND FOR THE COUNTY OF MARICOPA
    10
    11 INDIGO-DLI HOLDINGS I, LLC, a Delaware                   Case No.               _
    12' limited liability company,
                                                                DECLARATION OF BENJAMIN
                          Plaintiff,                            BORNSTEIN IN SUPPORT OF
    13
                                                                APPLICATION FOR
    14           vs.                                            APPOINTMENT OF RECEIVER
    15 NEW VISION HEALTH, LLC, and Arizona
       limited liability company; GILBERT
    16 HOSPITAL, LLC, an Arizona limited liability
    17 company; and FLORENCE HOSPITAL AT
       ANTHEM, LLC, an Arizona limited liability
    18 company, ,
    19                    Defendants.
    20 --------------~----~--------~

    21              I, Benjamin Bomstein, pursuant to A.R.S. § 12-1242, ftrst being duly sworn, upon
    22    my oath, make the following declaration.
    23              1.   , I am of sound mind, over the age of 18 years, and fully competent to testify
    24    to the matters' stated herein.
    25              2.     I am Partner of Indigo Capital Services, LLC, the special servicer to Indigo-
    26    DLI Holdings, LLC ("Plaintiff'). I am authorized to make this declaration on Plaintiffs
    27    behalf.
    28



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                    1           3.     In my employment capacity, I have access to the books and records

                    2    pertaining to the obligations due under the loans and other matters that are the subject of

                    3    the above-captioned action and dispute. I make this declaration based upon my personal

                    4    knowledge and upon the information contained in the books and records of Plaintiff, that

                    5    are kept in the regular course of business, which I personally have reviewed and which

                    6    this declaration accurately reflects.   Based upon my personal knowledge of the regular

                    7    business practices of Plaintiff, the documents attached as Exhibits A-H: (A) were made at

                    8 .or near the time of the occurrence of the matters set forth therein by, or from information
                    9    transmitted by a person with knowledge of those matters, (B) were made and kept in the

                    10   course of regularly conducted business activity of Plaintiff, and (C) were made as a
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     ....
     N              11   regular practice in the conduct of the 'regularly conducted business activity of Plaintiff.
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          oq        12         . 4.    On or about December 31, 2016, Plaintiff acquired all of the rights and
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 . 0 :z III 0       13   interests of Bank SNB, an Oklahoma state banking association ("Bank SNB"), in and to
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                    14   the loan obligations owed by New Vision Health, LLC ("NVH"), Gilbert Hospital, LLC
  !l~g~
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      ~ 1I-         15   ("GR"), and Florence Hospital at Anthem, LLC ("FHA" and, collectively with GH and
-,.z :c z
  ~~~               16   NVH, "Borrowers") to Bank SNB as set forth in that certain Amended and Restated Loan
  lQ~f
      ...~          17   and Security Agreement dated March 14,2016, among Bank SNB and Borrowers (as the

                    18   same may have been amended and/or modified from time to time, "Loan Agreement").

                    19   Attached here as Exhibit A is a true and correct copy of the Assignment and Bill of Sale

                    20   reflecting Bank SNB's assignment to Plaintiff'{'Assignment").       Attached here as Exhibit

                    21   B is a true and correct copy of the Loan Agreement.

                    22          5.     The Loan Agreement amends and restates, pursuant to the terms of a

                    23   confirmed Chapter 11 plan of reorganization entered in the FHA bankruptcy case,

                    24   prepetition loans secured by blanket liens in virtually all ofthe personal property assets of

                    25   GH ("GH Property") and FHA ("FHA Property"). Attached as Exhibits C-D are true and

                    26   correct copies of the relevant security agreements (collectively, "Security Agreements").

                    27   The Security Agreements expressly the lender to pursue the appointment of a receiver in

                    28   the event of a default. See Ex. C, at 6; Ex. D, at 5.
                                                                        2
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                       1          6.      Pursuant to the Loan Agreement:    (i) GH agreed to repay Bank SNB the

                      2    principal amount of $5,711,285.42 ("GH Loan") secured by, among other things, the GH

                      3    Property; FHA agreed to repay Bank SNB the principal amount of$8,288,714.58 ("FHA

                      4    Loan") secured by, among other things, the FHA Property; and (iii) Bank SNB extended

                      5    a $750,000.00, one-time revolving loan to all three Borrowers ("Revolver" and,

                      6    collectively with the GR Loan and the FHA Loan, "Loans") secured by, among other

                      7    things, the GH Property, the FHA Property, and a blanket lien in virtually all ofNVH's

                       8   personal property interests ("NVH Property" and, together with the GH Property and the

                      9    NVH Property, "Property").     Pursuant to the Loan Agreement, the Loans are cross-

                      10   defaulted.
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                      11          7.      Plaintiff has perfected its security interests in and to the Property as
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                      12   evidenced by   Dee   Financing Statements, continuation statements, and/or assignments
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z::l 0 0                   filed in the Arizona Secretary of State's Office, true and correct copies of which are
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~~~~                       attached as Exhibit E-G.
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u~~-                  15          8.      The Loan Agreement expressly provides that the lender is entitled to 100%
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II: II: 0             16   of the proceeds of the sale of any collateral securing repayment of the Loans, net of
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      ~               17   reasonable closing costs actually paid.    Loan Agreement, at 15, ~ 4.5(b).   Upon the

                      18   occurrence of an event of default, the Loan Agreement expressly authorizes the lender to

                      19   exercise all rights, powers and remedies available under the Security Agreements, which

                      20   continued in effect post-confirmation,    Loan Agreement, at 34-36, ~~ 12.1(b), 12.2(b);

                      21   12.3(b).

                      22          9.      I will refer to all of the documents evidencing and securing the Loans

                      23   collectively as the "Loan and Security Documents."

                      24          10.     Borrowers failed to timely make the required monthly payment that was

                      25   due by no later than October 14, 2017. In addition, Borrowers failed to comply with a

                      26   number of covenants required under the Loan Agreement. Accordingly, on November 2,

                      27   2017, Plaintiff delivered a letter to Borrowers providing notice of certain events of

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                     1    default under the Loan and Security Documents, a true ~nd correct copy of which is

                    2     attached as Exhibit H.

                    3             11.   Borrowers failed to cure the covenant defaults, failed to cure the missed

                    4     payment due October 14, 2017, and have subsequently missed additional required

                    5     monthly payments due under the Loans.

                    6             12.   Plaintiff is presently owed roughly $13.1 million under the Loans,

                    7     including approximately $5,140,092     in outstanding principal    under the GH Loan;

                     8    $6,290,365 in outstanding principal under the FHA Loan; and $531,622 in outstanding

                     9    principal on the Revolver; plus accrued, unpaid interest, fees, and expenses incurred by

                    10    Plaintiff.
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                    11            13.   Based on my conversations with members of the Borrowers' management
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111:l or:           12    team, Iunderstand that GH and FHA are in default to other creditors. For example, GH
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oZIllO              13    and FHA have failed to pay rent for several months. As a result, GH and FHA are
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iii ~ 0 I'l         14    currently operating the Business on terminated leases. As another example, GH and FHA
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      uts    ....   15    failed to pay their medical records hosting vendors. As a result, the medical hosting
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~~~                 16    companies have given notice of the pending termination of critical services to GH and
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      ~             17    FHA.

                    18            14.   I have also learned that, despite the language in the Loan and Security

                    19    Documents obligating the Borrowers to tum over to Plaintiff the proceeds of the sale of

                    20    any collateral securing repayment of the Loans, Borrowers' have disposed of assets

                    21    without Plaintiff's consent or timely disclosure on at least two recent occasions. First,

                    22    Borrowers were in a dispute with an"insider involving $1,040,'000 in proceeds of the sale

                    23    of property located in Buckeye, Arizona ("Buckeye Property"). Borrowers settled the

                    24    dispute over the Buckeye Property sale proceeds in exchange for little or no value.
                    25,   Borrowers did not consult Plaintiff or seek Plaintiff's approval to the terms of the

                    26    settlement, and Borrowers did not disclose the transaction to Plaintiff for several months.

                    27    Second, GH held a claim against the bankruptcy case of Peoria Regional Medical Center

                    28    ("PRMC") in the face amount of $2.4-$5.3 million.         GH transferred the claim to a
                                                                       4
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                   1   company owned and/or controlled by one of its board members for an undisclosed

                   2   amount. OR did not consult Plaintiff or,seek Plaintiffs       approval, and did not disclose the

                   3   transaction to Plaintiff.   Considering (i) the disputed Buckeye Property sale proceeds of

                   4   over $1 million and (ii) the low-end face amount of the PRMC claim, Borrowers

                   5   disposed of Plaintiff's collateral potentially worth more than $3 million.

                   6           15.      Borrowers provided Plaintiff with cash projections for the 2018 calendar

                   7   year.   According      to those projections,   Borrowers will run out of operating         cash in

                   8   September 2018.

                   9           16.,     Based on the consent given in the Loan and' Security Documents;                 the

                  10   payment       and covenant defaults; and the Borrowers'        disposal of Plaintiffs     collateral

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                  11   without delivering any value to Plaintiff in return; and the approaching cash shortfall,
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11\ ~ '<l         12   Plaintiff requests the Court appoint a receiver over the Borrowers with full authority to
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011:1110          13   operate and manage the Business and, as' necessary and appropriate in the Receiver's
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 III    01'1      14   discretion, to sell and/or liquidate the Property for distribution to Borrower's        creditors in
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<it<g             15   accordance with contractsand       applicable law.
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III 0 :c          16           17.      Under the circumstances, the appointment of a receiver is critical 110tonly
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                  17   to protect and preserve Plaintiff s security interests, but also to oversee and manage

                  18 , emergency       hospital operations.   To the extent a receiver is not appointed, hospital

                  19   operations could very likely become quickly and severely impacted, thereby posing a

                  20   serious threat of public harm.

                  21           18.      Plaintiff proposes that Resolute Commercial Services ("Resolute"),          by and

                  22   through its Principal, Jeremiah Foster, act as the receiver.      Resolute's professionals have

                  23   appropriate background, skills, and, experience.          Plaintiff asks that the Court appoint

                  24   Resolute to act as the receiver, with reasonable bond as determined by the Court.

                  25           19.       Appointing Resolute, as receiver will protect Plaintiffs      interests and the

                  26   public interest by inserting a professional          who will secure and protect the Property,

                  27   operate and manage the Business           with an understanding      of the financial pressures

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                         EXHIBIT A.




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                                  ASSIGNMENT        AND BILL O(iSALE


                Bank SNB, an Oklahoma state banking    association ("Assignor'"), desires to transfer all its
      right, title and interest In and to the notes,   mortgages. deeds of trust, security agreements.
      guaranties and other instruments and the liens   created thereby, and other interests (collectively,
      the "Loan Documents") described in Exhibit        "A" to this Assignment and Bill of Sale (this
      HAssiw..ment") to lndigo-Dl.l Holdings I,         LLC, a Delaware limited liability company
      (".A..'lsignee").

                                   ASSIGNMENT AND AGREE~VIE1\VfS:
              1.     For value received. the receipt and sufficiency of which are acknowledged,
      Assignor has granted, conveyed, transferred and assigned and does hereby grant, convey, transfer
      and assign to Assignee, all Assignor's right, title and interest in and to the Loan Documents, all
      other documents and instruments evidencing, securing or otherwise related to the loan evidenced
      thereby and the Hens created and/or evidenced thereby, and any and all indebtedness evidenced
      by or arising under the Loan Documents (the "Debt"), including, but not limited to, (a) 'all prior
      instruments amended, modified, extended or restated by any of the Loan Documents, (b) all
      liens, rights. title and interest of Assignor, whether legal, beneficial 01' equitable, direct or
      indirect, in and to any of the Loan Documents, together with all privileges. entitlements, claims,
      demands and equities as to which the Assignor hereunder possesses or to which the Assignor is
      otherwise entitled in connection therewith and (c)     an   rights in and to any and all mortgage
      policies oftitle insurance, if the same exists, with respect to any of the Loan Documents.

              2.      TIw assignment made in Paragraph 1 above is made without recourse, warrant)' or
      representation, express or implied, except as set forth in that certain Loan and Real Estate Sale
      Agreement, by and between Assignee and Assignor dated as of December 13. 2016 (the
      ",b.greemenl").                                                                                .

               3.     Assignor hereby agrees to execute and deliver or cause to be executed or
      delivered hereafter any and all further instruments, as Assignee may reasonably require to
      evidence and vest in Assignee all. interests of Assignor in, to and under the Loan Documents and
      the Debt, and other right, title and interest described above. and which are intended to be
      transferred hereby.

              4.    This Assignment is binding upon Assignor and Assignee and inures to the benefit
      of Assignor and Assignee, and their respective successors and assigns.

             5.    111isAssignment is delivered by Assignor to Assignee pursuant to the terms of the
      Agreement and is subject to the terms and conditions thereof.




                                          [Signature Page to Follow]




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        EXECUTED effective as of December 31.2016.


                                                                                          BANKSNB


                                                                                          BY:~'
                                                                                          Name: Brent Bates
                                                                                          Title: EVP. Chief Credit Officer




     STATE OF OKLAHOMA                                                                }
                                                                                      )
     COUNTY OFOKLAHOMA                                                                )

           . This instrument was acknowledged to me before on the 31st day-of December, 2016 by
     Brent Bates, as Executive Vice President of Bank SNB.
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                                                         [Signature Page to Assignment and Bill of Sale]




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                                   EXHIBITA

                           ASSIGNED LOAN DQCUMENTS




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     ('                                                PL.o.SING DOCUMENTS
                 I.       CloshtS Checklist.
                2.        Deed of Trust} Assignment of Leases and Rents. Seo\1l'ity Agreen)el\t, Financing
                          Statement and Fixture FJUng dated Merch 14,2016 and recorded March 1612016 8S
                          Document No, 20160168289, Offlolal Records of MfUicoptl County Recorder
                          ("OfficiAl RCI)Ol'Os").                                                   .

                ::I.      Memorol1d\llll of Optlon Agreement dated Maroh 14,2016 and recorded tvilll'oh l~.
                          2016 as DocllIment No. 20160168291, Officinl Records.
                4.        Deed of Tn\st $lIt)ordlllatioll Agreetnent dated MllI'ch 14, 2016 between OR and
                          Lender, and recorded Ml'fcb 16. 4016 as Documem No. 20160168290, Officlll}
                          Reeorda,

                5,       Deed of Release alld Reconveyance dated MIII'ch 14,2(H6 and \'ecorcted Maroh 16,
                         2016 as Document No. 2016016a288, Dmalal RCC01'<lS. '
                6.       Release of Lien by Layton Couatrucrton Co" Inc., a Utuh corporation, recorded
                         November 24. 20lS as Document No. 2.()l5083793S, Official Records, l'elenslng the
                         lien recorded 01\ December 31, 2013 at Document No. 20131094817, Official
                         Records.
               7.        Release {If Lis Pendens recorded Nevel)'lber 24, 201 S as Documeat No, 20 lSQ840577,
                         Ofticlal Reeol'ds,1'eleasing the Notice of LIs Pel~d()11S recorded on June 23, 2014 fit
                         Document No. 201~0409175, Offlolal Records,
               g,        uee Flmmcing     Statement showing OH, us del>tol' aud Lender, as secured pnl'ty, filed
                         with the AclzOI)I\Secl'Ctlll),ofStateoll MSI'Ch 16,2016 us File No.         _
               9.        uec Plaanclng StntC1l'I611tshowing FHA, as debtor aud Lender, (IS secured party,
                         rued with the Arizona Seel'etal'}' of Slate ou Murch 15, 20!6 as File No, 2016'{}Ol·
                         0014-5. '
               10,       vee Fitllmcing Stfltem~l\t showing Holden, as debtor and Lender. as secured pl\1'ty,
                         filed with the AIi;l:OM Secl'etary ()fStille <n\ Mlm~b 15, 20t6 1IS FU~ No. 2016·001·
                         0013·7,
               11,       uee Flnalloillg Statement showing OH41~ LtC,                      all   Al'izona limited Ilabltlty
                         C01l\!lUt,y ("GH 41")~ as dll.\)lm'lUlULender, as secured party, filed with the Arizona
                         Secretary of State    01)   March 15,2016 as File No. 2016-001·0012·1.
               12.       Final Closing Statement        fOl'   Escrow #26q 10611 (O()tlon Pl'Opeli)').

               13.       r:illElIClos!ngStafcll1ent tor EsCl'OW#26010612 (Peo\'laProptll'ty).

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               14,          Bxtended Lender's Loan Policy of Title Insurance dated March _, 2016, [POOl'l1l
    {                       Property]
               15,          Oplnlon of Andante Law Group dllted MIlI'oll 14,2016, counsel to GH, Holdeo and
                            QH41.·

                16,         Opinion of Pennemcre CI'ntg, P.C, dated MlU'Cb 14, 20 l6. counsel to FHA,
               11.          Commltment for Title fl\sUl'ance issued by Bsorow Holder as Order No. 26010612·
                            02c;..LOt, and PI'Ofot'll)1l Loan Polley. (Peoria Property).

               18.      Commitment for Title Insurance ISSlled by ESQl'OW Hokler as Order No, 26010611·
                        026-LD 1, (OHbel'f Hospital Option Property).
               19.          Closing Instruction Letter on behalf of Lender dated March lS, 2016 signed by Justin
                            A. SQbin, Bsq,
               20.          Clo.<:itlglnstructlon Letter on behalf' of B\I>,e~dated March lS, 2016 signed by Kurt
                            A, Peterson, Esq.

               21.      ALTA ACSM Land Title SUl'vey Peoria Medical Cefl1el' prepared by Atwell as Job
                        No. 15001903.
                                                    J.,OAN DOCUMENTS
              22,       Amended and Restated LOlUt and Security Agreement dated March 14,2016 among
                        GR, FHA, Holdco and Lender"                    l                              .



              23.       Revolving Note dated March 14. 20t6 made by Borrowers for the beultfil of'Leuder,

              24.       Pledg« Agreemel\t dated Mnr(:h 14,2016 between Hoklco, as debtor, nnd Lender,             JIB
                        secured PlII'ty.
              25.       Seourity Agreement dated March 14,2016 between GH 41,           IlS   debtor and Lender. as
                        secured party.
              26,       Security Agreemel)t dnled March 14. 20[6 between OH, as debtor, nttd Lender, as
                        seCUI'Cd pari }'.

              27.       Security Agreement dated Maroh 14, 2016 between FHA. as debtor, and Lender, as
                        secured Vllct)',
              2,8.      Securlty Agreement dated March 14,2016 between Holdco,         lIS debtor,   find Lender. as
                        secured party.       .

              29.       Request tm' Advance dated Febrl1lwy 19, 2016 between      Borrowers     lind Lender.



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                :W,         Intercredlror Agreemont between Lender and David K. Gottlieb. Creditor Tl'ustee of
                            the OH Unsecured Creditors Trust, on behnlf of the CH Unsecured Cl'edltOl'S Trust,
                            ("Secoud Llcuhclder"),

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                31.         Option Agreement fOJ' (he Purchase and Sale of Real PI'O)>tI'ty and Joint Bscrow
                            Instruetlcns dated Marvh 14t 2016, slgned by GH. as buyer. CRK Properties, Inc.• an
                            Oklahoma corpomtlon ("Cru<"). as seller, find Grand Canyon Title Agency, a
                            division of FNTA, lis escrow holder,
               32.          Deed of Trust, A~slgilmeot of Leases nod Rents, Security Agree1.1icut •. FilliUlclng
                            Statement lind Fixture Filing dated March 14, 2016, between Ol:I, \1$ trustor lind
                            Lender, as beneficiary, (to be held ln e.'lCI'OW ulltil optlt'm Is exerelsed]
               33,          Notice of Term.iUI1!loll of Optlon, Release flud Quit Clalm Deed dated March 14.
                            2016. sigued by CRK, as Optionor, and and em, as eptlcnee, [10 ,be held ill escrow in
                            the event the opt Ion is cancelled]
            . J4,           Special Wanallty Deed <lilted Maroh 11, 2016, signed    bjl   CRK, In favor of OH. [10 be
                            held in escrow lu the event (ue optlon Is exercised].
                                                       CORPO,MTE DOCUMENTS
               3'5,         Closing Certificate for GH dated MUl'ch 14. 2016.
               36,          Officer's Closing Certlflcate for FHA dated March 14,2016,
               37.          Officer's Closing CClilficllte fbr Holdco dated March 1412010.
               3&.          O!U~r's Closing Cert~ficllle(orOH 4t doted MIll'ch 14,2016.

               39,          Reaclutlons of the Board ol'Directors of CRK Properties, Inc. dated Marcil II. 2016




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                         2,.   Promissory Note (Land) for $7.328;924,00

                         3.    Promissory Note (Equipment) for $8,(l40,OOO.OO

                         4.    PromiSl!oty Now (Working Capital) for $5,000,000.00

                         5,    Deed of Trust, Assignment of Rents. Security Agreement, Fixtu:t'o Fling and
                               Financing Statement recorded as Document No. 20071214970 in the real estate
                               l'CC01'd1l o fMarlQOP a. County, A,t!zona

                         6,    Arizona Dec F'manoing ~tate(nent NQ. 20Q715109223 filed with the Arizona.
                               Seorotary of State

      !:::'"             7.    .Mm.i.oopa County Fixture Filing rocQxd..ed ru; Document No. 20071209103       in the
                                r~ estate l'(\ool'ds of Marlcopa County, Arizona

                         8.    Swnrity Agrooment (AOnQllUts)
                         s,    Arizonll. DeC Fm!\tlolng Statement NQ. 2007151Q9267 1l1ed with the M:rona
                               Secreta.ry of State

                         10.   Seoulity Agreomont (.Equipment and Acoo\l!1fs RetJeivable)

                         11.   Arizona   vec    :Finanoing   ste.tement N".   20,0715109256   filed with the Arizona
                               S~tetary ofStatQ                                '

                         12.   Lockbox AgrQ6men.1
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                  18.            Envitonmentallndemnification       Agre~ment                                                                    c


                  19.            Certtfic;ate of Limited Liability Company AuthQrlty

                  2O.            Special Wl\ttanty Deed recorded as Document No. 20071214969 in the real             estate
                                 records of Maricopa County. Arl~na .

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                                AMENDED AND RESTATED
                             LOAN AND SECURITY AGREEMENT


                                         among


                GILBERT HOSPITAL, LLC, FLORENCE HOSPITAL AT ANTHEM, LLC,
                               and NEW VISION HEALTH, LLC,
                                        .as Borrowers,


                                           and


                                       BANKSNB,
                                        as Lender




                                      March 14,2016




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              AMENDED ANi> RESTATED LOAN AND SECURITY AGREEMENT
             TIDS AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT (this
    "Agreement") is made as of March 14,2016, by and among GILBERT HOSPITAL, LLC, an
    Arizona limited liability company ("GH"), FLORENCE HOSPITAL AT ANTHEM, LLC, an
    Arizona limited liability company ("FHA"), NEW VISION HEALTH, LLC, an Arizona limited
    liability company ("Holdco." and collectively with GH and FHA, "Borrowers"), and BANK.
    SNB, an Oklahoma state banking corporation, successor by conversion to Bank SNB, National
    Association, formerly known as Stillwater National Bank and Trust Company ("Lender").

                                   PRELIMINARY STATEMENTS

            GH and Lender entered into a lending relationship on or about November 8, 2007 (the
    "GH Loan"), pursuant to which GH, Lender, and others entered into various loan documents,
    including, but not limited to, those listed on attached Exhibit A (the "GH Loan Documents").

            FHA and Lender entered into a lending relationship on or about March 5, 2012 (the
    "FHA Loan"), pursuant to which FHA, Lender, and others entered into various loan documents,
    including, but not limited to, those listed on attached Exhibit B (the "FHA Loan Documents").

          GH filed its petition in the GH Bankruptcy on February 5, 2014, at which time the GH
    Loan was in default.

          FHA filed its petition in the FHA Bankruptcy on March 6, 2013, at which time the FHA
    Loan was in default.

            Both GH and FHA have asserted various defenses to payment of their respective
    obligations to Lender.

           In an effort to provide a mechanism by which the various claims made by GH, FHA,
    Lender, and others in the GH Bankruptcy and the FHA Bankruptcy can be resolved, GH and .
    Lender proposed the Amended Joint Plan. The Amended Joint Plan includes a compromise of
    any and all disputes arising from the GH Loan, the FHA Loan, and Lender's enforcement of its
    rights arising therefrom. The Amended Joint Plan does not constitute an admission of
    wrongdoing by any    of  the proponents thereof; rather, it is a collaborative effort to resolve all
    pending disputes between each of G~ FHA, and Lender. FHA approves of, and consents to, the
    Amended Joint Plan.

             The Bankruptcy' Court entered the Confirmation Order in the GH Bankruptcy and the
     FHA Bankruptcy, confirming the Amended Joint Plan. The Amended Joint Plan provides that as
     a condition to its effectiveness, among other things, FHA, GH, Holdco, and GH 41 enter into this
    _Agreement andlor the other Loan Documents.

             This Agreement and certain Loan Documents are being executed in accordance with the
    provisions of the Amended Joint Plan to effectuate its purposes. This Agreement amends and
    restates, in their entirety, (i) that certain Loan Agreement dated effective November 8, 2007
    between GH and Lender as amended from time to time, and (ii) that certain Loan Agreement



                                                     1

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     dated effective March 5, 2012 between FHA and Lender as amended from time to time, in order
   , to comply with the terms of the Amended Joint Plan.

                                               AGREEMENT

            In consideration of the mutual covenants and agreements in this Agreement, and
    intending to be legally bound hereby, Lender and Borrowers agree as follows:

    Section 1.     Definitions.

            1.1    DefIned Terms. Capitalized terms used in this Agreement (including all schedules
    and exhibits to this Agreement) and not otherwise defined have the meanings set forth in this
    Section 1.                                         '

           "Adjacent Propertv" means an approximately IS-acre parcel of real property described
    more fully in that certain Deed of Trust, Assignment of Rents, Security Agreement,' Fixture
    Filing and Financing Statement, which was recorded in the office of the Maricopa County,
    Arizona Recorder at Recording Number 2007-1214970, which real property is adjacent to the
    GH Hospital Property.

           "Allowed" is defined in the Amended Joint Plan.

            "Amended Joint Plan" means the Second Amended and Restated Joint Plan of
    Reorganization for Gilbert Hospital, LLC and Florence Hospital at Anthem, LLC Proposed by
    Gilbert Hospital, LLC and Bank SNB Dated May 4, 2015 (as Amended and Restated on June 25,
    2015, July 17, 2015, August 2, 2015, and August 18, 2015) filed in the GH Bankruptcy on
    October 7, 2015 at docket number 1251 and in the FHA Bankruptcy on October 7, 2015 at
    docket number 1147, as amended or supplemented by the Confirmation Order or otherwise.

            "Av'ailability" is defined in Section 2.3.
              ,                                      .
            "Bank SNB Ouarterly Distribution" is defmed in Section 4.5Ca).

            "Bankruptcy Court" means the United States Bankruptcy Court for the District of
     Arizona.                                        .

            "Borrowers" is defmed in the preamble to this Agreement.

            "Borrowing Base" means, on any date of determination, an amount equal to 40% of the
     aggregate amount of Eligible Accounts at such date.                                .

           "Borrowing Base Certificate" means a certificate in the form of Exhibit C to this
     Agreement setting forth in reasonable detail the calculation of the Borrowing Base.

            "Business Day" means any day other than a Saturday, Sunday, or a federal. or state
   . holiday or other day on which Lender or commercial. banks in Oklahoma, Texas, or Arizona are
     customarily closed or are required to close under federal laws or the laws of the State of
     Oklahoma, the State of Texas, or the State of Arizona.


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            "Change in Control" means any event, transaction, or series of transactions, whereby: (a)
   (i) at least 15% on a fully diluted basis of the economic and voting interests in Holdco cease to
   be owned and controlled, directly or indirectly, by its present members, or (ii) HoIdco ceases to
   own or control, directly or indirectly, 100% on a fully diluted basis of the economic and voting
   interests in GH and GH 41, and at least 97% on a fully diluted basis of the economic and voting
   interests in FHA; or (b) (i) the board of managers of Holdco; GH,. and FHA ceases to be
   composed of Dr. M..M. Salim, Dr. Brad Newswander, Mr. Bryan McCormick, Dr. Robert Mead, .
   and Mr. Bryan Hargis, or, in the event of the resignation, incapacity, or other inability to serve,
   the first alternate board member pursuant to the Amended Joint Plan (which shall be Mr. Dennis
   Rutherford, provided Mr. Rutherford is still employed by HoIdco as a member of its Senior
   Management), and then a replacement board member' selected by majority vote of the remaining
   members of the board of managers, provideg, however, that under no circumstances may Dr.
   Timothy Johns serve on the board of managers, or (ii) any change in Senior Managei:nent occurs
   unless a replacement candidate is timely identified to Lender and Lender consents in writing to
   such replacement candidate, which consent shall not be unreasonably withheld.

             "Change in Law" means the occurrence, after the date hereof, of (a) the adoption, taking
    effect, or phasing in of any law, rule, regulation, or treaty, (b) any change in any law, rule,
    regulation, or treaty or in the administration, interpretation, or application thereof, or (c) the
    making, issuance, or application of-any request, guideline, requirement, or directive (whether or
    not having the force of law) by any governmental authority.

           "Closing Date" is defined in Section 5.1.
                                                                                                                ·1
           "Collateral" means the GH Collateral, the FHA Collateral, the Holdco Collateral, the
    GH 41 Collateral, the LOC Collateral, the Reserves, the Revolver Reserve, the Swept Funds
    Account, the Effective Date Reserve, the Operating Reserve, the FHA Administrative Reserve,
    and, in the event -OH purchases the Adjacent Property pursuant to the Option Agreement, the
    Adjacent Property.

           "Confirmation Order" means the final ordens) of the Bankruptcy Court confirming the
    Amended Joint Plan entered in the FHA Bankruptcy on October 23,2015 at docket number 1183
    (as amended by the final order of the Bankruptcy Court entered in the FHA Bankruptcy on
    February 29, 2016 at docket number 1381) and in the GH Bankruptcy on October 26, 2015 at
    docket number 1277 (as amended by the final order of the Bankruptcy Court entered in the OR
    Bankruptcy on March 8, 2016 at docket number 1491).

            "Debt Service Coverage Ratio" means the ratio derived by dividing Net Operating
    Income by Debt Service where: Net Operating Income = net income + amortization and
    depreciation + interest expense + other non-cash items; and Debt Service = principal repayment
    + interest payments + lease payments. All components of Net Operating Income and Debt
    Service shall be construed in accordance with GAAP and consistent with relevant industry
    guidelines.

       . "Default" as used in any of the Loan Documents shall have the same meaning as the term
    "Event of Default" as defined in this Section 1.1.



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            "Deposit Account Security Agreement" means one or more security agreements in form
    and substance satisfactory to Lender, dated the date hereof, made by each Borrower and GR 41,
    as applicable, in favor of Lender granting to Lender a security interest in the deposit accounts to
    be established and maintained with Lender, including, without limitation, all Deposit Accounts
    of each Borrower and GR 41, the Reserves, the Effective Date Reserve, the Operating Reserve,
    the FHA Administrative Reserve, and the Swept Funds Account, and any other deposit accounts
    to be maintained with a financial institution other than Lender as permitted by Section 8.9.

           "Distributions" is defined in the Amended Joint Plan.

           "EBITDAR" means earnings before the deduction of interest, taxes, depreciation,
    amortization and rent, all as determined in accordance with GAAP.

           "Effectiye Date" means February 19, 2016.

           "Effective Date Contract Notice" is defined in the Amended Joint Plan.

           "Effective Date Reserve" is defined in the Amended Joint Plan.

            "Eligible Account" means any Account (other than any portion of which is owing in
    respect of sales, excise, or similar taxes) owing to GH or FRA that meets, and continues to meet,
    each of the following requirements:

                   (a)    It arises in the ordinary course of business from the final, bona fide sale of
    goods or the rendering of services that have been fully performed by GR or FHA.

                   (b)     It is owned solely by GR or FHA.

                 (c)    It is the enforceable and unconditional obligation of the Centers for
    Medicare and Medicaid Services under its Medicare, Medicaid, Medicare Managed, and
    Managed Care programs.

                   (d)     The amount of the Account eligible is net and after deductions for
    contractual adjustments.

                   (e)     It is not more than 60 days past the original claim date.

                    (f)    For the first 180 days after the Effective Date, it is an Account owed to
    OR.

                  (g)     After the expiration of the 1SO-day period in subsection (f) above, it is: (i)
    an Account owed to OR; or (ii) an Account owed to FHA provided that Lender shall have, at
    Borrowers' prior request, conducted a field audit of FHA pursuant to Section 5.200.

            "Environmental Laws" means all laws, rules, regulations, and orders of any governmental
    authority relating to public health (but excluding occupational safety and health) or the
    protection or pollution of the environment, including the Comprehensive Environmental



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    Response Compensation and Liability Act, the Clean Water Act, and the Resource Conservation
    and Recovery Act.        .

            "Event of Default". means individually or collectively a GH Event of Default, an FHA
    Event of Default, or a Revolver Event of Default. Notwithstanding the foregoing, (i) any "Event
    of Default" or "Default" as referenced in any GH Loan Document shall mean a GH Event of
    Default or a Revolver Event of Default, and (ii) any "Event of Default" or "Default" as
    referenced in any FHA Loan Document shall mean an FHA Event of Default or a Revolver
    Event of Default

            "Fixed Charges" means, with respect to GH or FHA, as applicable, the sum of the Lease
    Payments of such party and all other required principal and interest payments of such party with
    respect to Total Debt.

           "FHA" is defined in the preamble to this Agreement

           ."FHA Administrative Reserve" is defined in the Amended Joint Plan.

            "FHA Bankruptcy" means the bankruptcy case filed by FHA in the Bankruptcy Court
    and assigned Case No. 4: 13-bk-03201-BMW.

           "FHA Collateral" is definedin Sec~iori6.l(b).

           "FHA Event of Default" is defined In Section 11.2.

         "FHA Hospital Property" means that certain real and personal property described in the
    MPT FHA Lease.

            "FHA Liquidating Trust" is defined in the Amended Joint Plan.

            "FHA Loan" is defined in the Preliminary Statements section of this Agreement.

          "FHA Loan Documents" is defined in the Preliminary Statements section of this
    Agreement.

            "FHA MP!" means MPT of Florence, LLC, the counterparty to the MPT FHA Lease.

           "FHA MPT Intercreditor Agreement" means that certain Intercreditor Agreement
    between Lender and FHA MPT dated March 5, 2012, as the same may be amended from time to
    time.

            "FHA Obligations" means all Obligations owed by FHA as described in this Agreement,
    including, without limitation, the FHA Term Obligation and the Obligations arising from the
    Revolver.

            "FHA Term Obligation" is defined in Section 2.2.

           "GAAP" means generally accepted accounting principles in effect in the United States of
    America from time to time.


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          "OR" is defined in the preamble to this Agreement.

          "OR 41" means OR 41, LLC, an Arizona limited liability company, which is a wholly-
    owned subsidiary of OR.

           "OR 41 Collateral" is defined in Section 6.1Cd).

             "OR 41 Security Agreement" means a security agreement in form and substance
    satisfactory to Lender, dated the date hereof, made by OR 41 in favor of Lender granting to
    Lender a security interest in certain of the OR 41 Collateral.

            "OR Bankruptcy" means the bankruptcy case filed by GR in the Bankruptcy Court and
    assigned Case No. 4:14-bk-01451-MCW.

           "OR Collateral" is defined in Section 6.1 (a).

           "OH Event of Default" is defined in Section 11.1.

           "OR Ouaranty" means that certain Guaranty Agreement, dated effective March 5, 2012,
    made by OH in favor of Lender whereby OH guarantied the full and prompt payment and
    performance by FHA of the FHA Loan.

         "OH Hospital Property" means that certain real and personal property described in the
    MPT OH Lease.                     .

           "OH Loan" is defined
                             ..
                                in the Preliminary Statements section of this Agreement.
                                                                                      '


          "GR Loan Documents"          is defined in the Preliminary    Statements section of this
    Agreement.

           "OH MPT" means MPT of Gilbert, LLC, the counterparty to the MPT GH Lease.

            "OR Obligations" means all Obligations owed by OH as described in this Agreement,
    including, without limitation, the GH Term Obligation, the Obligations arising from the GH
    Guaranty, and the Obligations arising from the Revolver.

           "OH Term Obligation" is defined in Section 2.1.

           "OR USC Trust" is defined in the Amended Joint Plan.

            "OH USC Trust Intercreditor Agreement" means an intercreditor agreement in form and
    substance satisfactory to Lender, dated the date hereof, between Lender and the ORUSC Trust.

           "Holdco" is defined in the preamble to this Agreement, and is an Arizona limited liability .
    company created through the Amended Joint Plan, the initial assets of which shall be 100% of
    the newly issued membership interests in GH and no less than 97% of the newly issued
    membership interests in FHA.

           "Holdco Collateral" is defmed inSection 6.l(c).


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            "Indebtedness" means (a) all items that would be included as liabilities on a balance sheet
    in accordance with GAAP, including capital leases, but excluding trade payables incurred and
    being paid in the ordinary course of business, (b) all guaranties, indemnifications, and other
    contingent obligations, and (c) all reimbursement obligations in connection with letters of credit
    ~~                                                          .
           "Indemnitee" is defined in Section 14.4.

            "Initial Tangible Net Worth" means, as to the entity to which it refers, the Tangible Net
    Worth of that entity determined as a result of: (i) an audit of the financial statements of such
    entity to be performed and delivered to Lender within 120 days following the occurrence of the
    Effective Date, or (ii) a review of the financial statements of such entity to be performed and
    delivered to Lender within 60 days following the occurrence of the Effective Date.

           "Lease Payments" means, with respect to GH or FHA, as applicable, the sum of the
    payment obligations of such party as the lessee under any lease for real property.

            "Lender" is defined in the preamble to this Agreement.

             "Loan Documents" means this Agreement, the GH Loan Documents, the FHA Loan
     Documents, the Revolver Loan Documents, the Pledge Agreement, the GH 41 Security
     Agreement, each Deposit Account Security Agreement, the Peoria Deed of Trust, any deed of
     trust on the Adjacent Property for the benefit of Lender in the event provided pursuant to the
     Option Agreement, all financing statements perfecting a security interest, each other agreement,
     document, or instrument executed pursuant to any of the foregoing or in connection with any of
   . the Loans, and all renewals and extensions of, or amendments or supplements to, or restatements
     of, any of the foregoing from time to time in effect.

           "Loans" means the GH Term Obligation, the FHA Term Obligation, the Revolver, and
    the LOC Obligation, collectively. .

           "LOC" means the standby letter of credit issued by Lender to FHA MPT in the face
    amount of $1,200,000.

            "LOC Collateral" is defined in Section 6.l(e).

           "LOC Obligation" means any Obligations owing as the result of drawings under any of
    the LOCs, including, without limitation, the LOC.

            "LOCs" is defined in Section 6.lCe).

            "Material Adverse Effect" means any set of circumstances or events that (a) would have a
    material adverse effect upon the validity or enforceability of any of the Loan Documents, (b) is
    or could reasonably be expected to become material and adverse to the business condition or
    prospects (financial or otherwise), assets, properties, or operations of a Borrower or GH 41, (c)
    could reasonably be expected to materially impair the ability of a Borrower or GH 41 to fulfill its
    obligations under the Loan Documents, or (d) causes an Event of Default or an event that with
    the giving of notice or passage of time, or both, would constitute an Event of Default.


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          "MPT FHA Lease" means the Lease Agreement between FHA and FHA MPT dated as of
    November 4, 2010, as amended from time to time, concerning the FHA Hospital Property, as,
    assumed by FHA in the FHA Bankruptcy.

            "MPT GH Lease" means the Amended and Restated Lease Agreement between GR and
     OR MPT dated as of November 5, 2014, as amended from time to time, concerning the GH
                   I

   , Hospital Property, as assumed by GR in the GR Bankruptcy.

            "Net Distributable Cash" means any surplus of cash generated from the operation of the ,
    businesses of GR and FHA after the following obligations have been paid in this order: (a)
    required Effective Date payments; (b) ordinary operating expenses of Borrowers; (c) required
    payments to Lender; and (4) establishing, replenishing, or increasing Reserves.

           "Net Operating Margin" means net operating income divided by net revenue, which shall
    be construed in accordance with GAAP and consistent with relevant industry guidelines.

            "Obligations" means all obligations, liabilities, and indebtedness (monetary or otherwise,
    including post-petition and default interest, whether allowed or not) of a Borrower or GH 41
    arising under this Agreement or any other Loan Document and all other obligations of            a
    Borrower or GH 41 to Lender of any nature whatsoever, including, without limitation, for
    principal, interest, fees, costs, expenses, indemnification, and legal fees, whether direct or
    indirect (including those acquired by assumption), absolute or contingent, due or to become due,
    now existing or hereafter arising.

            "Operating Reserve" is defined in Section 8.10.

            "Option Agreement" means the Option Agreement for the Purchase and Sale of Real
    Property and Joint Escrow Instructions .in a form satisfactory to Lender, dated the date hereof,
    between CRK. Properties, Inc., an Oklahoma corporation (an affiliate of Lender), and GR,
    granting to GH an exclusive option to purchase the Adjacent Property on the terms and
    conditions set forth therein.                                  "

            "Peoria Deed of Trust" means a deed of trust in form and substance satisfactory to
    Lender, dated the date hereof, made by GR 41, as trustor, in favor ,of Lender, as beneficiary,
    granting to Lender a lien and security interest in and to the Peoria Property.

             "Peoria Property" means the 41 acres of real property owned by GR 41, commonly
     referred to as Lots 2 and 3 'of a larger tract of land located at 26230 North L8ke Pleasant
     Parkway, Peoria, Arizona.                                           "

             "Permitted Indebtedness" means the Obligations and each of the following:

                       (a)   obligations of GR and FHA to pay Allowed Claims under the Amended
     Joint Plan;

                   (b)    obligations to Pinal County, Arizona, Maricopa County, Arizona, the GH
     USC Trust, and the FHA'Liquidating Trust as described in the Amended Joint Plan;



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                   (c)    FHA's obligations to FHA MPT under the MPT FHA Lease;

                   (d)     GH's obligations to GH MPT under the MPT GH Lease;

                   (e)     GH's and FHA's trade payables arising in the ordinary course of bus mess;

                 (f)    GR's and FHA's purchase money Indebtedness in an amount not
    exceeding $50,000 in the aggregate outstanding at any time without need to obtain Lender's
    consent;                                  .

                   (g)    GR's and FHA's contingent obligations (i) arising from endorsements of
    payment items for collection or deposit in the ordinary course of business, or (ii) incurred in the
    ordinary course of business with respect to surety, appeal, or performance bonds or other similar
    ~~~                                                                      .

                    (h)   GH's' other unsecured Indebtedness in an amount not exceeding $10,000
    in the aggregate amount outstanding at any time; and

                    (i)   FHA's other unsecured Indebtedness in an amount not exceeding $10,000
    in the aggregate amount outstanding at any time.

           "Permitted Liens" means liens in favor of Lender and each ofthe following:

                   (a)   liens in favor of the GH USC Trust and the FHA Liquidating Trust as
    described in the Amended Joint Plan, all of which shall remain subordinate to Lender's liens at
    all times;

                   (b)     liens infavor of FHA MPT under the MPT FHA Lease;

                   (c)     liens in favor of GH MPT under the MPT GH Lease;

                   (d)    liens securing purchase money Indebtedness permitted by clause (1) of the
    definition of "Permitted Indebtedness" and attaching only to the property acquired with the
    proceeds of such Indebtedness;

                   (e)     liens for taxes not yet due and payable, or which are being diligently
    contested in good faith by proper proceedings;

                   (f)     mechanics, warehouseman's, and other similar liens arising in the ordinary
    course of business for obligations not yet due and payable;

                    (g)    easements, rights-of-way, restrictions, covenants and other agreements
    encumbering real property that do not secure any monetary obligation and do not materially
    interfere with any Borrower's business; and

                    (h)     normal and customary rights of setoff upon deposits in favor of depository
    institutions and liens of a collecting bank on payment items in the course of collection.




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          "Person" means any individual, partnership, corporation, business trust, joint stock
   company, trust, unincorporated association, joint venture, limited' liability company,
   governmental authority, or other entity of any nature.

            "Pledge Agreement" means the Pledge Agreement in a form satisfactory to Lender, dated
   the date hereof, made by HoIdco in favor of Lender with respect to Holdco's membership
   interests in GH and FHA.

           "Reorganized FHA SNB Claim" is defined in the Amended Joint Plan.

           ''Reorganized GH SNB Claim" is defined in the Amended Joint Plan.

         "Reserves" means all reserves determined to be necessary or appropriate by Senior
   Management, including, but not limited to, the reserves discussed in Section 9.12.

           "Revolver" is defined in Section 2.3.

           "Revolver Event of Default" is defined in Section 11.3.                                               .
           "Revolver Loan Documents" means this Agreement, the Revolving Note, and all other
    loan documents evidencing or securing the Revolver,
                                                                                                                 I
                                                                                                                 !
                                                                                                                 \
           "Revolver Maturity Date" means February 28, 2017.

           "Revolver Reserve" is defined in Section 6.100.                                                       I
           "Revolving Note" means a promissory note in the form of Exhibit D.                                    1

           "Senior Management" is defined in the Amended Joint Plan.                                             \

            "Solvent" means, with respect to a Borrower, that (a) the present fair salable value of the
    assets of such Borrower is not less than the Initial Tangible Net Worth, (b) such Borrower is able
                                                                                                                 Ij'
    to pay (and is actually paying) all of its debts as they mature and pursuant to the Amended Joint
    Plan, (c) such Borrower will not have an unreasonably small capital in relation to its business or
    with respect to any contemplated transaction, and (d) such Borrower has not incurred (by way of
    assumption or otherwise) any obligations or liabilities (contingent or otherwise) under any of the
    Loan Documents, or made any conveyance in connection with the Loan Documents, with actual
    intent to hinder, delay, or defraud either present or future creditors of such Borrower.

            "Specified Commercial Tort Claims" is defined in Section 6.4.

           "Swept Funds" means the $1,085,084.09 swept by Lender from GH's deposit accounts
    on February 3, 4, and 5, 2014.

            "Swept Funds Account" is defined in Section 6.l(e).

            "Tangible Net Worth" means, as to the entity to which it refers and at any time, the sum
    of the following, determined in accordance with GAAP:



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                   (a)     the amount of capital, stated capital or capital account balance (after
    deducting the cost of any treasury shares), plus

                    (b)     the amount of capital surplus and retained earnings (or, in the case of a
    capital surplus or retained earnings deficit, minus the amount of such deficit), minus

                   (c) . the sum of the following (without duplication of deductions in respect of
    items already deducted in arriving at surplus and retained earnings): (i) unamortized debt
    discount and expense and (ii) any write-up i1"1:
                                                  book value of assets resulting from a revaluation
    thereof pursuant to GAAP subsequent to the most recent balance sheet prior to the date thereof,
    except any net write-up in value of foreign currency in accordance with GAAP; any write-up
    resulting from reversal of a reserve for bad debts or depreciation; and any write-up resulting
    from a change in methods of accounting for inventory, minus

                     (d)     as to GH, any account adjustments made related to any intercompany or
    affiliated entities, i.e., FHA, Peoria Regional Medical Center, LLC, PHD Property, LLC,
    Ahwatukee Regional Medical Center, LLC, Buckeye Regional Medical Center, LLC, Buckeye
    Medical Land, LLC related to transactions that occurred prior to the GH Bankruptcy.

           "Tax Distribution" is defined in the Amended Joint Plan.

          "Term Obligation Maturity Date" means the tirst day of the month of the 48th calendar
    month after the Effective Date.

            "Title Company" means Fidelity National Title Insurance Company.

            "Title Policy" means a title insurance policy (which policy shall be in the ALTA 2006
    form of lender's (or mortgagee's) policy of title insurance (including, without limitation, the
    coverage set forth in ALTA Section 11(a)) issued by the Title Company, at Borrowers' sole cost
    and .expense, in form and substance acceptable to Lender, naming Lender as insured, in the
    amount of the sum of the FHA Term Obligation and the maximum principal amount of the
    Revolver, showing the Peoria Deed of Trust as a tirst priority lien on GH 41' s entire interest in
    the Peoria Property and any appurtenant easements including, without limitation, all reciprocal
    easement agreements and other parking agreements, subject only to permitted encumbrances
    approved by Lender, together with such endorsements as Lender may require in its sole and
    absolute discretion.

            "Total Debt" means all indebtedness for borrowed money which, in accordance with
    GAAP, will be included in determining total liabilities of GH or FHA, as applicable, as shown
    on the liability side of a balance sheet, including any such indebtedness represented by
    obligations under a lease that is required to be capitalized for financial reporting purposes in
    accordance with GAAP.

          "DCC" means the Uniform Commercial Code, as amended and in effect in the State of
    Oklahoma.

          1.2  DCC Terms. The following capitalized terms shall have the meanings set forth in
    the DCC: Equipment, Inventory, Accounts, Chattel Paper, General Intangibles, Goods,


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   Documents, Fixtures, Deposit Accounts, Instruments, Investment Property, Letter-of-credit
   Rights, Software, and Commercial Tort Claims.

          1.3     Amended Joint Plan Terms. Capitalized terms used herein but not defined herein,
   but which are defined in the Amended Joint Plan, shall have the meanings set forth therein.

            1.4     Singular and Plural. Terms defined in the singular shall have correlative meanings
   in the plural, and vice versa.

    Section 2 .    The Obligations.

           .2.1    OR Term Obligation. Subject to the terms and conditions of this Agreement, the
   Reorganized OR SNB Claim is hereby established in the amount of $5,711,285.42 (the "OR
   Term Obligation") to be payable in equal monthly installments of $31;729.36 of principal plus
   all accrued interest commencing on the 14th day of April, 2016 and continuing on the same day
   of each month thereafter with the balance of principal and all accrued but unpaid interest and any
   other charges due and payable on the Term Obligation Maturity Date.

            2.2     FHA Term Obligation. Subject to the terms and conditions of this Agreement, the
    Reorganized FHA SNB Claim is hereby established in the amount of $8,288,714.58 (the "FHA
    Term Obligation") to be payable in equal monthly installments of $46,048.41 of principal plus
    all accrued interest commencing on the 14th day of April, 2016 and continuing on the same day
    of each month thereafter with the balance of principal and all accrued but unpaid interest and any
    other charges due and payable on the Term Obligation Maturity Date.

            2.3     Revolver. Subject to the terms and conditions of this Agreement, and provided
    that no Event of Default has occurred, Lender agrees to make one Of more advances (each an
    "Advance") pursuant to a revolving loan (the "Revolver") made jointly and severally to Holdco,
    OR, and FHA in an aggregate amount (the "Availability") not to exceed the lesser of (a) the
    Borrowing Base in effect from time to time, or (b) $750,000. The Revolver may be repaid and
    any Availability thereunder reborrowed at any time prior to the earlier of an Event of Default or
    the Revolver Maturity Date.

             2.4   Notes. The OH Term Obligation shall remain evidenced by: (a) the Promissory
    Note (Land) in the original principal amount of $7,328,924.00, dated effective November 8,
    2007, and made by, OH in favor of Lender, as amended from time to time; (b) the Promissory
    Note (Working Capital) in the original principal amount of $5,000,000.00, dated effective
    November 8, 2007, and made by OH in favor of Lender, as amended from time to time; and (c)
    the Promissory Note (Equipment) in the original principal amount of $8,040,000.00, dated
    effective November 8, 2007, and made by OR in favor of Lender, as amended from time to time.
    The FHA Term Obligation shall remain evidenced by: (x) the Promissory Note (Equipment) in
    the original principal amount of $6,748,206.00, dated effective March 5, 2012, and made by .
    FHA in favor of Lender, as amended from time to time; and (y) the Promissory Note (Working
    Capital) in the original principal amount of $5,000,000.00, dated effective March 5, 2012, and
    made by FHA in favor of Lender, as amended from time to time. The LOC shall remain
    evidenced by the Letter of Credit Demand Promissory Note in the original principal amount of
    $1,200,000.00, dated effective March 5,2012, and made by FHA in favorof Lender, as amended


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    from time to time. The Revolver-shall be evidenced by the Revolving Note executed by Holdco,
    GIl, and FHA and delivered to Lender.

            ·2.5   Loan Purposes. Availability and Advances under the Revolver may only be used
    for the general working capital purposes of Borrowers or as otherwise specifically permitted by
    the Amended Joint Plan. Neither Availability nor Advances under the Revolver may be used to
    support additional LOCs nor to fund the Operating Reserve.

             2.6    GH Guaranty Obligation. GH acknowledges and agrees that the GH Guaranty is
    in full force and effect except as limited by this subsection.

                (a)     The Obligations of GH under the GH Guaranty are limited in amount to a
    maximum of $3,000,000.00.

                   (b)     The GH Collateral shall secure the Obligations of GH under the GH
    Guaranty as set forth in Section 6.1Ca).                   .

                    (c)     The Obligations of GH under the GH Guaranty shall be due and payable
    upon the occurrence of anyone of the following circumstances: (i) if, prior to maturity of the
    FHA Obligations, there is a default in the terms of the FHA Obligations, a liquidation of FHA's
    assets, and a liquidation of the Peoria Property resulting in less than full recovery of the FHA
    Obligations, (ii) the failure to pay in full at maturity the balance of the FHA Obligations, or (iii)
    subsequent to maturity of the FHA Obligations, there is any default under the terms of the
    Reorganized FHA SNB Claim. For purposes of sub-part (i) of the first sentence of this
    paragraph, a liquidation of the assets of FHA will be deemed to occur upon the earlier of (a) the
    completion of a sale of all or substantially all of the assets of FHA, including, without limitation,
    any such sale conducted by or on behalf of any party with lien interests in the assets of FHA, or
    (b) a voluntary bankruptcy filing or any other insolvency proceeding commenced or consented to
    by FHA, or any involuntary bankruptcy or other involuntary insolvency proceeding of FHA that
    is not dismissed within 60 days of its commencement. For purposes of sub-part (i) of the first
    sentence of this paragraph, a liquidation of the Peoria Property will be deemed to occur upon the
    earlier of (x) completion of a judicial or non-judicial foreclosure, including, without limitation, a
    trustee sale, of the Peoria Property. and, if applicable, the entry of an order by a court of
    competent jurisdiction establishing the fair-market value of the Peoria Property as provided in
    Arizona Revised Statutes § 33.-814, or (y) a voluntary bankruptcy filing or any other insolvency
    proceeding commenced or consented to by the owner of the Peoria Property, or any involuntary
    bankruptcy or other involuntary insolvency proceeding of the owner of the Peoria Property that
    is not dismissed within 60 days of its commencement. The amount of the GH Guaranty claim
     shall not exceed the amount necessary to satisfy in full the FHA Obligations, including all
    principal, accrued interest, fees, and expenses arising therefrom.

    Section 3.      Interest.

            3.1    Interest Rate. Subject to Sections 3.2,3.3, and 14.15, the unpaid principal of each
    of the Loans shall bear interest at the rate of8.75% per annum from the Effective Date until paid.

            3.2     Default Interest: Subject to Sections 3.3 and 14.15:



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                    (a)      upon the occurrence and during the continuance of a GH Event of Default,
    the unpaid principal of each of the GR Term Obligation, the Revolver, and the LOC Obligation
    shall bear interest at the rate of 15% per annum;

                   (b)     upon the occurrence and during the continuance of an FHA Event of
    Default, the unpaid principal of each of the FHA Term Obligation, the Revolver, and the LOC
    Obligation shall bear interest at the rate of 15% per annum; and

                   (c)   upon the occurrence and during the continuance of a Revolver Event of
    Default, the unpaid principal of each of the Loans shall bear interest at the rate of 15% per
    annum.

            3.3    Interest Calculation. Interest shall be computed for the actual number of days
    elapsed on the basis of a year of 360 days.

    Section 4.     Pavment.

           4.1     Payments of Obligations.

                   (a)     GR Term Obligation. GH shall pay the GH Term Obligation as set forth in
    Section 2.1. A final payment of all outstanding Obligations owing with respect to the GH Term
    Obligation shall be due and payable on the Term. Obligation Maturity Date.
                                                     .                                           .
                   (b)     FHA Term Obligation. FHA shall pay the FHA Term Obligation as set
    forth in Section 2.2. GH and Holdco shall subsidize FHA's monthly payment Obligations, as
    necessary, so that Lender receives timely monthly debt service payments on the FHA Term
    Obligation in full. A fmal payment of all outstanding Obligations owing with respect to the FHA
    Term Obligation shall be due and payable on the Term Obligation Maturity Date.

                      (c)    Revolver .. Commencing on Apri114, 2016, and on the same day of each
     month thereafter, Borrowers shall make payments of accrued and unpaid interest with respect to
     the Revolver. A final payment of all outstanding Obligations owing with respect to the Revolver
   . shall be .due and payable on the Revolver Maturity Date, Unless otherwise agreed, any unpaid
     principal and all accrued but unpaid interest due on the Revolver Maturity Date will be converted
      to a term obligation amortized and payable in equal monthly installnients of principal plus
    . accrued interest on the 14th day of each month over a term of 24 months, with all principal and
      accrued. interest being finally due and payable on the date that is 24 months after the Revolver
      Maturity Date.

                  (d)    LOC Obligation. Borrowers shall immediately reimburse Lender for any
    drawings under the LOC or any other LOCs.

                   (e)     Other Obligations. All other Obligations owing from any Borrower to
    Lender from time to time pursuant to the Loan Documents shall be payable on demand unless
    otherwise specified in a Loan Document, but in any event shall be due and payable on the
    maturity date thereof.




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             4.2    Manner of Payments. All payments of Obligations shall be made in United States
    dollars, without offset, counterclaim, or defense of any kind, free and clear of (and without any
    deduction for) taxes, in immediately available funds at the office specified by Lender not later
    than 12:00 noon, Oklahoma City, Oklahoma time on the date due. Funds received after such hour
    shall be deemed to have been received on the following Business Day.

            4.3   Payment Authorization. In the event a payment is late or an Event of Default
    occurs, each Borrower authorizes Lender, in its sole discretion, to charge any of such Borrower's
    Deposit Accounts to make any payments of principal and interest.

            4.4    Voluntary Prepayment. Borrowers may prepay to Lender the Obligations at any
    time without penalty. If, within 18 months after the Effective Date, the FHA Term Obligation,
    the GH Term Obligation, and the Revolver are all paid in full (and, in the case of the Revolver,
    additional Advances are not permitted or the Revolver has been terminated), and if the LOCs
    have been extinguished, fully' satisfied, and/or paid in full, then the combined principal balance
    of the FHA Term Obligation, the GH Term Obligation, and the Revolver will be discounted by
    $1,500,000 at the payoff.

            4.5    Additional Mandatory Payments.

                   (a)     On a quarterly basis commencing on June 1, 2016, and on the same day of
    each third month thereafter, Borrowers shall distribute to Lender a portion of the Net
    Distributable Cash as follows (each a "Bank SNB Ouarterly Distribution"):

                           (i)     20% of the Net Distributable Cash, which shall be paid to Lender
    as an additional principal reduction until all claims of Lender have been paid in full.

                             (ii)    Notwithstanding the foregoing, the Bank SNB Quarterly
    Distributions shall be reduced to 10% of Net Distributable Cash until such point as the aggregate
    total of all Distributions to the GH USC Trust and the FHA Liquidating Trust (not including the
    FHA Litigation Reserve, GH Litigation Reserve, GH Administrative Subsidy, and the FHA
    Administrative Subsidy, all such terms as defined in the Plan) are proportionate, i.e, until the
    obligations owed to the GH USC Trust and the FHA Liquidating Trust have been reduced to the
    same percentage of their respective original amounts.

                           (iii) At any time the Bank SNB Quarterly Distribution is reduced to
    10% of Net Distributable Cash, then Borrowers shall use funds from the Operating Reserve as
    necessary to provide to Lender an additional cash payment equal to the 10% of Net Distributable
    Cash then payable to Lender.

                      (b)   Asset Sale. On any date on which any Borrower or GH 41 receives
   . proceeds from any sale of any Collateral (other than inventory in the ordinary course of business
     or the disposition of worn or obsolete equipment), such Borrower shall pay to, or shall cause GH.
     41 to pay to, Lender an amount equal to 100% of such sales proceeds (net of reasonable closing
     costs actually paid customarily associated with the sale of such Collateral) to be applied as a
     prepayment of the Obligations. This Section 4.5(b) shall not be construed to permit any sale not
     otherwise permitted by this Agreement.



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                    (c)    Casualty Events. Not later than 3 Business Days following the receipt by
    any Borrower or GR 41 of the proceeds of insurance, any condemnation award, or other
    compensation in respect of any loss or damage to, or any condemnation or other taking of
    property constituting any part of the Collateral, such Borrower shall pay to, or shall cause GR 41
    to pay to, Lender an amount equal to 100% of such proceeds (net of reasonable and customary
    costs actually paid associated with the recovery of such proceeds) to be applied as a prepayment
    of the Obligations.

                    (d) . Overadvance. If the aggregate principal balance of the Revolver exceeds'
    the Availability, Borrowers shall prepay the Revolver in the amount of the excess not later than
    the first Business Day following any Borrower's knowledge of the. excess.    '

                   (e)      Application of Payments. Payments received pursuant to this Section 4.5
    shall be applied first to a Term Obligation in Lender's sole and absolute discretion, and then to
    the Revolver, except that payments received pursuant to paragraph (d) shall be applied to the
    Revolver.

            4.6    Late Charges. If any Borrower makes any payment of the Obligations more than
    10 days past the due date for such payment, such Borrower shall pay a late charge in an amount
    equal to 5% of the amount of the unpaid, past due Obligations. Payment of the late charge shall
    not cure the Event of Default resulting from any late payment of the Obligations.

            4.7    Increased Costs; Capital Adequacy.

                   (a).   Change in Law: If any Change in Law shall (i) impose, modify, or deem
    applicable any reserve, special deposit, compulsory loan, insurance charge, or similar
    requirement against assets of, deposits with or for the account of, or credit extended or
    participated in by, Lender, (ii) subject Lender to any tax with respect to any Loan or Loan
    Document, or change the basis of tax.ation of payments to Lender in respect thereof, or (iii)
    impose on Lender or any interbank market any other condition, cost, or expense affecting the
    Loans or any Loan Document and the result thereof shall be to increase the cost to Lender of
    making or maintaining the Loans or to reduce the amount of any sum received or receivable by
    Lender hereunder (whether of principal, interest, or any other amount) then, upon request by
    Lender, Borrowers will pay to Lender such additional amount or amounts as will compensate
    Lender for such additional costs incurred or reduction suffered.

                   (b)     Capital Adequacy. If Lender determines that any Change in Law affecting
    Lender or its holding company regarding capital requirements has, or would have, the effect of
    reducing the rate of return on Lender's or such holding company's capital as a consequence of
    this Agreement or the Loans to a level below that which Lender or such holding company could
    have achieved but for such Change in Law (taking into consideration Lender's and such holding
    company's policies with respect to capital adequacy), then from time to time Borrowers will pay
    to Lender such additional amount or amounts as will compensate it or its holding company for
    any such reduction suffered.




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    SectionS.      Conditions Precedent.

           S.1    Conditions to Closing. Lender is not required to enter into this Agreement or the
    other Loan Documents or grant any other accommodation to Borrowers until the date (the
    "Closing Date") on which the following conditions have been satisfied or waived by Lender:

                  (a)     Amended Joint Plan Payments. The Bankruptcy Court has entered the
    Confirmation Order in the FHA Bankruptcy and the GH Bankruptcy, the Amended Joint Plan
    has become effective, and GH and FHA have made all Effective Date payments required by the
    Amended Joint Plan:

                  (b)      Representations 'and Warranties. The representations and warranties in this
    Agreement 'Shall be true and accurate as of the Closing Date.       .                            .

                   (c)     Documents. The Loan Documents shall be du1y authorized, executed, and
    delivered to Lender.

                   (d)     Intentionally Omitted.

                    (e)     Secretary's Certificate. Lender shall have received a certificate of the
     secretary, manager, or other responsible officer of each Borrower and GH 41 certifying (i) copies
     of such Person's organizational documents, (ii) copies of resolutions of the directors, members,
     or managers, as applicable, of such Person authorizing the transactions contemplated in this
     Agreement and the other Loan Documents, and (iii) the title, name, and signature of each person
   . authorized to sign the Loan Documents on behalf of such Person.

                  (f)     Certificate of Good Stariding. Lender shall have received a certificate of
    the Secretary of State of the State of Arizona certifying the existence and good standing of
    Borrowers and GH 41 in the State of Arizona.

                  (g)   Confirmation Order. Lender shall have received· a signed copy of the
    Confirmation Order.

                  (h)   Opinion of Counsel. Lender shall have received an opinion of counsel to
    Borrowers and GH 41 as to the matters set forth on Exhibit E.

                   (i)    Anti-Money Laundering. Lender shall have received all documentation
    and information required by bank regulatory authorities under applicable "know your customer" .
    and anti-money laundering ru1es and regulations, including, without limitation, the United States
    PATRIOT Act

                    G)   USC Intercreditor Agreement. The GH USC Trust and Lender shall have
    entered into the GH USC Trust Interereditor Agreement.

                  (k)     Pledge Agreement. Holdco shall have executed and delivered to Lender
    the Pledge Agreement.




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                   (1)    Deposit Accounts and Reserves. Borrowers shall have established, and
    shall have caused GH 41 to establish, with Lender all deposit accounts and reserves required to
    be established with Lender pursuant to this Agreement, including, without limitation, all Deposit
    Accounts and Reserves of Borrowers and GH 41, the Swept Funds Account, the Effective Date
    Reserve, the Operating Reserve, and the FHA Administrative Claim Reserve.

                   (m)    Peoria Deed of Trust. The Peoria Deed of Trust shall be duly authorized,
    executed, and delivered to Lender.

                 (n)   Security Agreements. The GH 41 Security Agreement and each required
    Deposit Account Security Agreement shall be duly authorized, executed, and delivered to
    Lender.

                   (0)      Subordinations and Releases of Encumbrances on Peoria Property. Lender
    shall have received (i) a subordination agreement, in form and substance acceptable to Lender in
    its sole discretion, from GH with respect to that certain deed of trust naming GH as beneficiary
    and recorded in Maricopa County, Arizona at Instrument No. 2011~0834478, and (ii) such
    releases as may be determined by Lender in its discretion to be necessary to release and
    terminate "all other encumbrances (other than real property tax liens for taxes not yet due and
    payable) on the Peoria Property.

                 (P)     Guarantor Forbearance Agreements. Lender and all guarantors (other than
    GH) of the Obligations of GH or FHA that elected to accept the Amended Joint Plan and the
    offered forbearance described in Sections 2.1.FHA(b) and 2.2.GH(b) of the Amended Joint Plan
    shall have entered into forbearance agreements inform and substance acceptable to Lender.

                   (q)     Title Policy. Lender shall have received from the Title Company a current
    title Commitment and pro forma title policy, together with electronic copies of all recorded title
    exceptions, with respect to the Peoria Property. On or promptly after the Closing Date, Lender
    shall have received the Title Policy, together with all endorsements required by Lender.
                                                         "                "

                 (r)       Option Agreement. GH shall have executed and delivered to Lender the
    Option Agreement.

                  (s)    Appraisal. Lender shall have received payment of the fees incurred in
    connection with Lender's appraisal of the Peoria Property.

                   (t)     Intentionally Omitted.

                  (u)     Other Documents. Lender shall have received such other agreements,
    documents, instruments, and certificates as it may reasonably request and in such form as Lender
    may reasonably require.

             5.2  Conditions to Advances. Lender is not required to make any Advances under the
    Revolver or grant any other accommodation to Borrowers unless the following conditions are
    satisfied:




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                    (a)    No Event of Default. No Event of Default shall exist or result from the
    making of the Loans and no event shall have occurred, or occur with the making of the Loans,
    that with the giving of notice or passage oftime, or both, would constitute an Event of Default.

                 (b)    Representations and Warranties. The representations and warranties in this
    Agreement shall be true and accurate as of .the date of any Advance made pursuant to the
    Revolver.

                    (c)      Request for Advance; Borrowing Base Certificate. Not later than 3
    Business Days prior to the date of any Advance made pursuant to the Revolver, Lender shall
    have received a duly executed request for such Advance in the form of Exhibit F to this
    Agreement. For the first 12 months following the Effective Date, each Monday (unless Monday
    is not a Business Day, in which 'case on the next following Business Day), Borrowers shall
    submit a Borrowing Base Certificate duly executed by the chief financial officer of each
    Borrower certifying as to the status of Accounts as of the close of business on the last Business
    Day of the previous week. Thereafter, Borrowers shall submit a Borrowing Base Certificate no
    later than the first day and the fifteenth day (or the first Business Day thereafter) of each calendar
    month or as otherwise requested by Lender, but not more often than weekly.

                   (d)     Financial Covenants. Borrowers shall be in compliance with the financial
    covenants set forth in Section 10.

                    (e)   No Draw Periods. Commencing 6 months after the Effective Date,
    Borrowers shall not have requested an Advance under the Revolver for 30 consecutive days
    during the prior 6 months.

                    (f)    Field Audits. Borrowers will permit field audits of operations (including,
    but not limited to, operations, accounts receivable, and equipment) as reasonably requested by
    Lender. Lender shall be permitted to conduct an initial field audit prior to the initial Advance
    request under the Revolver and to conduct quarterly field audits thereafter. Absent extraordinary
    circumstances, Lender will provide Borrowers with written notice of. a field audit at least 7
    Business Days' prior to the occurrence of such audit, and Lender will use reasonable efforts to
    conduct such field audits at such times and in such a manner as to avoid interference in the
    operation of Borrowers' businesses. Borrowers will be responsible for the reasonable cost of all
    field audits conducted by Lender.

                  (g)     Other Documents. Lender shall have received such other agreements,
    documents, instruments, and certificates as it may reasonably request and in such form as Lender
    may reasonably require.

                    (h)     Material Adverse Effect. No event shall have occurred or circumstance
    exist that has or could reasonably be expected to have a Material Adverse Effect.

                   (i)     No Overadvance. After the making of each Advance under the Revolver,
    the outstanding principal balance of the Revolver shall not exceed the Availability.




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    Section 6.     CollateraL

           6.1     Grant of Security Interests.

                     (a)     GR Collateral. To secure the prompt payment and performance of all of
    the GR Obligations, and in addition to any grant of security previously given pursuant to any of
    the other Loan Documents, GR hereby grants to Lender a lien and continuing security interest in
    all of OR's assets, including, without limitation, all of GH's right, title, and interest in any
    Equipment, Inventory, Accounts, Chattel Paper, General Intangibles, Goods, Documents,
    Fixtures, Deposit Accounts (including the Reserves, the Revolver Reserve, the Swept Funds
    Account, the Effective Date Reserve, the Operating Reserve, and the FHA Administrative
    Reserve, but the Lender's lien rights in the FHA Administrative Reserve are subordinated to the
     administrative claims of the FHA Bankruptcy as and when they become finally Allowed),
    Instruments, Investment Property, Letter of Credit Rights, Software, Commercial Tort Claims
     (including the Specified Commercial Tort Claims), money, and all other property of GR pledged
     as security for the GR Obligations in any GR Loan Document, in each case, whether owned now
     or acquired after the date of this Agreement, and including all proceeds of the foregoing and all
     books and records related to the foregoing (all of the foregoing, the "OR Collateral"); provided,
     however, that the GR Collateral (i) shall include only those assets that GR can pledge as
     collateral legally and without breaching a valid and enforceable contractual obligation assumed
     by GR throughout the GR Bankruptcy andlor pursuant to the Effective Date Contract Notice,
     and (ii) shall not include any security deposit held by OR MPT pursuant to the MPT OR Lease,
     or GR's interests in or under the MPT GH Lease. Lender's lien and security interest in the GH
   , Collateral shall be senior to, all other liens, claims, and encumbrances with respect to all of the
     OH Obligations to Lender, except the GH Obligations to Lender arising from the GH Ouaranty.
     Lender's lien rights in the GH Collateral pertaining to the GH Obligations arising under the GH
     Guaranty are expressly subordinated to the lien rights of the GH USC Trust subject to the tenus
     of the GH USC Trust Intercreditor Agreement. Notwithstanding anything to the' contrary set
   . forth herein, Lender's liens remain subject to the FHA MPT Intercreditor Agreement.

                     (b)    FHA Collateral. To secure the prompt payment and performance of all of
    the FHA Obligations, and in addition to any grant of security previously given pursuant to any of
    the other Loan Documents, FHA hereby grants to Lender a lien and continuing security interest
    in all of FHA's assets, including, without limitation, all of FHA's right; title, and interest in any
    Equipment, Inventory, Accounts, Chattel Paper, General Intangibles, Goods, Documents,
    Fixtures, Deposit Accounts (including the Reserves, the Revolver Reserve, the Swept Funds
    Account, the Effective Date Reserve, the Operating Reserve, and the FHA Administrative
    Reserve, but the Lender's lien rights in the FHA Administrative Reserve are subordinated to the
     administrative claims of the FHA Bankruptcy as and when they become finally Allowed),
     Instruments, InvestmentProperty, Letter of Credit Rights, Software, Commercial Tort Claims
     (including the Specified Commercial Tort Claims), 'money, and all other property of FHA
     pledged as security for the FHA Obligations in any FHA Loan Document; in each case, whether
     owned now or acquired after the date of this Agreement, and including all proceeds of the
     foregoing and all books and records related to the foregoing (all of the foregoing, the "FHA
     Collateral"); provided, however, that the FHA Collateral shall include only those assets that FHA
     can pledge as collateral legally and without breaching- a valid and enforceable contractual
     obligation assumed by FHA throughout the FHA Bankruptcy and/or pursuant to the Effective


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   . Date Contract Notice. Lender's lien and security interest in the FHA Collateral shall be senior to
     all other liens, claims, and encumbrances with respect to all of the FHA Obligations to Lender,
     except as otherwise provided in the FHA MPT Intercreditor Agreement.

                     (c)    Holdco Collateral. To secure the prompt payment and performance of all
    Obligations under the Revolver, Holdco hereby grants to Lender a lien and continuing security
    interest in all of Holdco's assets, including, without limitation, all of Holdco's right, title, and
    interest in any Equipment, Inventory; Accounts, Chattel Paper, General Intangibles, Goods,
    Documents, Fixtures, Deposit Accounts (including the Reserves, the Revolver Reserve, the
    Swept Funds Account, the Effective Date Reserve, the Operating Reserve, and the FHA
    Administrative Reserve, but the Lender's lien rights in the FHA Administrative Reserve are
    subordinated to the administrative claims of the FHA Bankruptcy as and when they beeome
    finally Allowed), Instruments, Investment Property, Letter of Credit Rights, Software,
    Commercial Tort Claims (including the Specified Commercial Tort Claims), money, and all
    other property of Holdco pledged as security for the Obligations under the Revolver in any Loan
    Document, in each case, whether owned now or acquired after the date of this Agreement, and
    including all proceeds of the foregoing and all books and records related to the foregoing (all of
    the foregoing, the "Holdco Collateral;'). Lender's lien and security interest in the Holdco
     Collateral shall be senior to all other liens, claims, and encumbrances.

                     (d)     GH 41 Collateral. To secure the prompt payment and performance of all .
    of the FHA Obligations and all Obligations under the Revolver, GH 41 shall deliver to Lender
    the Peoria Deed of Trust pursuant to which GH 41 shall grant to Lender a lien and continuing
    security, interest in all of the assets .described therein, including the Peoria Property. To secure
    the prompt payment and performance of all of the Obligations under the Revolver, GH 41 shall
    deliver to Lender the GH 41 Security Agreement pursuant to which GR 41 shall grant to Lender
    a lien and continuing security interest in all of GH 41's assets, including, without limitation, all
    of GH 41's right, title, and interest in any Equipment, Inventory, Accounts, Chattel Paper,
     General Intangibles.. Goods, Documents, Fixtures, Deposit Accounts, Instruments, Investment
    Property, Letter of Credit Rights, Software, Commercial Tort Claims (including the Specified
     Commercial Tort Claims), money, and all other property of GH 41 pledged as security for the
     Obligations 'under the Revolver in any Loan Document, in each case, whether owned now or
     acquired after the date of this Agreement, and including all proceeds of the foregoing and all
     books and records' related to the foregoing. All of the foregoing collateral described in this
     paragraph shall be referred ·to as the "GH 41 Collateral." Lender's lien and security interest in the
     GH 41 Collateral shall be senior to all other liens, claims, and encumbrances.                   .
                             .      .
                     (e)    LOC Collateral. Upon the Closing Date, Lender will return the Swept
    .Funds to GR. The Swept Funds shall be maintained with Lender in a certificate of deposit or
     other interest-bearing instrument or deposit account (the "Swept Funds Account'), which shall
     serve as additional collateral for the LOC. On the Closing Date and from time to time, GH shall
     provide additional funds (together with the Swept Funds, the "LOC Collateral") as necessary to
     increase the amount in the Swept Funds Account to fully cash collateralize (i) the full amount of
     the LOC, (ii) any increases to the amount of the LOC, and (iii) any additionalletter(s) of credit
     issued by Lender for the account of any Borrower (collectively, the "LOCs"). To secure the
     prompt payment and performance of all of the Obligations under the LOCs, GR hereby grants to
     Lender a lien and continuing security interest in the LOC Collateral, whether owned now or


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    acquired after the date of this Agreement, and including all proceeds of the foregoing. To the
    extent any of the LOCs is drawn, Lender shall have the right immediately to liquidate the LOC
    Collateralto the extent necessary to reimburse Lender for drawings on the LOCs. To the extent
    the LOCs are not drawn, and if Borrowers obtain the discharge of any liability of Lender under
    the LOCs by fully replacing the LOCs through another banking institution, fully retiring the
    LOCs, or otherwise, Lender shall release the LOC Collateral and its security interest therein, and
    Holdco will be entitled to the Loe Collateral and any interest accrued thereon. Lender is under
    no obligation to increase the amount of the LOe or to issue additional letters of credit for the
    account of any Borrower. If any of the LOCs remain outstanding after full payment of the GH
    Term Obligation, the FHA Term Obligation, and the Revolver (and, in the case of the Revolver,
    additional Advances are not permitted or the Revolver has been terminated), Borrowers shall
    take such action as is reasonable and necessary to cause Lender to be released from all liability
    under the LOCs. In default thereof, Lender will be entitled to retain the LOC Collateral and give
    notice of its intent not to renew any outstanding LOCs.

                    (f)    Revolver Reserve. To the extent the Revolver has not been retired and
    paid in full when all LOCs are replaced, fully retired, or otherwise satisfied without being drawn
    as set forth herein! GH shall reserve from the Swept Funds the sum of $750,000 plus accrued
    unpaid interest, fees, and expenses under the Revolver (the "Revolver Reserve"), which shall
    secure repayment of all amounts due and owing under the Revolver. To secure the prompt
    payment and performance of all of the Obligations under the Revolver, GH hereby grants to
    Lender a lien and continuing security interest in the Revolver Reserve, whether owned now or
    acquired after the date of this Agreement, and including all proceeds of the foregoing. Once the
    Revolver has been retired and paid in full, the Revolver Reserve will be released to GH.

             6.2    No Assumption of Liability. The security interests granted by this Agreement are
    given as security only and shall not subject Lender to, or in any way modify, any obligation or
    liability of any Borrower or GH 41 relating to,any of the Collateral. '

            6.3    Further Assurances. Promptly upon request, Borrowers shall deliver, and shall
    cause GH 41 to deliver, such instruments, assignments, title certificates, or other documents or
    agreements, and shall take such actions, and cause GH 41 to take such action, as Lender deems
    appropriate to evidence or perfect Lender'S liens and security interests in any of the Collateral, or
    otherwise to give effect to the intent ofthis Agreement.

            6.4     Commercial Tort Claims. Borrowers represent and warrant to Lender that all of
    Borrowers' Commercial Tort Claims are set forth on Schedule 6.4 (the "Specified Commercial
    Tort Claims"). If any Commercial Tort Claim arises after. the date of this Agreement, the
    Borrower with an interest in SUch,after acquired Commercial Tort Claim shall promptly (i)
    deliver to Lender a revised Schedule 6.4 containing a description of such Commercial Tort
    Claim, and (ii) take all steps as Lender may request to grant to Lender a first priority lien therein.

     Section 7.     Representations and Warranties. Borrowers each represent and warrant to Lender
     as follows:




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            7.1    Legal Status. Borrowers and GH 41 are each limited liability companies duly
    formed and existing in good standing under the laws of the State of Arizona. They do not do
    business in any jurisdiction except Arizona.                         .

             7.2    Subsidiaries. Neither any Borrower nor GH 41 .owns any voting or economic
    interests in any other Person, except that Holdco owns 100% of the membership interests in GH
    and at least 97% of the membership interests in FHA, and GH owns 100% of the membership
    interests in GH 41.

            7.3    Authorization and Validity. The execution, delivery, and performance of the Loan
    Documents have been duly authorized by all necessary organizational action by each Borrower
    and GH 41 and their respective governing bodies. Each Loan Document is an enforceable
    obligatiort of the signer thereof, except as enforceability may be limited by bankruptcy,
    insolvency, or similar laws affecting the enforcement of creditors' rights generally. The
    Confirmation Order has become a Final Order.

            7.4   No Conflict. The execution, delivery, and performance by Borrowers and GH 41
    of this Agreement and the other Loan Documents do not and will not:

                 (a)    violate the. terms of the certificate of formation or limited liability
    company agreement of such party;

                    (b)    violate any provisiori of any judgment, decree, or order of any court or
    governmental authority by which such party is bound, or any provision of any law or regulation
    applicable to such party, including without limitation, the Confirmation Order;
                                                                                                                  .I
                 . (c)   result in a default under any contract, obligation, indenture, or other
    instrument to which such party is a party, except where such default would not reasonably be
    expected to have a Material Adverse Effect;

                   (d)    result in or require the imposition of any lien or encumbrance on any of
    such party's property other than the liens imposed or required under the Loan Documents or the
    Confirmation Order; or

                   (e)   require any authorization, approval, or other action by, or notice to, or
    filing with, any governmental authority, regulatory body, or any other Person, except the
    Confirmation Order.

            7.5   Indebtedness. No Borrower has any outstanding Indebtedness that is not
    Permitted Indebtedness.

             7.6     Title to Properties. Each Borrower and GH 41 has, as applicable, good,
    marketable, and indefeasible title to all of its material real and personal property, free and clear
    of all liens, charges, security interests, and encumbrances that are not Permitted Liens.

            7.7    Taxes. Borrowers and GH 41 have filed all federal, state, and local tax returns and
    other reports that such Borrower and GH 41 is required by law to file, and has paid, or made
    provision for the payment of, all taxes upon it, its income, and its properties that are due and


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    payable, except to the extent     (a) being contested diligently and in good faith by proper
    proceedings, (b) that would not   have a Material Adverse Effect if such proceedings were to be
    adversely determined, (c) that     adequate reserves for the payment of the taxes have been
    established in accordance with     GAAP, and (d) that such' party has delivered written notice
    thereof to Lender.

             7.8  Litigation. There are no suits, proceedings, claims, or disputes pending or, to the
    knowledge of Borrowers, threatened against or affecting any Borrower, GH 41, or any of
    Borrowers' or GR 41 's assets or properties that (a) relate to any of the Loan Documents or the
    transactions contemplated by the Loan Documents, or (b) if adversely determined, could
    reasonably be expected to have a Material Adverse Effect.

            7.9    Compliance with Laws. Borrowers and GR 41 are in compliance in all material
    respects with all laws and regulations applicable to any Borrower, GR 41, and their respective
    business and properties.

            7.10 Compliance with Environmental Laws. None of any Borrower's or GH 41 's past
    or present operations or properties is subject to any federal,' state, or local investigation to
    determine whether any remedial action is needed to address any environmental pollution,
    hazardous material, or environmental clean-up. Neither a Borrower nor GR 41 has received any
    notice of any possible noncompliance with, investigation of a possible violation of, litigation
    relating to, or potential fine or liability under, any Environmental Law, or with respect to any
    release, environmental pollution, or hazardous materials.

            7.11 Locations of Collateral. Schedule 7.11 sets forth an accurate and complete list of
    each location where any Collateral is stored.

            7.12 Financial Statements. The most recent balance sheet of each Borrower and GR 41
    and the related financial statements provided to Lender are materially complete and correct and
    fairly present the financial condition of each Borrower and GH 41 as at the dates thereof in
    accordance with GAAP. Since the last monthly operating reports filed by GH and' FHA in the
    GA Bankruptcy and the FHA Bankruptcy, respectively, no events Pave occurred that alone or
    together with other events have had or would reasonably be expected to have a Material Adverse
    Effect.

            7.13 Liabilities. No Borrower or GH 41 has any material liabilities, fixed or
    contingent, that are not reflected in the financial statements delivered to Lender or that have not
    otherwise been disclosed in writing to Lender.                          '

            7.14   Solvency. Borrowers and GH 41 are presently Solvent.

             7.15 Foreign Assets Control Regulations. Etc. Neither the receipt by Borrowers of the
    proceeds of the Loans nor Borrowers' use of the proceeds of the Loans will violate the Trading
    with the' Enemy Act, as amended, or any of the foreign assets control regulations of the United
    States Treasury Department (31 CFR, Subtitle B, Chapter V, as amended), or any enabling
    legislation or executive order relating thereto.                        '




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                    (a)     Borrowers and GH 41 (i) are not Persons described or designated in the
    Specially Designated Nationals and Blocked Persons List of the Office of Foreign Assets Control
    or in Section 1 of the Executive Order No. 13,244 of September 24, 2011, and (ii) do not engage
    in any dealings or transactions with any such Person. Borrowers and GH 41 are in compliance, in
    all material respects, with the USA PATRIOT Act.

                    (b)     No part of the proceeds of the Loans will be used, directly or indirectly,
    for any payments to any governmental official or employee, political party, official of a political
    party, candidate for political office, or anyone else acting in an official capacity, in order to
    obtain, retain, or direct business or obtain any improper advantage, in violation of the United
    States Foreign Corrupt Practices Act of 1977, as amended, assuming in all cases that such Act
    applies to Borrowers and GH 41.

            7.16 Complete Disclosure. No Loan Document contains any untrue statement of a
    material fact or fails to disclose any material fact. Borrowers and GH 41 have disclosed to
    Lender in writing any fact or circumstance that could reasonably be anticipated to have a
    Material Adverse Effect.

    Section 8.   Affirmative Covenants: Until all Obligations have' been satisfied in full,
    Borrowers and GH 41 shall comply with the following covenants:

             8.1     Payment of Indebtedness. Each Borrower and GH 41 shall promptly pay all of its
     Indebtedness as it becomes due, except to the extent that any such Indebtedness (other than the
   . Obligations) is being contested diligently and in good faith and for which reserves or other
     provisions (if any) required by GAAP shall have been made.

            8.2     Existence. Each Borrower and GH 41 shall do or cause to be done all things
    necessary to preserve, renew, and keep in full force and effect its existence and comply with the
    provisions of its organizational documents.

            8.3    Compliance with Laws: Licenses. Each Borrower and GH 41 shall comply in all
    material respects with all laws, rules, regulations, and orders applicable to each Borrower and
    GH 41, respectively, their respective business or their respective properties. Each Borrower and
    GH 41 shall maintain all licenses, permits, governmental approvals, and franchises necessary for
    the conduct of its respective business.

            8.4    Taxes. Each Borrower and GH 41 shall pay when due all federal, state, and local
    taxes, assessments, and governmental charges or levies imposed upon it or upon its income or
    profits or upon any of its properties, except, to the extent contested diligently and in good faith
    by proper proceedings that stay the imposition of any penalty, fine, or lien resulting from the
    non-payment thereof and with respect to which adequate reserves have been established in
    accordance with GAAP.

            8.5     Collateral.

                    (a)    Location of Collateral. Each Borrower and GH 41 shall maintain all
    material items of Collateral that is not real property at a location that is either owned or leased by
    the particular Borrower or GH 41.                                                        .


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                    (b)     Records with Respect to Collateral. Each Borrower and GR 41 shall keep
    accurate and complete records of its respective Collateral, including acquisitions and dispositions
    of Collateral, and shall submit the records to Lender upon request,

                     (c)    Condition of Collateral. Each Borrower and GH 41 shall maintain all of its
    Goods in good operating condition and repair, and make all necessary replacements and repairs
    so that the value and operating efficiency of such Borrower's or 'OR 41's Goods shall be
    preserved at all times, reasonable wear and tear excepted, Each Borrower and GR 41 shall keep
    all Collateral from being affixed to any real property that is not subject to a mortgage in favor of
    Lender.

        .    8,6    Inspection, Each Borrower and GR 41 shall permit Lender from time to time,
     subject (except when a default exists) to reasonable notice, to visit and inspect the Collateral and
     the other properties and operations of such Borrower or GR 41, inspect and audit such
     Borrower's or GH 41' s books and records, and discuss such Borrower's or GH 41' s business,
     assets, prospects, and results of operations with its officers, management-level employees,
   . agents, accountants, and 'advisors, Borrowers shall reimburse, or shall cause GH 41 to reimburse,
     Lender for all its reasonable charges, costs, and expenses incurred in connection with any of the
     foregoing.

             8,7    Accounts Audit. Not later than 150 days following the date of this Agreement,
     Borrowers shall permit, and if GH 41 has any accounts receivable at the time of audit shall cause
     GR 41 to permit, an accounts receivables audit, at Borrowers" expense, by a third party auditing
     firm selected by Lender in its reasonable discretion. Thereafter, Borrowers shall permit, and shall
   . cause GH 41 to permit, and reimburse Lender for, up to two such audits each calendar year,

              8.8     Insurance. Each Borrower and GH 41 shall maintain and keep in force the
      insurance policies reasonably required by Lender from time to time. The insurance policies 'of
      Borrowers and GH 41 shall contain an endorsement, in form and substance satisfactory to
      Lender, describing Lender as an additional insured or loss payee, as applicable, and providing
      that the insurance company shall give Lender 30 days prior written notice (10 days in the event
    . of cancellation for non-payment of premiums) before such policies are altered, canceled or
     .expired.

             8.9    Deposit Accounts. Each Borrower and GH 41 shall maintain all of its Deposit
   . Accounts with Lender. Notwithstanding the foregoing, each of GH and FHA may establish a
     single Deposit Account, respectively, with a fmancial institution acceptable to Lender in its
     reasonable discretion into which GH and FHA may deposit cash receipts, (i) which Deposit
     Accounts shall be and remain subject to Lender's control pursuant to a control agreement
     acceptable to Lender in its sole discretion, (ii) which funds deposited into such Deposit Accounts
     shall not exceed $50,000 in any day, and (iii) which funds deposited into such Deposit Accounts
     shall be swept daily into one or more Deposit Accounts maintained with Lender.

             8.10 Operating Reserve. Holdeo shall establish one or more operating reserves to fund
     Borrowers' ongoing operations (the "Operating Reserve"). The Operating Reserve shall be
     deemed fully funded at $10,000,000. Funds comprising the Operating Reserve shall not be
     considered in calculating the Borrowing Base.


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           8.11    Reporting Obligations.

                    '(a)   Quarterly Reports. Within 45 days after the close of each fiscal quarter of
    Borrowers and GH 41, Borrowers shall provide, and shall cause GH 41 to provide, to Lender an
    unaudited balance sheet of each Borrower and GH 41 and the related statements of income and
    shareholders' equity for such fiscal quarter, together with a certification by' the entity's
    responsible financial officer that such financial statements are complete and correct, present the
    financial conditions at the end of such period and the results of its operation during such period
    in accordance with GAAP, consistently applied, and certifying, in a form satisfactory to Lender,
    that the particular Borrower or GH 41 has not been and is not then in default as to any of the
    covenants contained in this Agreement or any of the Loan Documents and that there was no
    known Event of Default (or specifying those Events of Default of which he or she is aware).

                    (b)     Annual Reports. Within 120 days after the close of each fiscal year of each
    Borrower and GH 41, each Borrower shall provide, and shall cause GH 41 to provide, to Lender
    a balance sheet of such Borrower or GH 41 and the related statements of income and
    shareholders' equity for such fiscal year; provided, however, that such financial statements shall
    not be required for the fiscal year ending December 31, 2015. Such financial statements shall be
    reviewed by an independent accounting firm reasonably acceptable to Lender. For the avoidance
    of doubt, the fiscal year of each Borrower and GH 41 ends December 31 of each year.

                . (c)      Tax Returns. Within 10 days ofthe filing of each Borrower's and GH 41 's
    annual state (if any) or federal tax returns (which shall be not later than April 15 of each year,
    unless such Borrower or GH 41 provides to Lender copies of applicable state and federal forms
    extending the deadline for filing such returns), Borrowers shall provide, and shall cause GH 41
    to provide, to Lender ~ true and correct copy of such tax return.

                    (d)    Compliance Certificate. Concurrently with delivery of the financial
    statements required by Sections 8.1l(a) and ill, each Borrower shall deliver, and shall cause GH
    41 to deliver, to Lender a compliance certificate in the form of Exhibit G.

                     (e)   Notice of Litigation. Immediately following knowledge thereof, each
     Borrower shall deliver, and shall cause GH 41 to deliver, to Lender written notice of any
     litigation that is pending or threatened against a Borrower or GH 41 that, if adversely
   . determined, would have a Material Adverse Effect'.

                    (f)    Notice of Default. Immediately following knowledge of any default or
    Event of Default under any Loan Document, each Borrower shall deliver, and shall cause GH 41
    to deliver, to Lender written notice of the default or Event of Default together with a reasonably
    detailed description of the default or Event of Default.

                   (g)     Commercial Tort Claims. Immediately following knowledge of the
    existence of any Commercial Tort Claim (other than a Specified Commercial Tort Claim), each
    Borrower shall deliver to Lender written notice thereof together with a reasonably detailed
    description thereof in accordance with Section 6.4.




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                 (h)    Other Information. Promptly upon request, each Borrower shall provide,
   and shall cause GR 41 to provide, Lender with any other information or reports that Lender
   reasonably requests.                         '

           8.12 Option Agreement. GR shall comply with all terms and obligations set forth in the
   Option Agreement, provided that GH may elect not to exercise the option rights set forth therein.
   In the event that GR elects to exercise its option rights, GH shall deliver or cause to be delivered
   to Lender a deed of trust on the Adjacent Property as additional security for the GR Term
   Obligation and a policy of title insurance as required by Lender in its sole discretion with respect
   to the Adjacent Property, and shall comply with all other obligations required under the Option
   Agreement set forth therein.

             8.13 Appraisals. If deemed reasonably necessary by Lender, if required by law, or if
    otherwise required in connection with any provision of any of the Loan Documents, and in any
    event at least annually, Lender shall have the right to order an appraisal of the Peoria Property,
    and the Adjacent Property in the event Lender obtains a lien on the Adjacent Property pursuant
    to the terms of the Option Agreement, from time to time from an appraiser selected by Lender, at
    Borrowers' sole cost and expense, which appraisals shall comply with all federal and state
    standards for appraisals and otherwise shall be satisfactoryto Lender in all respects; provided,
    however, that so long as no Event of Default shall exist and be continuing, Borrowers shall not
    berequired to pay for more than one appraisal per calendar year.

            8.14 Certain Post-Closing Obligations. As promptly as practicable, and in any event
    within the time periods after the Closing Date specified in Schedule 8.14, the Borrowers shall
    deliver the documents or takethe actions specified on Schedule 8.14.

    Section 9.    Negative Covenants. Borrowers covenant and agree with Lender, so long as the
    Obligations remain outstanding, as follows:

            9.1    Existence of Liens. Neither a Borrower nor GR 41 shall create or permit to exist
    any lien, mortgage, security interest, or encumbrance on any of the assets of any Borrower or GR
    41, except for Permitted Liens.

           9.2    Restrictions on Debt. Neither a Borrower nor GR 41 shall create or permit to exist
    any Indebtedness of any Borrower or GH 41 that is not Permitted Indebtedness.

            9.3      Sale of Assets. Borrowers and GH 41 shall not, without Lender's prior written
    consent, sell, transfer, convey, or otherwise dispose of, whether pursuant to a single transaction
    or a series of transactions, any of their respective material assets, other than (a) the sale of
    inventory in the ordinary course of business, and (b) the disposition of worn or obsolete
    equipment in the ordinary course of business. Notwithstanding the foregoing, Lender hereby
    consents to any sale of the Adjacent Property pursuant to the terms of the Option Agreement.

             9.4    Purchase of Assets. Borrowers and GH 41 shall not, whether pursuant to a single
    transaction or a series of transactions: (a) purchase, lease, or otherwise acquire any material
    assets except (i) as provided in the Amended Joint Plan or (ii) as needed in the ordinary course of
    business not to exceed $200,000.00 in the aggregate per calendar for GH and $150,000.00 in the



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   aggregate per calendar year for FHA; nor (b) make any material capital expenditure except as
   may be required by applicable leases or the Amended Joint Plan.

            9.5     Changes in Structure. Borrowers and GH 41 shall not, without Lender's prior
   written consent:. (a) merge or consolidate with. any Person (or enter into any merger or
   consolidation agreement or plan), or permit any such merger or consolidation with it; (b) sell all
   or substantially all of their respective assets; (c) make any material change in the nature of or
   manner in which it conducts its business; (d) issue any Indebtedness convertible into any equity
   interest; (e) issue any equity interests or rights convertible into equity interests; or (f) agree to do
   any of the foregoing.

          9.6     Change of Name: Amendments to Organic Documents. Neither a Borrower nor
    GH 41 shall change its name or otherwise amend its certificate of formation or limited liability
    company agreement without Lender's prior written consent, not to be unreasonably withheld.

              9.7   Distributions. Borrowers and GR 41 shall not pay any dividends, or make any
    distributions or similar payments (except as provided for under the Amended Joint Plan, e.g.,
    Borrowers shall make the Tax Distributions required under the terms. of the Ainended Joint
    Plan), 'or incur or permit to exist any lien or restriction on any such payments (except for
    restrictions and liens arising under the Loan Documents or permitted under the Amended Joint
    Plan).                       .

            9.8    Loans and Investments. Neither a Borrower nor GH 41 shall make any loans to, or
    investments in, any Person, except for (a) advances to employees for travel expenses and similar
    items in the ordinary c0ll!,s.~Q~ business, and (b) extensions of trade credit in the ordinary course
    of business.

            9.9    Subsidiaries. Neither a Borrower nor GH 41 shall form or acquire any subsidiary,

            9.10 Collection of Accounts. Borrowers and GH 41 shall collect their respective
    Accounts in the ordinary course of business, and will not make any discount, credit, rebate or
    other reduction in the original amount owing except, prior to an Event of Default, for ordinary
    course reductions in accordance with existing policies.

            9.11 Expenses. Holdco shall allocate all shared expenses between GH and FHA on a
    pro rata basis based upon the net patient revenues of each of GH and FHA.

            9.12 Reserves. On the date hereof, Senior Management shall have established such
    Reserves as it deems reasonably necessary for operational expenses and capital expenditures of
    Borrowers. From time to time thereafter, Senior Management shall replenish or increase such
    Reserves as they in good faith deem reasonably necessary, and subject to the restrictions and
    requirements for funding of the Amended Joint Plan, including but not limited to, as necessary,
    the Effective Date Reserve and/or the Operating Reserve.

    Section 10.     Financial Covenants.

          10.1 Debt Service Coverage Ratio. Borrowers jointly will have and maintain a
    minimum Debt Service Coverage Ratio of 1.25: 1.0 using a trailing 3-month average.


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              10.2 Net Operating Margin. Holdco, on consolidated basis with its subsidiaries, shall,
    commencing on March 30, 2016, and calculated on a rolling 90-day (3 month) average, maintain
    at all times a Net Operating Margin of not less than 6.5%.

           10.3   FHA Financial Covenants.       FHA shall comply with the following financial
    covenants:

                   (a)    Tangible Net Worth. FHA shall maintain Tangible Net Worth of not -less
    than the amounts set forth below for the applicable period, which shall be tested annually based
    upon trailing 12-month operating and financial results for the applicable calendar years:


                                                          FHA Initial Tangible Net Worth
                        As of December 31, 2016
                                                                       $1,500,000
                                                          FHA Initial Tangible Net Worth
                        As of December 31, 2017
                                                                 plus $3,000,000
                                                          FHA Initial Tangible Net Worth
                        As Of December 31, 2018
                                                                       $4,500,000
                                                          FHA Initial Tangible Net Worth
                        As of December 31, 2019
                                                                       $6,000,000

                   (b) ,EBITDAR Coverage. FHA shall not permit (A) the total of its EBITDAR
    plus any GH subsidy of payments due by FHA to Lender to be less than 100% of its Fixed
    Charges at any time, and (B) its EBITDAR to be less than the percentages of its Lease Payments
    set forth below for the applicable period:                       '


                        As of December 31, 2016
                        As of December 31, 2017           125% of FHA's Lease
                        As of December 31,2018            150% of FHA's Lease
                        As of March 31,2019 and
                        June 30, September 30,
                        December 31, and March 31
                        thereafter

    This covenant shall be tested (A) annually for years ending December 31,2016, December 31,
    2017, and December 31, 2018, based on FHA's year-end, trailing 12-month operating and
    fmancial results for the applicable calendar years, and (B) quarterly beginning March 31, 2019,
    based on FHNs trailing 12-month operating and financial results for the applicable period.

                         (c)     Net Operating Margin. FHA shall, commencing on March 30,
    2016, and calculated on a rolling 180-day (6-month) average maintain at all times a Net
    Operating Margin of not less than 6.5%.



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           10.4    GH Financial Covenants.       OH shall comply with the following financial
    covenants:

                   (a)    Tangible Net Worth. OH shall maintain Tangible Net Worth of not less
    than the amounts set forth below for the applicable period, which shall be tested annually based
    upon trailing 12:"monthoperating and financial results for the applicable calendar years:


                                                            Initial Tangible Net Worth
                        As of December 31, 2016
                                                                     $1,500,000
                                                            Initial Tangible Net Worth
                        As of December 31, 2017
                                                                     $3,000,000
                                                         GH Initial Tangible Net Worth.
                         As of December 31, 2018
                                                                     $4,500,000
                                                            Initial Tangible Net Worth.
                        As of December 31, 2019
                                                                     $6,000,000 '

                    (b)     EBITDAR Coverage. OH shall not permit (A) the total of its EBITDAR
    less any OR subsidy of payments due by FHA to Lender to be less than 125% of its Fixed
    Charges at any time, and (B) its EBITDAR to be less than 150% of its Lease Payments at any
    time. This covenant shall be, tested based on GH's trailing 12-month operating and financial
    results for the applicable period and measured on a quarterly. basis beginning the quarter ending
    March 31, 2016.

                    (c)    Net Operating Margin. GH shall, commencing on June 30, 2016, and
    calculated ona rolling l80-day (6-month) average, maintain at all times a Net Operating Margin
    of not less than 6.5%.
    Section 11.'   Events of Default.

          11.1 OH Event of Default. The occurrence of any of the following shall constitute a
    "GH Event of Default":

                    (a)    Non-Payment of Loans. The failure ofGH or Holdeo to pay any principal,
    interest, or other Obligation owing by OR or Holdco under any of the Loan Documents when
    due and payable, and, unless occurring at maturity, such failure continues for 10 days after the
    due date thereof.

                    (b)     Breach of Covenant. A default by GR or Holdco in any of the covenants
    set forth in Sections 8,,2., or 10 of this Agreement or a default by OR, Holdco, or OR 41 of any
    of their respective covenants or agreements in the Loan Documents that remains uncured for 3
    days after receipt of notice thereof from Lender.
                                                                                                       °
                    (c)     Event of Default Under Loan Documents or Plan. The occurrence of an
     event of default or breach of any of GH' s, Holdco' s, or GH 41' s obligations under the Amended
     Joint Plan.


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                    (d)    Breach of Representation or Warranty. Any representation, statement,
    certificate, schedule, or report made or furnished to Lender by or on behalf of GH, Holdco, or
    GR 41 in, or in connection with, the Loan Documents being false when made or deemed made.

                 (e)      Change in Control. The occurrence of any Change in Control of GH,
    Holdco, or GH 41.

                  (f)     Destruction of Collateral. A loss, theft, damage, or destruction occurs with
   -respect to any Collateral owned by GR, Holdco, or GH 41, and the amount not covered by
    insurance exceeds $100,000.

                    (g)    Insolvency. (a) GH, Holdco, or GH 41. ceases to be Solvent, (b) GH,
    Holdco, or GR 41 admits in writing its inability to pay its debts as they mature, (c) GH, Holdco,
    or GH 41 makes an assignment for the benefit of creditors, or (d) bankruptcy proceedings or
    other proceedings for relief under any bankruptcy law or any law for the relief of debtors are
    instituted by or against GH (other than the GH Bankruptcy), Holdco, or GH 41 and, if instituted
    against any such entity, the same is not dismissed within 30 days of the filing thereof.

                   (h)     Dissolution. Any order, judgment, or decree is entered against GH,
    Holdco; or GH 41 decreeing its involuntary dissolution or split up and such order shall remain
    undischarged and unstayed for a period in excess of 30, days, or GH, Holdco, or GH 41 shall
    otherwise dissolve or cease to exist.

                    (i)     Levy Judgment. An attachment or garnishment 'writ, or the like, is levied
    against all or any portion of the assets of GH, Holdco, or GH 41 or a judgment for the payment
    of money is rendered against GH, Holdco, or GR 41 and within 30 days from the entry of
    judgment has not been discharged, satisfied, or released, or stayed pending appeal or, if any such
    judgment is affirmed on appeal, has not been discharged, satisfied, or released within 30, days
    from the entry of the final order of affirmance on appeal.

                   G)   Other Debts. A default or event of default occurs in any Indebtedness of
    GH, Holdco, or GH 41 in excess of $10,000.

                 (k)    Material Adverse Effect. A Material Adverse Effect occurs with respect to
    GH, Holdco, or GH 41.

                   (1)    Failure of Perfection. The security interests granted to Lender by GH,
    Holdco, or GH 41 fail or cease to create a valid and perfected and, except to the extent otherwise
    permitted by this Agreement, first priority lien in favor of Lender either (i) due to action or '
    inaction of GH, Holdco, or GH 41 or (ii) GR, Holdco, or GH 41 fails or refuses to take all
    necessary action to remedy the situation.

          11.2 FHA Event of Default. The occurrence of any of the following shall constitute an
    "FHA Event of Default":

                    (a)    Non-Pavrnent of Loans. The failure of FHA or Holdco to pay any
    principal, interest, or other Obligation owing by FHA or Holdco under any of the Loan



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    Documents when due and payable, and, unless occurring at maturity, such failure continues for
   , 10 days after the due date thereof. '

                     (b)    Breach of Covenant. A default by FHA or Holdco in any of the covenants
    set forth in Sections 8,2, or 10 of this Agreement or a default by FHA, Holdco, or GH 41 of any
    of their respective covenants or agreements in the Loan Documents that remains uncured for 30
    days after receipt of notice thereof from Lender.

                  (c)    Event of Default Under Loan Documents or Plan. The occurrence of ail.
    event of default or breach of any of FHA's, Holdco's, or OH 4Ps obligations under the
    Amended Joint Plan.

                    (d)     Breach of Representation or Warranty. Any representation, statement,
    certificate, schedule, or report made or furnished to Lender by or on behalf of FHA, Holdco, or
    GH 41 in the Loan Documents being false when made or deemed made.                       '

                 (e)       Change in Control. The occurrence of any Change in Control of FHA,
    Holdco, or OH 41.

                 ,(f)      Destruction of Collateral. A loss, theft, damage, or destruction occurs with
    respect to any Collateral owned by FHA, Holdco, or GH 41, and the amount not covered by
    insurance exceeds $100,000.

                    (g)     Insolvency. (a) FHA, Holdco, or GH 41 ceases to be Solvent, (b) FHA,
    Holdco, or GH 41 admits in writing its inability to pay its debts as they mature, (c) FHA, HoIdco,
    or OH 41 makes an assignment for the benefit of creditors, or (d) bankruptcy proceedings or
    other proceedings for relief under any bankruptcy law or any law for the relief of debtors are
    instituted by or against FHA (other than the FHA Bankruptcy), Holdco, or OH 41 and, if
    instituted against any such entity,the same is not dismissed within 30 days of the filing thereof.

                   (h)     Dissolution. 'Any order, judgment, or decree is entered against FHA,
    Holdco, or GH 41 decreeing its involuntary dissolution or split up and such order shall remain
    undischarged and unstayed for a period in excess of 30 days, or FHA, Holdco, or GH 41 shall
    otherwise dissolve or cease to exist.

                    (i)     Leyy Judgment. An attachment or garnishment writ, or the like, is levied
    against all or any portion of the assets of FHA~Holdco, or GH 41 or a judgment for the payment.
    of money is rendered against FHA, Holdco, or GH 41 and within 30 days from the entry of
    judgment has not been discharged, satisfied, or released, or stayed pending appeal or, if any such
    judgment is affirmed on appeal, has not been discharged, satisfied, or released within 30 days
    from the entry of the final order of affirmance on appeal.

                  G)    Other Debts. A default or event of default occurs in any Indebtedness of
    FHA,' Holdeo, or OH41 in excess of$10,000.

       ,         (k)    Material Adverse Effect. A Material Adverse Effect occurs with respect to .
    FHA, Holdeo, or GH 41.



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                  (1)    Failure of Perfection. The security interests granted to Lender by FHA,
   HoIdco, or GH 41 fail or cease to create a valid and perfected and, except to the extent otherwise
   permitted by this Agreement, first priority lien in favor of Lender either (i) due to action or
   inaction of FHA, Holdco, or GH 41 or (ii) FHA, Holdco, or GH 41 fails' or refuses to take all
   necessary action to remedy the situation.

             11.3 Revolver Event of Default. The occurrence of any of the following shall
    constitute a "Revolver Event of Default":

                    (a)    Non-Payment of Revolver. The failure of Borrowers to pay any principal,
   interest, or other Obligation owing under any of the Loan Documents with respect to the
   Revolver when due and payable, and, unless occurring at maturity, such failure continues for 10
   .days after the due date thereof.

                   (b)      Failure of Perfection. The security interests granted to Lender by
    Borrowers as security for the Revolver fail or cease to create a valid and perfected and, except to
    the extent otherwise permitted by this Agreement, first priority Hen in favor of Lender either (i)
    due to action or inaction of Borrowers or (ii) Borrowers fail or refuse to take all 'necessary action
    to remedy the situation.

                    (c)    Insolvency. (a) a Borrower or GH 41 ceases to be Solvent, (b) a Borrower
    or GR 41 admits in writing its inability to pay its debts as they mature, (c) a Borrower or GH 41
    makes an assignment for the benefit of creditors, or (d) bankruptcy proceedings or other
    proceedings for relief under any bankruptcy law or any law for the relief of debtors are instituted
    by or against a Borrower (other than the GH Bankruptcy or the FHA Bankruptcy) or GH 41 and,
    if instituted against any such entity, the same is not dismissed within 30 days of the filing
    thereof.

    SectionLz.      Remedies.

            12.1 Remedies for GH Event of 'Default. If a GR Event of Default shall occur, then
    during the continuance thereof:

                    (a)     All GH Obligations and all Obligations under the Revolver,
    notwithstanding any term of this Agreement or the other Loan Documents to the contrary, shall
    at Lender's option (which shall be deemed to have been exercised immediately upon the
    occurrence of a GH Event of Default pursuant to Section l1.lCg)) and without advance notice
    become immediately due and payable" without presentment, demand, protest, or notice of
    dishonor, all of which are hereby expressly waived by Borrowers. Lender shall give Borrowers
    notice of the exercise of its option to accelerate after the fact, but failure to give such notice shall
    not affect an acceleration.

                    (b)    Lender shall have all rights, powers, and remedies available under the
    Amended Joint Plan or any of the Loan Documents or accorded by law with respect to the GR
    Obligations and/or the Obligations under the' Revolver, including, without limitation, the right to
    resort to any or all security for the GH Obligations and/or the Obligations under the Revolver,
    and to exercise any or all of the rights of a beneficiary or secured party pursuant to applicable
    law.          '


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                   (c)    Lender may require any Borrower and/or GH 41 to assemble Collateral
   'securing the GH Obligations and the Obligations under the Revolver owned by or in the control
    of such party at such party's expense, and make it available to Lender at a place designated by
   -Lender,

                 (d)     Lender may enter any premises where Collateral securing the GH
   Obligations and/or the Obligations under the Revolver is located and, without charge by any
   Borrower or GH 41, store such Collateral on such premises until sold (which sale may be
   conducted on such premises).

                    (e)     Borrowers agree that 10 calendar days' notice of any proposed sale or
    other disposition of Collateral securing the GH Obligations and/or the Obligations under the
    Revolver by Lender shall be reasonable. Lender shall have the right to sell, lease, or otherwise
   ,dispose of any Collateral securing the GH Obligations and/or the Obligations under the Revolver
    for cash, credit, or any Combination thereof, and Lender may purchase any such Collateral at
    public or, if permitted by law, private sale and, in lieu of actual payment of the purchase price,
    may set off the' amount of such price against the GH Obligations and/or the Obligations under the
    Revolver. All rights, powers, and remedies of Lender in connection with the GH Obligations
    and/or the Obligations under the Revolver may be exercised at any time by Lender and from time
    to time after the occurrence of a GH Event of Default, are cumulative and not exclusive, and
    shall be in addition to any other rights, powers, or remedies provided by law or equity.      .

            12.2 Remedies for FHA Event of Default-If an FHA Event of Default shall occur, then
    during the continuance thereof:

                    (a)     All FHA Obligations, all. Obligations under the GH Guaranty subject to
    the provisions of Section 2.6, and all Obligations under the Revolver, notwithstanding any term
    of this Agreement or the other Loan Documents to the contrary, shall at Lender's option (which
    shall be deemed to have been exercised immediately upon the occurrence of an FHA Event of
    Default pursuant to Section 11.2(g)) and without advance notice become immediately due and
    payable, without presentment, demand, protest, or notice of dishonor, all of which are hereby
    expressly waived by Borrowers. Lender shall give Borrowers notice of the exercise of its option
    to accelerate after the fact, but failure to give such notice shall not affect an acceleration.

                   (b)      Lender shall have all rights, powers, and remedies available under the
    Amended Joint Plan or any of the Loan Documents or accorded by law with respect to the FHA
    Obligations, all Obligations under the GH Guaranty, and/or the Obligations under the Revolver,
    including, without limitation, the right to resort to any or all security for the FHA Obligations,
    the Obligations under the GH Guaranty, and/or the Obligations under the Revolver, and to
    exercise any or all of the rights of a beneficiary or. secured party pursuant to applicable law.

                   (c)     Lender may require any Borrower and/or GH 41 to assemble Collateral
    securing the FHA Obligations, the Obligations under the GH Guaranty, andlor the Obligations
    under the Revolver owned by or in the control of such party at such party's expense, and make it
    available to Lender at a place designated by Lender.                       .




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                    (d)    Lender may enter any premises where Collateral securing the FHA
    Obligations, the Obligations under the GH Guaranty; and/or the Obligations under the Revolver
    is located and, without charge by any Borrower or GH 41, store such Collateral on such premises
    until sold (which sale may be conducted on such premises).

                     (e)      Borrowers agree that 10 calendar days' notice of any proposed sale or .
   . other disposition of Collateral securing the FHA Obligations, the Obligations under the GH
     Guaranty, and/or the Obligations under the Revolver by Lender shall be reasonable. Lender shall
     have the right to sell, lease, or otherwise dispose of any Collateral securing the FHA Obligations,
   . the Obligations under the GH Guaranty, and/or the Obligations under the Revolver for cash,
     credit, or any combination thereof, and Lender may purchase any such Collateral at public or, if
     permitted by law, private sale and, in lieu of actual payment of the purchase price, may set off
     the amount of such price against the FHA Obligations, the Obligations under the GH Guaranty,
     and/or the Obligations under the Revolver. All rights, powers, and remedies of Lender in
     connection with the FHA Obligations, the Obligations under the GH Guaranty, and/or the
     Obligations under the Revolver may be exercised at any ·time by Lender and from time to time
     after the occurrence of an FHA Event of Default, are cumulative and not exclusive, and shall be
     in addition to any other rights, powers, or remedies provided by law or equity.

            12.3 Remedies for Revolver Event of Default. If a Revolver Event of Default shall
    occur, then during the continuance thereof:

             (a)     All Obligations, notwithstanding any term of this Agreement or the other Loan
     Documents to the contrary, shall at Lender's option (which shall be deemed to have been
     exercised immediately upon the occurrence of a Revolver Event of Default pursuant to Section
   . 11.3(c) and without advance notice become immediately due and payable, without presentment,
     demand, protest, or notice of dishonor, all of which are hereby expressly waived by Borrowers.
     Lender shall give Borrowers notice of the exercise of its option to accelerate after the fact, but
     failure to give such notice shall not affect an acceleration.

            (b)      Lender shall have all rights, powers, and' remedies available under the Amended
    Joint Plan or any of the Loan Documents or accorded by law, including, without limitation, the
    right to resort to any or all security for the Obligations and to exercise any or all of the rights of a
    beneficiary or secured party pursuant to applicable law.

            (c),   Lender-may require a Borrower or GH 41 to assemble Collateral owned by or in
    the control of such Borrower or GH 41 at such Borrower's or GH 41 's expense, and make it
    available to Lender at a place designated by Lender.

            (d)    Lender may enter any premises where Collateral is located and, without charge by
     a Borrower or GH 41, store Collateral on such premises until sold (which sale may be conducted
     on such premises).

              (e)   Borrowers agree that 10 calendar days' notice of any proposed sale or other
     disposttion of Collateral by Lender shall be reasonable. Lender shall have the right to sell, lease,
     or otherwise dispose of any Collateral for cash, credit, or any combination thereof, and Lender
     may purchase any Collateral at public or, if permitted by law, private sale and, in lieu of actual


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   payment of the purchase price, may set off the amount of such price against the Obligations. All
   rights, powers, and remedies of Lender in connection with the Obligations may be exercised at
   any time by Lender and from time to time after the occurrence of a Revolver Event of Default,
   are cumulative and not exclusive, and shall be in addition to any other rights, powers, or
   remedies provided by law or equity.

   Section 13. License. Upon the occurrence of an Event of Default, Borrowers hereby
   irrevocably constitute and appoint Lender, and any officer or agent of Lender, with full power of
   substitution, as such Borrowers' true and lawful attorney-in-fact with full irrevocable power and
   authority in the place and stead of such Borrower or in Lender's own name, for the purpose of
   carrying out the terms of this Agreement, to take any and all appropriate action and to execute
   any and all documents and instruments that may be necessary or useful to accomplish the
   purposes of this Agreement and the other Loan Documents, and, without limiting the generality
   of the foregoing, hereby gives such attorneys the power and right, on behalf of such Borrower,
   without notice to or assent by such Borrower, to do the following: (a) to indorse and collect any
   cash proceeds of the Collateral; (b) to apply the proceeds of any Collateral received by Lender to
   the Obligations; and (c) to discharge past due taxes, assessments, charges, fees, or liens on the
   Collateral. The particular Borrower shall reimburse Lender on demand for any payment made or
    any expense incurred by Lender in connection therewith, provided that this authorization shall
   not relieve any Borrower of any of its obligations under any of the Loan Documents.

    Section 14.   Miscellaneous.

            14.1 Failure or Indulgence Not Waiver. No failure or delay on the part of Lender in the
    exercise of any power, right, or privilege hereunder shall operate as a waiver thereof, nor shall
    any single or partial exercise thereof or of any other right, power, or privilege. All rights and
    remedies existing under this Agreement and the other Loan Documents are cumulative, and not
    exclusive of any rights or remedies otherwise available.

            14.2 Modification. No modification, amendment, or waiver of any provision of this
    Agreement or the other Loan Documents, nor the consent to any departure by a Borrower or GH
    41 therefrom, shall be effective unless in writing signed by Lender and Borrowers. No notice to
    or demand on a Borrower in any case shall entitle such Borrower to any other or further notice or
    demand in the same, similar, or other circumstances.

             14.3 USA PATRIOT Act. Lender hereby notifies Borrowers that pursuant to the
     requirements of the USA PATRIOT Act, Lender may be required to obtain, verify, and record
     information that identifies a Borrower, including the name and address of such Borrower and
     other information that will' allow Lender to identify Borrowers in accordance with the USA
   . PATRIOT Act.

            14.4 Indemnification. Borrowers shall indemnify Lender and all of its officers,
    employees, directors, attorneys, agents, affiliates, successors, and assigns (each, an
    "Indemnitee") against, and hold each Indemnitee harmless from, any and all losses, claims,
    damages, liabilities, and related expenses (including the fees, charges, and disbursements of any
    counsel for any Indemnitee), incurred by any Indemnitee or asserted against any Indemnitee by
    any third party or by a Borrower or GH 41 arising out of, in connection with, or as a result of (a)


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   the execution or delivery of this Agreement, any other Loan Document, or any agreement or
   instrument contemplated hereby or thereby, the performance by the parties hereto of their
   respective obligations hereunder or thereunder, or the consummation of the transactions
   contemplated hereby or thereby, (b) any Loan or the use or proposed use of the proceeds
   therefrom, (c) any actual or alleged presence or release of hazardous materials on or from any
   property owned or operated by a Borrower, GH 41, or any subsidiaries, or any environmental
   liability related in any way to a Borrower, GR 41,         or
                                                             any subsidiaries, or (d) any actual or
   prospective claims, litigation, investigation, or proceeding relating to any of the foregoing,
   whether based on contract, tort,. or any other theory, whether brought by a third party or by a
   Borrower or GR 41, and regardless of whether any Indemnitee is party thereto. Except that, this
   indemnity does not apply to the extent that the loss or liability was occasioned by the gross
   negligence or willful misconduct of Indemnitee.

            14.5 Notices. Except as otherwise expressly provided herein, any notice herein
    required or permitted to be given shall be in writing and shall be deemed effective when
    delivered personally, by certified mail, return receipt requested, or by FedEx or other national
    overnight courier to the appropriate party at the address set forth below (or at such other address
    as may be designated by either party in a written notice sent in accordance with this section):

    If to OR:              Gilbert Hospital, LLC
                           5656 S. Power Rd., Suite 133
                           Gilbert, AZ 85295
                           Attn: Dennis Rutherford, CFO

    If to FHA:             Florence Hospital at Anthem, LLC
                           4545 N. Hunt Hwy
                           Florence, AZ 85232
                           Attn: Dennis Rutherford, CFO

    If to Holdco:          New Vision Health, LLC
                           5656 S. Power Rd., Suite 133
                           Gilbert, AZ 85295
                           Attn: Dennis Rutherford, CFO

    If to Lender:          BankSNB
                           6301 Waterford Boulevard, Suite 101
                           Oklahoma City, OK 73118
                           Attn: General Counsel

    With additional copies to the same street address, but:

                           Attn: Chief Credit Officer
                           and
                           Attn: Director of Managed Assets

          14.6 Severability. In case any provision in this Agreement or the other' Loan
    Documents shall be invalid, illegal, or unenforceable, such provision shall be severable from the



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    remainder of such contract and the validity, legality, and enforceability of the remaining'
    provisions shall not in any way be affected or impaired thereby.

             14.7 Construction: The rule of construction that a document is to be construed most
    strictly against the party who drafted the document shall not be applicable because all parties
    participated in the preparation of this Agreement and the other Loan Documents. "Includes" and
    "including" are not limiting. References to exhibits shall be to exhibits to this Agreement.

            14.8 Dates for Payment and Performance. If payment or performance of any
    Obligation under the Loan Documents is required on a day that is not a Business Day, the
    payment or performance of the Obligation shall be due on the next succeeding Business Day.

            14.9 Applicable Law. The laws of the State of Oklahoma shall govern this Agreement
    and the other Loan Documents, and the legal relations between the parties arising therefrom
    without giving effect to any conflict of law provision (whether of the State of Oklahoma or any
    other jurisdiction) that would cause the application of the law of any other jurisdiction.

           14.10 Assignabilitv. No Borrower may assign its rights or obligations under this
    Agreement or the other Loan Documents to any other Person without the prior written consent of
    Lender, and any attempted assignment in violation hereof shall be null and void ab initio.

             14.11 Participations. Lender is authorized to assign or sell all or any portion of the
    Loans and to sell participation interests in the Loans, and Borrowers agree that each holder of a
    participation interest or subsequent holder of the Loans will be entitled to rely on the terms of the
    Loan Documents. Borrowers authorize Lender to disclose all financial and other information
    about Borrowers in connection with the sale of the Loans or of participation interests in the
    Loans. Borrowers ratify any' such actions taken prior to the date of this Agreement.

            14.12 Counterparts. This Agreement may be executed in one or more counterparts, each
    of which will be deemed to be an original copy of this Agreement and all of which, when taken
    together, will be deemed to constitute one and the same agreement. The exchange of copies of
    this Agreement and of signature pages by facsimile, e-mail, .pdf, or other electronic transmission
    shall constitute effective execution and delivery of this Agreement and may be used in lieu of the
    original Agreement for all purposes.

            14.13 Further Assurances. At any time or from time to time upon the request of Lender,
    each Borrower shall, and shall take affirmative steps to cause GH 41 and other third parties to, .
    execute and deliver such further documents and do such other acts and things as Lender may
    reasonably request in order to effect fully the purposes of this Agreement, the Amended Joint
    Plan, the Confirmation Order, and the other Loan Documents and to provide for the payment of
    the Obligations in accordance with the terms of this Agreement and the other Loan Documents.

            14.14 Costs and Expenses. Borrowers shall pay all reasonable out-of-pocket fees and
    expenses incurred by Lender and its affiliates (including legal fees) after the EffectiveDate in
    connection with the administration and enforcement of the Loan Documents or the protection of
    Lender's rights under the Loan Documents, including all out-of-pocket expenses incurred during
    any workout, restructuring, or negotiations in respect of the Loans or the Loan Documents.



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            14.15 Usury. It is the intention of Borrowers and Lender to comply with applicable
   usury laws. Therefore, notwithstanding any provisions to the contrary in this Agreement or in
   any other Loan Document, neither this Agreement nor any other Loan Document shall require
   the payment or permit the collection of interest in excess of the maximum amount permitted by
   law ..If compliance with this Agreement or any other Loan Document would result in a violation
   of any applicable usury law, the amount of the payment obligation imposed by this Agreement or
   any other Loan Document shall be reduced to the maximum amount permitted by law. If Lender
   receives any payment of interest, or receives any payment or transfer that is deemed to be
   interest by applicable law, in an amount that exceeds applicable law, the amount in excess of the
   limit imposed by law shall be applied to reduce the principal amount owing under this
   Agreement or the other Loan Documents. If the amount received in excess of the limit imposed
   by law exceeds the unpaid principal balance due to Lender under this Agreement or the other
   Loan Documents, the excess amount shall be refunded without interest to Borrowers.

              14.16 Integration. This Agreement, the other Loan Documents, the Amended Joint Plan,
     and the Confirmation Order reflect the entire understanding of the parties with respect to the
   . transactions contemplated hereby and shall not be contradicted or qualified by any other
     agreement, oral or written, whether before or after the date hereof, except in a writing executed
     by the parties hereto and referring specifically to this Agreement. From time to time prior to the
     payment in full of the Obligations, Borrowers and Lender may conduct discussions and
     negotiations with respect to the Loans and the Loan Documents. Borrowers agree that no part of
     such discussions or negotiations should be understood as an offer to contract or to alter the terms
     of the Loans or the Loan Documents prior to the execution of a de.finitive written agreement.
     Prior to the execution of a definitive written agreement, no Borrower shall act in reliance on any
     statement of Lender or its officers. No single officer of Lender is authorized to approve any
      change to the terms of the Loans or the Loan Documents without prior approval in accordance
      with Lender's policies and procedures.

             14.17 Time. Time is of the essence of this Agreement, the Loan Documents, and the
    Loans.

         14.18 NOTICE OF FINAL AGREEMENT. THIS WRITIEN AGREEMENT AND
    THE OTHER LOAN DOCUMENTS REPRESENT THE FINAL AGREEMENT BETWEEN
    THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR,
    CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.
    THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

          14.19 VENUE. ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO
    THIS AGREEMENT MAY BE BROUGHT IN THE DISTRICT COURT OF OKLAHOMA
    COUNTY, OKLAHOMA, OR IN THE UNITED STATES DISTRICT COURT FOR THE
    WESTERN DISTRICT OF OKLAHOMA. BY EXECUTION AND DELIVERY OF THIS
    AGREEMENT, EACH PARTY IRREVOCABLY ACCEPTS THE JURISDICTION OF SUCH
    COURTS. THIS AGREEMENT SHALL NOT AFFECT THE RIGHT OF LENDER TO
    COMMENCE LEGAL PROCEEDINGS OR OTHERWISE PROCEED AGAINST ANY
    BORROWER IN ANY OTHER JURISDICTION ALLOWED BY LAW. EACH PARTY
    IRREVOCABL Y WANES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY
    OBJECTION [fHAT IT MAY NOW OR HEREAFTER HAVB TO THE JURISDICTION OR,


                                                     40

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    LA YINO OF VENUE OF ANY SUCH LITIGATION BROUGHT IN ANY SUCH COURT
    REFERRED TO ABOVE ANp ANY CLAIM THAT ANY SUCH LITIGATION HA.S BEEN
    BROUGHT IN AN INCONVENIENT FORUM.

         14.20 WAIVER OF JURY TRIAL. EACH BORROWER AND LENDER
    VOLUNTARILY, KNOWINGLY, IRREVOCABLY, AND UNCONDITIONALLY WAIVE
    ANY RIGHT TO HAVE A JURY PARTICIPATE IN RESOLVING ANY DISPUTE
    (WHETHER BASED ON CONTRACT, TORT, OR OTHERWISE) BETWEEN A
    BORROWER AND LENDER ARISING OUT OF OR, IN ANY WAY ~LATED TO THIS
    AGREEMENT, THE LOAN DOCUMENTS, OR THE LOANS. THIS PROVISION IS A
    MATERIAL INDUCEMENT TO LENDER TO ENTER INTO THlS AGREEMENT.

            14.21 Reaffirmation. GH and FHA each hereby reaffirms all terms, conditions, and
    covenants set forth therein except as modified by this Agreement, reaffirms all of its obligations
    under the Loan Documents and the Loans except as modified by this Agreement, and agrees that
    the Loan Documents and all of each such party's payment and performance Obligations
    thereunder remain in full force and effect except as modified by this Agreement.

                    [Remainder of page intentionally left blank. Signature pages follow.]




                                                      41 .

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                                                                        EXECUTION COpy

           EXECUTED as of the date first written above.
     GR
     GILBERT HOSPITAL, LLC, an Arizona
     limited liability




     FHA




     HOLD CO

     NEW VISION HEALTH, LLC, an Arizona
     limited liabili




                Signature Page to Amended and Restated Loan and Security Agreement



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     LENDER
     BANK SNB, an Oklahoma state banking

     oo~
     By:                  c..-------
     Nam~\ltom-V-O~
     Title:~"'tC;Ed            ~'S.bE.~\"




               . Signature Page to Amended and Restated Loan and Security Agreement



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                                 SCHEDULE 6.4
                     SPECIFIED COMMERCIAL TORT CLAIMS
     None.




                                 SCHEDULE 6.4


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                                            SCHEDULE 7.11

                                    LOCATIONS OF COLLATERAL
     Gilbert Hospital:
     5656 S. Power Road
     Gilbert, AZ 85295

     Gilbert Hospital Business Office:
     5656 S. Power Road, Suite 133
     Gilbert, AZ 85295 .

    Florence Hospital at Anthem:
    4545 N. Hunt Highway
    Florence, AZ 85132

    Server Location:
    Higley Unified School District No. 60
    Computer Server Room, 1st Floor
    2935 S. Recker Road          .
    Gilbert, AZ 85295




                                            SCHEDULE 7.11


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                                          SCHEDULE 8.14

                            CERTAIN POST-CLOSING OBLIGATIONS

    1.      By no later than 60 days after the Closing Date, deliver to Lender Deposit Account
    Security Agreements and control agreements, in form and substance acceptable to Lender in its
    sole discretion, properly executed by OH and/or FHA and each financial institution (other than
    Lender) at which GHandior FHA maintains Deposit Accounts as permitted by Section 8.9.

    2.       By no -Iater than 10 days after the Closing Date, Lender shall have received the
    certificates of insurance evidencing compliance with Section 8.8.




                                           SCHEDULE 8.14

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                                             EXHIBIT A

                                      GH LOAN DOCUMENTS

            The GH Loan Documents include, without limitation:

    1.      That certain Promissory Note (Land) in the original principal amount of $7,328,924.00,
            dated effective November 8, 2007, and made by GH in favor of Lender, as amended from
            time to time.

    2.      That certain Promissory Note ('INorking Capital) in the original principal amount of
            $5,000,000.00, dated effective November 8, 2007, and made by GH in favor of Lender,
            as amended from time to time.                 -

    3.      That certain Promissory Note (Equipment) in the original principal amount of
            $8,040,000.00, dated effective November 8, 2007, and made by GH in favor of Lender,
            as amended from time to time.

    4.      That certain Security Agreement (Accounts) dated effective November 8, 2007 made by
            GH in favor of Lender, as amended from time to time.

    5.     - That-certain Security Agreement (Equipment and Accounts Receivable) dated effective
             November 8, 2007 made by GH in favor of Lender, as amended from time to time.

    6.      That certain UCC-l Financing Statement naming GH as debtor and Lender as secured
            party, filed with the Arizona Secretary of State on November 9, 2007 at Filing No.
            200715109223, as thereafter amended and continued from time to time.

    7.      That certain UCC-1 Financing Statement naming GH as debtor and Lender as secured
            party, filed with the Arizona Secretary of State on November 9, 2007 at Filing No.
            200715109267, as thereafter amended and continued from time to time.

    8.      That certain UCC-l Financing Statement naming GH as debtor and Lender as secured
            party, filed with the Arizona Secretary of State on November 9, 2007 at Filing No.
            200715109256, as thereafter amended and continued from time to time.

    9.      That certain Lockbox Agreement dated effective dated effective November 8, 2007
            between GH and Lender, as amended from time to time.

     10.     That certain Account Sweep Agreement dated effective November 8, 2007 between GH
             and Lender, as amended from time to time.

     11.     All guaranties executed and delivered in connection with the FHA Loan, as amended
             from time to time.

     12.     All other documents executed or delivered in connection with the GH Loan, as amended
             from time to time.



                                              EXHIBIT A

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                                              EXHIBITB

                                      FHA LOAN DOCUMENTS

            The FHA Loan Documents include, without limitation:

    1.      That certain Promissory Note (Equipment) in the original principal amount of
            $6,748,206.00, dated effective March 5·,2012, and made by FHA in favor of Lender, as
            amended from time to time.

    2.      That certain Promissory Note (Working Capital) in the original principal amount of
            $5,000,000.00, dated effective March 5, 2012, and made by FHA in favor of Lender, as
            amended from time to time.

    3.       That certain Letter of Credit Demand Promissory Note in the original principal amount of
             $1,200,000.00, dated effective March 5, 2012, and made by FHA in favor of Lender, as
           . amended from time to time.

    4.      That certain Security Agreement dated effective March 5, 2012 between FHA and
            Lender, as amended from time to time.

    5.'     That certain Security Agreement (Accounts) dated effective March 5,2012 between FHA
            and Lender, as amended from time to time.                                 .

    6.      That certain Security Agreement (Cash Collateral Account) dated effective March S,
            2012 between FHA and Lender, as amended from time to time.

    7.      That certain Security Agreement (Restricted Account) dated effective March 5, 2012
            between FHA and Lender, as amended from time to time.

    8.      That certain UCC-l Financing Statement naming FHA as debtor and Lender as secured
            party, filed with the Arizona Secretary of State on February 27, 2012 at Filing No.
            201216832153, as thereafter amended and continued from time to time.

    9.       That certain UCC-l Financing Statement naming FHA as debtor and Lender as secured
             party, filed with the Arizona Secretary of State on February 27, 2012 at Filing No ..
             201216832266, as thereafter amended and continued from time to time.

    10.      That certain UCC-1 Financing Statement naming FHA as debtor and Lender as secured
             party, filed with the Arizona Secretary of State on February 27, 2012 at Filing No.
             201216832164, as thereafter amended and continued from time to time.

     11.     That certain UCC-l Financing Statement naming FHA as debtor and Lender as secured
             party, filed with the Arizona Secretary of State on February 27, 2012 at Filing No.
             201216832142, as thereafter amended and continued from time to time.

     12.     That certain Guaranty Agreement dated effective March 5,2012 made by GH In-favor of
             Lender, as amended from time to time.


                                                EXHIBITB

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     13.   That certain Lockbox Agreement dated effective March 5, 2012 between FHA and
           Lender, as amended from time to time.

     14.   That certain Account Sweep Agreement dated as of March 5, 2012 between FHA and
           Lender, as amended from time to time.

     15.   All guaranties executed and delivered in connection with the FHA Loan, as amended
           from time to time.

     16.   All other documents executed or delivered in connection with the FHA Loan, as amended
           from time to time.




                                            EXHIBITB


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                          BORROWING BASE CERTIFICATE

                                   (Attached)




                                   EXHIBITC


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                                                          Bank SNB Borrowing Base Certificate/ Compliance Statement
        This Borrowing Base Certificeles        Is deriVered under the terms and In compliance with the LOAN AGREEMENT                       by and between BANK SNB and
      ________________                                               therein named under Nole No,                                             _


      Gilbert Hospital Borrowing        Base

      Description
      GH Net Eligible
      Total
                        NR    (1)



      Advance rate (60% discount)
      Tolal GH Eligible A/R per Advance Rate


                             TOTAL BORROWING BASE AVAILABllITYI' ••••
                                                                                -
                                                                                -
                         REVOLVING LINE OF CREDITOUTSTANDINGIII ••••

                                                         Advam:e Request        I.g••••
      Deposit to Account No:


                                                                        *Tolall'~ ••••                * Tolal not   to exceed $750,000

             TOTAL REMAINING BORROWING BASE AVAILABILITY



      (1) 'Eligible A.ccount' mean, any Actbunt (other than any portion owing In ,",pect ofsales exclse, or slmll., taxes) owing to GHthat meets, and contlnu es,
             to meet, elJehof the followl", requirements:
      (0)  It ames In the ordinary eourse orbusloess from the flnal, bon. ftde "Ie o[sood, or-the rendering of services that movebaen fullyperformed by GH
      (b) It Is ownedsoleiy byGH
      (t) It I, the enfo",,"ble and un",ndlUonal obligation ofthe centers for Medialr. and Medicaid Services under Its Medl",,,,, Med\",ld,
            Medkare Managed lind Managed ~Ire proerams:.
      (d) The amount ofthe Account ellglble1s net and efter deduc:tlons for contractual adjustments,
      (.)It I, not more than 60 days piSt the original claim date.
      (0 For the. first 180 days. after the EffectIVe: Date, It Is an Account owed to GH.
      (g) Aftar the expiration of the tB()' day period fn subseeuen (0 above III, (I) an Account owed to GH, or (U)an Account owed to FIlAprovided that lender
            shall have at Borrowers. prior request conducted a field audit 01 FHA pursuant to seeuen 5,2 (0 of the Amended and Restuted Loan Agreement.
                                    1




       (2), If tho TOTALBORROWING BASE AVAl1.ABIUTYIs negativo,lhe Borrowerl. required to pay down lhe tine In an amount to rotum Ihe RovoMng lint of Oradll back Inlo oomphnce.




       DATE:                                                                                          BY:




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                                             EXHlBITD

                                   FORM OF REVOLVING NOTE

                                         REVOLVING NOTE

    $750,000.00                                                                      March 14,2016

            The undersigned, for value received, jointly and severally promise to pay to the order of
    Bank SNB, an Oklahoma banking corporation ("Lender"), at the principal office of Lender in
    Stillwater, Oklahoma, or such other office as Lender may designate from time to time, the
    principal amount of $750,000.00, or so much thereof as may be outstanding from time to time.

            Tbis Note is the "Revolving Note" referred to in, and evidences indebtedness incurred
    under, and is subject to the terms and provisions of, the Amended and Restated Loan and
    Security Agreement dated as of even date herewith (as amended, restated, supplemented or
    otherwise modified from time to time, the "Loan Agreement;" terms not otherwise defined have
    the meanings assigned to them in the Loan Agreement), between the undersigned and Lender.
    Reference is made to the Loan Agreement for a statement of the terms and provisions under
    which this Note mayor must be paid prior to its due date or its due date accelerated.

            The undersigned promise to pay interest on the unpaid principal amount of this Note on
    the terms set forth in the Loan Agreement. Payments on this Note shall be made as set forth in
    the Loan Agreement. This Note may be.prepaid as set forth in the Loan Agreement.

           If the undersigned make any payment of the Obligations more than 10 days past the due
    date for such payment, the undersigned shall pay a late fee in the amount equal to 5% of the
    amount of the unpaid, past due Obligations. Payment of the late fee shall not cure the Event of
    Default resulting from any late payment of the Obligations.

            This Note is made under and governed by the laws of the State of Oklahoma. .

           The undersigned, any other party liable with respect to the Revolver evidenced by this
    Note, and any and all endorsers and accommodation parties, and each one of them, if more than
    one, waive any and all presentment, demand, notice of dishonor, protest, and all other notices
    and demands in connection with the enforcement of Lender's rights under this Note, the Loan
    Agreement, and the other Loan Documents, except as otherwise specifically provided for therein.

            This Note may be executed in one or more counterparts, each of which will be deemed to
    be an original copy of this Note and all of which, when taken together, will be deemed to
    constitute one and the same agreement.

                     [Remainder of page intentionally blank. Signature page follows]




                                               EXHIBITD

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            EXECUTED as of the date first written above.

     GILBERT HOSPITAL, LLC, an Arizona
     limited liability company

     By:                              _
     Name: Bryan Hargis
     Title: Chief Executive Officer



     FLORENCE HOSPITAL AT ANTHEM,
     LLC, an Arizona limited liability company

     By:,                             __
    Name: Bryan Hargis ,
    Title: Chief Executive Officer



    NEW VISION HEALTH, LLC, an
    Arizona limited liability company

    By:                            --:""_
    Name: Bryan Hargis
    Title: Chief Executive Officer




                                                 EXHIBITD


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                                             'EXHIBITE

                        FORM OF OPINIONS TO BE GIVEN BY COUNSEL

    1.   Each Borrower and GH 41 (each a "Loan Party") is a limited liability company existing in
         good standing under the laws of the State of Arizona.

    2.   The execution, delivery, and performance of the Loan Documents by each Loan Party:

            a.   have been authorized by all necessary limited liability company action by such
                 Loan Party;

            b.    do not violate any provision of the certificate of formation or operating agreement
                 ,of such Loan Party;

            c.   do not require any filing or registration by any Loan Party with, or approval or
                 consent of, any govemmental authority of the State of Arizona; and

            d.   do not violate any law or regulation of any governmental agency or authority of
                 the State of Arizona.                  .

    3.   Each Loan Document has been duly executed on behalf of each Loan Party that is party
         thereto and constitutes the enforceable obligation of such Loan Party.

    4.   The Confirmation Order has become a Final Order.




                                              EXIDBITE


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                                   FORM OF REQUEST FOR ADVANCE

                                        REQUEST FOR ADVANCE
              This request is made pursuant to the Amended and Restated Loan and Security
   . Agreement, dated as of March 14, 2016 (the "Loan Agreement"), among Gilbert Hospital, LLC,
     an Arizona limited liability company, Florence Hospital at Anthem, LLC, an Arizona limited
     liability company, New Vision Health, LLC; an Arizona limited liability company (collectively,
     "Borrowers"), and Bank SNB, an, Oklahoma banking corporation ("Lender"). Capitalized terms
     used in this Request for Advance have. the meanings given to such terms in the Loan Agreement.

            The undersigned, being the duly elected chief financial officer of each Borrower, hereby
    request that Lender make an Advance under the Revolver to Borrowers in the principal amount
    of $[                  1. The date on which such Advance is requested to be made is
    ~                      ~,20LJ.

               In connection with the requested Advance, the undersigned certifies as follows:

               1.     No Event of Default currently exists.

            2.      After 'giving effect to the .Advance requested above, the aggregate outstanding
    principalbalance of the Revolver will not exceed the Availability.

            3.     The representations and warranties of Borrowers set forth in the Loan Agreement
    are true and correct as of the date of this Request for Advance, except to the extent specifically
    relating to an earlier date, in which case such representations and warranties were true and
    correct as ofsuch date.
    Dated                          , 20_


     By:                                   _

     Name:                                     _

     Title:,                               _




                                                    EXIDBITF

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                                     COMPLIANCE CERTIFICATE

                                    COMPLIANCE CERTIFICATE

    To: BANK SNB ("Lender")

     This Compliance Certificate is made with reference to that certain Amended and Restated Loan
     and Security Agreement, dated as of March 14, 2016 (the "Loan Agreement"), among Gilbert
     Hospital, LLC, an Arizona limited liability company, Florence Hospital at Anthem, LLC, an
     Arizona limited liability company, New Vision Health, LLC, an Arizona limited liability
     company (collectively, "Borrowers"), and Lender, and with further reference to GH 41, LLC, an
     Arizona limited liability company (collectively with Borrowers, "Borrower Parties"). All
     capitalized terms used in this Compliance Certificate shall have the meanings set forth for such
   . terms in the Loan Agreement.                                                               .

    The undersigned, each of whom is the responsible financial officer of one or more of the
    Borrower Parties, hereby certify as follows:

   . 1.      All financial statements delivered herewith are complete and correct, present the financial
     conditions at the end of such period and the results of the respective Borrower Parties' operations
     during such period in accordance with GAAP, consistently applied.

    2.     Each Borrower Party has not been, and is not as of the date hereof, in default as to any of
    the covenants contained in the Loan Agreement or any of the Loan Documents, and there is no
    known Event of Default, except as specified below:



              IN WITNESS WHEREOF,             the undersigned have each executed this Compliance
     Certificate as ofthe _. day of                __

     GILBERT HOSPITAL, LLC, an Arizona                  NEW VISION HEALTH, LLC, an
     limited liability company                          Arizona limited liability company
     By:                                  _             By:                              _
     Name:                            _                 Name:                            _
     Title:                               _             Title:                               _

     FLORENCE HOSPITAL AT ANTHEM,                       GH 41, LLC, an Arizona limited liability
     LLC, an Arizona limited liability company          company
     By:,                             __                By:                              _
     Name:                                              Nrune:                           _
     Title:   -----------------_                        Title:          ..--                 _




                                                  EXHIBITG

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                                                                                      '




\    "

            ."




                                                           SECURITY AGREEMENT
                                                      (Equipment and Accounts Receivable) ,

                                 THIS SECUruTY AGREEMENT (the "Agreement") is made effective the gil! day of
                         November. 2007, by GILBERT HOSPITALLLC. an Arizonalimited liability cOIIi.panl ("Debtor"),
                         having a notice address of 5556 South Power Road, Gilbert, Arizona, ""~1f/1,in favor of
                         STILLWATER NATIONAL BANK AND TRUST COMPANY (the "Secured Party'!), having a
                         notice address at 6301 Waterford Boulevard, Suite 101. Oklahoma City, Oklahoma. 73116.

                                                                   RECITA~S:         *8529511/ V
                                ~RBAS.        the Debtor and the Secured Party have entered into a rftlUll Loan Agreement of
                         even effective date hetewith (the "Loan Agreement"); and

                                 'WHEREAS, pursuant to the Loan Agreement the Debtor bas agreed to secure payment of the
                         indebtedness described herein by granting the Secured Party a security interest covering the Property
                         (as defined below);

                                NOW, THEREFORE, inconsideration of the premises and the agreements herein contained,
                         and for other good and valuable consideration. the receipt and s1.ifficiency of which are hereby
    (,;,   -,    '"      acknowledged, the Debtor hereby agrees with the Secured Party as follows:                         '
         . ..:t' ~
                         1.     Refinitions. Unless otherwise defined herein, all terms which are defined in the Loan
                         Agreement will have the same meanings herein as therein, and all terms used herein which are
                         defined in th~Oklahoma Uniform Commercial Code ("UCC") will have the same meanings herein.

                         2.       Security Interest. The Debtor hereby grants to the Secured Party a first priority sec.urity
                         interest in all of the Debtor's goods, chattels, accounts, accounts receivable, government and non-
                         government health care accounts receivable, including but not limited to healthcare insurance
                         receivables, contract rights, inventory, medical $upplies, equipment, medical and surgical
                         equipment, surgical implements and supplies, computer equipment, computer hardware, computer
                         software, general intangibles, and all other tangible and intangible personal property, whether now
                         owned or hereafter acquired, and all proceeds, products, rents. profits and income thereftom (the
                         "Property") .

                         3.       Secured Indebtedness. The security interest granted hereby in the Ptoperty is given to secure
                         the Debtor's payment ofCa) a certain Promissory Note (Land) of even date hereWith:iti'the prinCipal.
                         face amount of$7.328.924.00 signed by the Debtor in favor of the SecuredPartj ("Note I"), and all
                         extensions, renewals, amendments, modifications, substitutions lind changes in form of Note I,
                         together with all interest thereon; (b) a certain Promissory Note (Equipment) of even date herewith
                         in the principal face amount of $8,040,000.00 signed by the Debtor in favor of the Secured party
                         (UNote IT"), and all extensions, renewals, amendments, modifications and changes in form of Note
                         II, together with all interest thereon; (c) a certain Promissory Note (Working Capital) of even date
                         herewith. in the principal face amount of$5,OOO,OOO.OOsigned by the Debtorinfay,or of the Secured
                         Parly ("Note ill") (Note I, Note Il, and Note illare collectively referred to 'herein as the "Notes")




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        and all extensions, renewals, amendments, modifications and changes in form of Note III, together
        with all interest thereon; (d) all advances made by the Secured party to protect the security hereof,
        including advances made for or on account oflevies, insurance, repairs, taxes and for maintenance
        or recovery of the Property, together with interest thereon at the rate specified inthe Note; and,(e) all
        costs and expenses incurred in connection with the collection and enforcement of the foregoing
        items described at Sections 3(a), 3(b), 3(c) and 3(d) including reasonable attorneys' fees and
        expenses. (The foregoing items described at Sections 3(a) through 3(e) hereof inclusive are
        collectively referred to herein as the "Secured Indebtedness.")

        4.      Debtor's R.e,presentations and Covenants. The Debtor hereby warrants, represents and agrees
        as follows:

                4.1     Location of Debtor. The Debtor is a registered limited liability company organized
                        under the law of Arizona. Its chief' executive office and present principal place of
                        business is the same as set forth in the introductory paragraph hereof (the "Business
                        Locution").

                4.2     Location of Property. The Property is or will be located at the Debtor's hospital
                        located inGilbert, Arizona (the "Hospital Location"), and the Debtor will not move          .
                        the Property or locate any of the Property at any other location without the prior
                        written consent of the Secured Party.

                4.3     Business Pumose. The Property is to be used by the Debtor solely in connection
                        with the operation of the Debtor's acute care hospital and for working capital
                        purposes i~connection therewith.

                4.4     Title. The Debtor has or will obtain marketable title' to the Property free and clear of
                        all liens, encumbrances 'and security interests,

                4.5     Transfers: Without the prior written consent cifthe Secured Party, the Debtor agrees
                        that the Debtor will not sell, exchange, lease or in any manner dispose of any of the
                        Property or any interest therein, without replacing the same with similllr property of·
                        equal or greater value as needed in the ordinary course ofbusiness.

                4.6     Maintenance of Property. The Debtor will use the utmost care to maintain the
                        Property ill good condition and repair, ordinary wear and tear excepted, and without
                        ,the Secured Party's Prior written consent, will not suffer orperroit any lien, charge or
                        encumbrance to attach thereto, whether by reason ofrepnirs, taxes,       asseSsments or
                        otherwise. The Debtor will not use or permit the Property to be used in violation of
                        any law, statute or ordinance. The Debtor will not, in any event, permit anything to
                        be done that may impair the value of the Property or the security intended to be
                        afforded. by this Agreement.                 '                       .

                4.7     Insurance. The Debtor will insure the Property lIS required under the Loan
                        Agreement. If the Debtor fails to pay the premiums for any such insurance, the
                        Secured Parly may do so for the Debtor's account, adding the amount so paid by the

                                                            2.




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                     Secured Party to the other amounts secured hereby; however, the Secured Party is
                     under no obligation and has no duty to pay such. premiums. The Secured Party is
                     hereby appointed the Debtor's attorney-in-fact   toendorse any draft or check which
                     may be payable- to the Debtor in order to collect the proceeds of such property
                     damage insurance. All insurauoe proceeds will be applied either to the Secured
                     Indebtedness, or 00 the repair, restoration or replacement of the damaged or
                     destroyed property, at the election of the Lender. Any proceeds required to be made
                     available to Debtor for use inrestoring, repairing andlor replacing any such damage
                     to Property will be made available in accordance with the procedures. for Debtor
                     obtaining' an advance under the Loan Agreement.

            4.8.     Inspection of Property. At any reasonable time and on reasonable prior notice to
                     Debtor, but subject to HIP AA. the Secured Party may inspect the Property and all of
                     the Debtor's records concerning the Property and the Borrower's business operations ..

             4.9     Furtlier Assurances. The Debtor will from time to time sign, execute, deliver and
                     file, alone or with the Secured.Piu'ty, any financing statements. security agreements
                     or other documects; procure any instruments or documents; and take all further
                     action that may be reasonably necessary or desirable, or that the Secured Party's
                     reasonable discretion in order to confirm, perfect, preserve and protect the security
                     interests intended to be granted hereby. and in addition. the Debtor hereby authorizes
                     the Secured Party to rue such financing statements ·in such locations covering the
                     Property as may be deemed necessary by the Secured Party without the signature of
                     the Debtor.

             4.1 0   Filing Reproductions. At the optioh of the Secured Party, a carbon, photographic or .
                     other reproduction of this Agreement or of a financing statement covering the
                     Property will be sufficient as a financing statement and may be filed as a financing
                     statement.                             .

             4.1 i Financing Statement Filings: Notifications. The Debtor will immediatelynotizy the
                     Secured Party of any condition or event that may change the proper-location for the
                     filing of any financing statements or other public notice or recordings for the purpose
                     of perfecting a security interest in the Property. Without limiting the generality of
                     the foregoing, the Debtor will: (a) immediately notify the Secured Party of any
                     change to ajurisdiction other than the State of Arizona in the location of the Debtor's
                     chief executive office or chief place of business, or in the Debtor's state of
                     'organization; (b) prior to any of the Property becoming so related to'any" parlicUlar
                     teal estate, other than the Hospitai Location, so as to become a fixture on such real
                      estate, notify the Secured party of the description of such real estate and the name of
                     the record owner thereof; a.nd(c) immediately notify the Secured Party of any ehange
                     in the Debtor's name, identity or company structure. In. any notice furnished pursuant
                     to this Section 4.11, the Debtor will expressly state that the notice is requiredby this
                      Agreement and contains facts that will or may require additional filings offinancing
                      statements or other notices for the purpose of continuing perfection afthe Secured
                   . Party's security interest ill the Properly.                                     . .

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                               5.       Secured Partyfs Expenditures. If the Debtor fails to make any expenditure or pay any sum
                               necessary to: (1) keep and maintain the Property in good repair, ordinary wear and tear and insured
                               casualty excepted;'(2) discharge any lien, encumbrance, levy, security interest or other charge on the
                               Property; or (3) maintain insurance upon the Property as required hereby, the Secured Party may but
                               willnot be required to make any expenditure for such purpose orpurposes and all sums so expended
                               will be payable on demand, will bear interest at the rate specified in the Notes and all such sums and'
                               interest win additionally be secured hereby. The Debtor will pay all costs of filing any financing,
                               continuation or termination statements with respect to the security interest granted hereby in the
                               Property.

                                6.       Default: Remedies. On the occurrence of'a Default under the Loan Agreement (which term
                                                                               as
                                "Default" will have the same meaning herein such term is defined in the Loan Agreement), the
                                Secured Party .tnay, at its option and without notice to any party, declare all or any portion of the
                                Secured Indebtedness to be immediately due and payable and may proceed to enforce payment of
                                the same, to foreclose the Secured.Party's security interest:in the Property pursuant to the provisions
                                of the UCC, to exercise any or all other rights and remedies provided herein and inthe other Loan
                                Documents and by the UCC or otherwise available at law or in equity. Whenever the Debtor is in
                                Defaultunder the Loan Agreement, the Debtor on demand by the Secured Party, will assemble the
                                Property and make it available to the Secured Party at the B-usiness Location, or if the Business
                                Location is unavailable, at a place designated by the Secured Party. All remedies hereunder are
            .>,                 cumulative, and any indulgence or waiver by the Secured Party will not be construed as an abandon-
......                          ment of any 0ther right hereunder or of the power to enforce the same or another right at alater time.
                                 Whether the Secured Party elects to exercise any other rights or remedies under this Agreement or
                                applicable law, the Secured Party,  as  a matter of right and without regard to the sufficiency of the
                                security for repayment of the Secured Indebtedness, without notice to Debtor and without any
                              , showing of insolvency, fraud, or mismanagement on the part of'Debtor, and without the necessity of
                                filing any judicial or other proceeding other than the proceeding for appointnient of a receiver, shall
                                be entitled to the appointment of a receiver or receivers of the Property or any part thereof,
                                including, but not limited to, all bealthcare accounts receivable, healthcare insurance receivables,
                                and all other accounts receivable (the "Receivables"), and any or all deposit accounts into which
                                such Receivables have been deposited, and Debtor hereby irrevocably consents to-the appointment
                                of a receiver or receivers. Anyreceiver appointed pursuant to the provisions of this subsection shall
                                have the usual powers and duties ofreceivers 'in such matters including, but not limited to, the
                                collection of the Receivables

                               7.       Secured Partyfs Duties. The powers conferred upon the Secured Party by this Agreement are
                               solely to protect its interest inthe Property and will not impose any duty upon fife See~rea Party to
                               exercise any such powers, Except as may otherwise be provided in the Loan Agreement, the
                               Secured Party will be under no duty whatsoever to make or give any presentment, demand for
                               performance, notice ofnonperformauce, protest, notice of protest, notice of dishonor, or other notice
                               or demand inconneotion with any of the Property or the Secured Indebtedness, or to take any steps
                               necessary to preserve any rights against prior parties; The Secured Party will not be liable for failure
                               to collect or realize upon any or all of the Secured Indebtedness or Property, or for any delay in so
                               doing, nor will the Secured Party be under auy duty to lake any action whatsoever with regard
                               thereto.

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                              8.      Continuing Agreement. This is a continuing agreement and the grant of a.security interest
                              hereunder will remain in full force and effect and all the rights, powers and remedies offhe Secured
                              Party hereunder will continue to exist until all of'the Secured Indebtedness is paid in full. .

                              9.      Preservation of Liability. Neither this Agreement nor the exercise by the Secured Party of
                              (or the failure to so exercise) any rIght, power-or remedy conferred herein or by law will be'
                              construed as relieving any person liable on the Secured Indebtedness from liability on the Secured
                              Indebtedness and for. any deficiency thereon.

                              10.     Successors and Assigns. The covenants and agreements herein contained by or on behalf of
                              the Debtor will bind the Debtor, and the Debtors legal representatives, successors and assigns and
                              will inure to the bell~fit of the Secured Party and the Secured Porty's successors and assigns.

                              11.    Invalidity. Ifauy provisionhereofwill for any reason be held to be invalid or unenforceable.
                              such invalidity or unenforceability will not affect any other provision hereof.

                              12.     Construction. This Agreement will be construed and interpreted inaccordance with the laws
                              of the State of Oklahoma.

 ..l~·:::~::.·.                      This Agreement is executed effective the date rust above written .
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    ..··r:· ,

                                                                                          GlLBERT HOSPITAL LLC, an Arizona limited
                                                                                          liability co y

                                                                                          By:


                                                                                          (the "Debtor")


                                                                                          STILLWATER NATIONAL BANK              TRUST COMPANY

                                                                                          BY:-C.~~::;:::;,.t.~~·!€;( t:::!::::::=::::::_
                                                                                          Name: Robert L. Dickson
                                                                                          Title~SVP        .
                                                                                          (the "Secured FaTty)        ---=




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                                                    SECURITY AGREEMENT

                        TillS SECURITY AGREEMENT is made effective the 5111 day of March, 2012, between
                FLORENCE HOSPITAL AT ANTHEM, LLC, an Arizona limited liability company (the "Debtor"),
                having a notice address of 5656 South Power Road, Gilbert, Arizona 85295-8487, Attn: David
                Wanger and Randy Calvert, and STILL WATER NATIONAL BANK AND TRUST COMPANY
                (the "Secured Party"), having a notice address at 6301 Waterford Boulevard, Suite lOl,·OIda-homa
                City, Oklahoma 73118, Attn: Chief Lending Officer,

                                                           RECITALS:

                       WHEREAS, the Debtor and the Secured Patty have entered into a oe11ai111oa11Agreement of
                even date herewith (the "Loan Agreement"); and

                        WHEREAS, pursuant to the Loan Agreement, the Debtor has agreed to secure payment of the
                indebtedness described herein. by granting the Secured Party a security interest covering the Property,
                as defined below;

                                                        AGREEMENT:

                        NO W, THEREFORE, inconsideration of the premises and the agreements herein contained,
                and for other good and valuable consideration, the receipt and sufficiency of all of which are hereby
                acknowledged, the Debtor hereby agrees with the Secured Party as follows:
 "   .... .
       ~',



                1.    Definitions. Unless otherwise defined herein, all terms which are defined in the Loan
                Agreement will have the same meanings herein as therein, and all capitalized terms used herein
                which are defined in the Oklahoma Uniform Commercial Code ("DCC") will have the same
                meanings herein.

                2.        Security Interest. The Debtor hereby grants to the Secured Party a first priority security
                interest in all offhe Borrower's goods, chattels, accounts, accounts receivable, governmentandnon-
                government health care accounts receivable, including but not limited to health-cere-insurance
                receivables, documents, chattel paper, instruments, contract lights, inventory, medical supplies,
                equipment, and medical equipment, furniture, hospital beds, kitchen equipment and supplies,
                computer equipment, computer hardware, computer software, computer software licenses, all
                licenses and permits now owned 01' hereafter acquired by the Borrower in connection with
                Borrower's operation of Borrower's acute care hospital, including bufriOflllhiie'cHo ilcenses and
                certificates of need, all third party provider, payor and reimbursement agreements with Medicare,
                Medicaid, the Arizona Health Care Cost Containment System ("AHCCCS") or any other
                governmental or non-governmentel party together with the rights to payment and reimbursement
                thereunder, general intangibles, and all other tangible and intangible personal property, whether now
                owned or hereafter acquired, and all proceeds, products, rents) profits and income therefrom (the
                "Property") .

(-;:,           3.       Secured Indebtedness. The security interest granted hereby in the Property is given to secure
                the Debtor's payment of (a) a certain Promissory Note (Working Capital) of even date herewith ill
                the principal face amount of $5,000,000.00 signed by the Debtor in favor of the Secured Party, and



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                  all extensions, renewals, amendments, modlflcations, substitutions' and changes in form thereof
                  (''Note P'), together with all interest thereon; (b) a certain Promissory Note (Equipment) of even date
                  herewith ill the principal face amount of$6,748,206.00 signed by the Debtor ln favor of the Secured
                  Party, and all extensions, renewals, amendments, modifications, substitutions and changes in form'
                  thereof (''Note If,'), together with all interest thereon; (0) a certain Lette1' of Credit Demand
                  Promissory Note of even date hel'ewith in the principal face amount of$1,200,OOO.OO signed by the
                  Debtor in favor of the Secured Party, and an extensions, renewals, amendments, modifications,
                , substltutions and changes in form thereof'(fNote Ill"), together with all interest thereon (Note I, Note
                  II and Note m are collectively referred to herein as the "Notes"), (d) all advances made by the
                  Secured Party to protect the security hereof including advances made for or on account of levies,
                  insurance, repalrs, taxes and for malntenance or recovery of the Property, together with interest
                  thereon at the rate specified In the Notes; and (e) all costs and expenses incurred in connection with
                  the collection and enforcement of the foregoing items at Sections, 3(a) through 3(d), including
                  reasonable attorneys' fees and expenses. (The foregoing items 3(a) through 3(e) are collectively
                  referred to herein as the "Secured Indebtedness.")

                 4.      Debtor's Repr'esel1tations and Covenants. The Debtor hereby warrants.represents and agrees
                 as follows:

                          4.1     P1'inclpal Place of Business. The Debtor's chief executive office is the same as set
                                  forth in the introductory paragraph hereof. The Debtor's principal place of business
                                  is 4545 N, Hunt Highway, Florence, Arizona 85232,
....  \,.
                          4.2     Control of Pro pet' tv, The Property Is 01' will be in the possession of the Debtor .

                          4.3     No Transfers. Without the prior written consent of the Secured Party, the Debtor wlll
                                  not in any maimer sell, convey, dispose of, transfer 01' encumber any of'the Property
                                  or any interest therein, 01' permit any lien, encumbrance 01' security interest to attach
                                  thereto except those contemplated herein in favor of the Secured Party.

                          4.4     Secured ParLy's Secyrity Interest. This Agreement creates a valid and binding
                                  security interest in the Property securing the Seemed Indebtedness. An fillngs and
                                  other actions necessary or appropriate (other than notation 011 any certificate of title
                                  01' title registration) to perfect 01' protect such security interest will be or have been
                                  duly taken. No further or subsequent filing, recording, registration or other public
                                , notice of such security interest (other than notation on any cel'tific,ate of title or title
                                  reglstration) is necessary illany office or Jurisdiction in ordeeto-perfsct suchseourity
                                  interest or to continue, preserve 01' protect such security interest except for
                                  continuation statements.

                          4.5     Furthel' Assurances, The Debtor will from time to time sign, execute, deliver and
                                  fi Ie, alone or with the Secured Party, any financing statements, security agreements or
                                  other documents; procure any instruments or documents as .may be reasonably
                                  requested by the Secured Party; and take all further action that may be necessary 01'
                                  desirable, 01' that the Secured Party may request, to confirm,' perfect, preserveand
                                  protect the security interests intended to be granted hereby, and ill addition, the
                                  Debtor hereby authorizes the Secured Party to execute and deliver on behalf of the
                                                                       z


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 "":::':'                        Debtor and file such flnanclng statements, security agreements and other documents
                                 without the signature of the Debtor either in the Secured Party's name or illthe name
                                 of the Debtor and as agent and attorney-in-fact for the Debtor,

                         4,6     Filing Reproductions, At the option of the Secured Party, a carbon, photographic or
                                 other reproductlon of this Agreement or of a financing statement covering the
                                 Property will be sufficient as a financing statement and may be filed as a financing
                                 statement.

                         4,7     Finrtuclng Statement Filillgsi Notifications. The Debtor will immediately notifythe
                                 Secured Party of any condition or event that may change the proper location for the
                                 filing of any financing statements 01' other public notice or recordings for the purpose
                                 of perfecting a security interest In the Property. Without limltlng the generality of the
                                 foregoing, the Debtor will: (a) immediately notIfy the Secured Partyof' any change to
                                                                                  in
                                 a. jurlsdiotion other than the State 'of Arizona the location of the Debtor's chief
                                 executive office or chief place of business 01' in the Debtor's state of organization;
                                 and (b) immediately notify the Secured Patty of any change in the Debtor's name,
                                 identity or company structure, III any notice furnished pursuant to this paragraph 4.7~
                                 the' Debtor will expressly state that the notice is required by this Agreement and
                                 contains facts that will or may require additional filings of financing statements 01'
                                 other notices for the purpose of continuing perfection of the Secured Party's security
                                 interest in the Property, The Debtor will pay all costs of filing any financing,
                                 continuation 01' termination statements with respect to the security interest granted
 '   .."~                        hereby in the Property,

                  5,        Default; Remedies. 011 the occurrence of'a Defaultunder the Loan Agreement, 01' any of the
                  Loan Documents (which term "Default" will have the same meaning herein as such term is defined
                  in the, Loan Agreement) the Secured Party may, at its option and without notice to ally party, declare
                  all 01' any portion of the Secured Indebtedness to be immediately due and payable and may proceed
                  to enforce payment of the sante, to foreclose the Secured Party's secul'ity interest ill the Property
                  pursuantto the provisions of the DCC, to exercise any 01' allother tights and remedies provided
                  herein and in the other Loan Documents (which term "Loan Documents" will have.the same meaning
                  herein as defined 111 the Loan Agreement) and by the uec or otherwise available at law or inequity.
                   Whenever the Debtor is in Default under the Loan Agreement or allY of the Loan Documents, the
                  Debtor on demand by the Secured Party, will assemble the Property and make it available to the'
                  Secured Party at a place designated by the Secured Party, All remedies hereu1tdehll'e cumulative,
                  and any indulgence 01' waiver by the Secured Party will 110t be construed ,~san..abaqg2l)Ql.~mtQf..aI1Y
                , other right hereunder or of the power to enforce the same or another right at a later time, Whether the
                  Secured Party elects to exercise any other rights or remedies under 1his Agreement or applicable law,
                  the Secured Party wIll be entitled to have a receiver appointed to take possession of the Property
                  without notice, which notice the Debtor hereby waives, notwlthstanding anything contained in this
                  Agreement 01' any law heretofore 01' hereafter enacted.

                 6,      Secured Patty's Duties, The powers conferred upon the Secured Party by this Agreement are
                 SOlely to protect its interest in the Property and will not impose any duty upon the Secured Pru'ty to
(~',~:\:'"       exercise any such powers, The Secured Party will be under no duty whatsoever to make 01' give any
 ,,:.'           presentmerit, demand for performance, notice of nonperformance, protest, notice ofprotest, notice of
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::;;:}"       dishonor, or other notice Of demand in connection with any of the Property or the Secured
              Indebtedness, 01' to take any steps necessary to preserve any rights against prior parties, The Secured
              Party will not be liable for failure to collect or realize upon any or all of the Secured Indebtedness O}'
              Property, or for any delay in so doing, nor will the Secured Party be under any duty to take any action
              whatsoever with regard thereto.

              7.      Continuing Agreement. This is a continuing agreement and the grant of a security interest
              hereunder wIll remain infull force and effect and all the rights, powers and rented ies ofthe Secured
              Party hereunder will continue to exist until all indebtedness owing by the Debtor fa the Secured Party
              has been paid in fu Uor until this Security Agreement is cancelled pursuant to the terms of the Loan
              Agreement,

              8.       P,'eservatloll ofLiabiHty. Neither this Agreement nor the exercise by the Secured Patty of (or
              the failure to so exercise) any right, power or remedy conferred herein 01' by law will be construed as
              relieving any person liable on the Secured Indebtedness from liability 011 the Secured Indebtedness
              and for any deficiency thereon.

              9.      Successors and Assigns. The covenants and agreements herein contained by or 011 behalf of
              the Debtor wlll bind the Debtor, and the Debtor's legal representatlves, successors and assigns and
              will inure to the benefit of the Secured Patty and the Secured Party's successors and assigns.

              10.    Invalid it)'. If any provision hereofwill for any reason be held to be inval ld 01' unenforceable,
              such invalidity or unenforoeablllty will not affect any othee provision hereof .
.~,..
~   '.
    ,.'
              11. . Construction, This Agreement will be construed and interpreted in accordance with the laws ,
              of the State of Oklahoma.

                      This Agreement is executed effective the date first above written.




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                                                                                                                                                            ARIZONA
UCC FINANCING STATEMENT AMENDMENT
fOLLOW INSTRUCTIONS
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6. C.URRENT RECORD INFORMATION-:            0ln'1~~,,1~   !.:It f"1I!1711'111YInaU~<t~~~~.-PIO>/Idi'-'~"~~I'Wl-         t~ Ollit/)
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 147 West 35th Street, Suite 1001                                                             New York·                                    "~~';').:,1~~'
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a   tMME OF SECURED PARTY or RECORD AUTHORJZiNG THIS AMENDMENT:                         PrtlIIltle a~' D                          mimi>    Ifl(!) at 9b)(nllrnlf 01MeIF,   if Ihl!   IHI1   ~i;!"""'111)
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10. OPT,ONAl F~LER RlEFERENCe DATA:
 Tu he filed with tbe ArizUlUl Secretary uf State


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                                                                                        NEW YORI-, NY 'I0011~




    November 2, 2017


    Via Federal Express and Electronlo Mail

    Gilbert Hospital, LLC
    Florence Hospital at Anthem, LLC
    New Vision Health, LLC
    GH 41 LLC
    5656 S. Power Rd., Suite 133
    Gilbert, AZ 85259
    Attn.:   Dennis Rutherford
             Lou Schroeder



    RE:      Amended and Restated Loan and Security Agreement among Gilbert Hospital, LLC (uGH"),
             Florence Hospital at Anthem, LLC ("FHA"), New Vision Health, LLC ("Holdco," and collectively
             with GH and FHA, "Borrowers"), and Indigo-DLI Holdings I, LLC, as successor by assignment
             from Bank SNB ("Indigo-DLI"), dated March 14,2016 (as amended, the "Loan Agreement") and
             each of the other Loan Documents; Waiver Agreement among Borrowers, GH 41 LLC (uGH 41,"
             and collectively with Borrowers, "Borrower Parties"), Indlgo-DLI, and Indigo-Maricopa Realty, LLC
             ("Indigo-Maricopa") dated July 26,2017 (as amended, the "Waiver Agreemenf'); Option
             Agreement for the Purchase and Sale of Real Property and Joint Escrow Instructions between
             GH and Indigo-Maricopa, as successor by assignment from CRK Properties, Inc., dated March
             14,2016 (as amended, the "Option Agreemenf'). Capitalized terms not otherwise defined herein
             shall have the meanings set forth in the Loan Agreement, the other Loan Documents, the Waiver
             Agreement, or the Option Agreement, as applicable.

    Dear Dennis and Lou:

             We are providing this notice letter to you due to due to recent facts and circumstances related to
    our lending relationship.

             In particular, Indlgo-DLI and Indigo-Maricopa have become aware of the following defaults and
    Events of Default (collectively, the "Specified Events of Default'!): (i) breach of Section 10.4(c) of the Loan
    Agreement for failure to maintain the required Net Operating Margin as tested for the period ending
    August 31, 2017; (ii) breach of Sections 2.1 and 4.1 (a) of the Loan Agreement and corresponding
    promissory notes for failure to timely pay the monthly payment on the GH Term Obligation due October
    14, 2017, with such failure continuing for ten (10) days thereafter; (iii) breach of Sections 2.2 and 4.1 (b) of
    the Loan Agreement and corresponding promissory notes for failure to timely pay the monthly payment
    on the FHA Term Obligation due October 14,2017, with such failure continuing for ten (10) days
    thereafter; and (iv) breach of Sections 2.3 and 4.1 (c) of the Loan Agreement and corresponding
    promissory note for failure to timely pay the monthly payment on the Revolver due October 14,2017, with
    such failure continuing for ten (10) days thereafter. Additionally, Borrowers may not be in compliance with
    the following enumerated Sections: 10.1. 10.2. 10.3a. 10.3c. 10.4a. 10.4b, 1O.4c and 8.11 b (120
    days). Indigo-DLI and Indigo-Maricopa therefore hereby notify Borrower Parties of the occurrence of the
    Specified Events of Default.




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              Because there is no applicable notice and cure period as to at least one of the Specified Events
    of Default, the Option Period has terminated pursuant to Section 4(e) of the Option Agreement. As a
    result of the termination of the Option Period as set forth herein and the lrrevocablejnsfructlons provided
    in Section 6(b )(ii) of the Option Agreement, Escrow Holder shall cause the Quitclaim Deed to be recorded
    In the Official Records of the County.

              Please also be advised that Indigo-DLI and Indigo-Maricopa do not waive the Specified Events of
    Default or any other defaults or Events of Default that previously existed or may now or hereafter exist
    under the Loan Agreement, the other Loan Documents, the Waiver Agreement, or the Option Agreement,
    whether or not set forth in this letter. As a result ofthe Specified Events of Default, Indigo-DLI and Indigo-
    Maricopa have the present unconditional right to enforce certain rights, powers and remedies under the
    Loan Agreement, the other Loan Documents, the Waiver Agreement, and the Option Agreement and that
    exist at law or in equity, including, without limitation, the right to (I) charge default interest in accordance
    with Section 3.2 of the Loan Agreement retroactively from the initial date of any default or Event of Default
    and/or require the Borrower Parties to pay a late charge equal to 5% of the unpaid, past due amounts in
    accordance with Section 4.6 of the Loan Agreement, and (ll) nullify any discounted payoff opportunity
    provided in the Waiver Agreement. Indigo-DLI and Indigo-Maricopa expressly hereby reserve any and all
    of their respective rights, remedies, claims and causes of action under the Loan Agreement, the other
    Loan Documents, the Waiver Agreement, and the Option Agreement and that exist at law or In equity with
    respect to the Specified Events of Default and any and all other defaults and Events of Default that
    previously existed or may now or hereafter exist under the Loan Agreement, the other Loan Documents,
    the Waiver Agreement, or the Option Agreement. Nothing In this letter, nor any delay in the exercise of or
    omission to exercise any rights, powers or remedies available to Indigo-DLI or Indigo-Maricopa, now or
    from time to time, shall impair any such rights, powers or remedies or be construed to be a waiver by
    Indigo-DLI or Indigo-Maricopa of such rights, powers or remedies or be construed to be a waiver by
    Indigo-DLI or Indigo-Maricopa of the Specified Events of Default or an acquiescence thereto. Each such
    right, power and remedy may be exercised by Indlgo-DLI or Indigo-Maricopa at any time.                   .

             None of (a) any discussions or correspondence between Indigo-DLI, Indigo-Maricopa, and
    Borrower Parties, or any other person, regarding the Specified Events of Default, any other default or
    Event of Default, the Loan Agreement, the other Loan Documents, the Waiver Agreement, the Option
    Agreement, or otherwise that may have previously occurred or that may occur hereafter, (b) the passage
    of time, or (c) any action now or hereafter taken (or not taken) by Indigo-DLI or Indigo-Maricopa shall: (i)
    be deemed to be a modification of, or amendment to, the Loan Agreement, the other Loan Documents,
    the Waiver Agreement, or the Option Agreement, (ii) be construed or have the effect of curing, excusing,
    waiving, relinquishing, releasing or postponing any defaults or Events of Default under the Loan
    Agreement, the other Loan Documents, the Waiver Agreement, or the Option Agreement, or be a consent
    to any waiver of any Events of Default or any other default, whether such defaults now exist or shall
    hereafter occur, (Ill) establish a custom or course of dealing, (iv) constitute an election of remedies under
    the Loan Agreement, the other Loan Documents, the Waiver Agreement, or the Option Agreement, (v)
    modify the treatment of Borrower Parties' obligations under the Loan Agreement, the other Loan
    Documents, the Waiver Agreement, or the Option Agreement, or (vi) waive, limit or condition the rights,
    powers and remedies of Indlgo-DLI or Indigo-Maricopa under the Loan Agreement, the other Loan




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             Documents, the Waiver Agreement, or the Option Agreement, at law or in equity or given by
    statute, all of which are hereby expressly reserved.

             Please feel free to contact me at your convenience with any questions you may have.



                             Sincerely,

                                Indigo-DLI Holdings I, LLC


                                      ~:-/'              ?>~.
                             By:,                                 I   ___


                             Name: Benjamin Bornstein
                             Title: Company Officer


                                Indigo Capital Services, LLC

                                       ",... '   ",,,~        ---...       ~
                                      ~--                .>        ~~j-"
                                By:                                        _
                             Name: Benjamin Bornstein
                             Title: Company Officer




    cc:   Via Electronic Mail

          Peter Tobin

          Kyle S. Hirsch, Esq.

          Via Federal Express

          David K. Gottlieb, Creditor Trustee
          GH Unsecured Creditors Trust
          15233 Ventura Blvd., 9th Floor
          Sherman Oaks, CA 91403 ,

          'GH USC Trust
           c/o Brinkman Portillo Rank, APC
           4333 Park Terrace Drive, Suite 205
           Westlake Village, CA 91361
           Attn: Darren Brinkman, Esq.

          Andante Law Group, PLLC
          4100 N. Scottsdale Rd., #330
          Scottsdale, AZ 85251
          Attn: Daniel E. Garrison, Esq.




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         Via Federal Express - Cont'd


         Engelman Berger, P.C.
         3636 N. Central Avenue, Suite 700
         Phoenix, AZ 85012
         Attn: Kurt A. Peterson, Esq.

         Fennemore Craig
         2394 E. Camelback Road.Bulte    600
         Phoenix, AZ 85016-3429
         Attn: Gerald L. Shelley, Esq.




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         2                                  Dl£CLARATJO!'\ OF PROPO~[':O RECFJVl':H
         3               I, Jeremiah Foster, first being duly swum. upon                  til)    outh.   r,lJj.;~' lht!   folluwing
         4      declaration.
         5               1.           I am of sound mind. I)\,¢r the age or 18 ycan., nnd tully competent to leslify
         6      to   the matters stated herein on the basis of my personn I knowledge.
          7              2.           I am Principal of Resolute Cornmer ..~ia.1Services. LLC an Arizona limited
          8     liability company C'Resolute").
          9              3.
         10     property and business operations of defendants                 )\(.'w     Vision Health. LLC; Gilbert
         11     Hospital. LLC; and Florence Hospital at Anthem, l.l.C (collectively. "Borrowers").
         12              4,           I understand that Borrowers own and operate two emergency hospitals "
         13     one in Gilbert. Arizona and one ill Florence. Arizona.
         14               s.          I have reviewed the proposed receiver-hip order that accompanies the
         15     AppJ lcation for Appointment of Receiver. 1, on behal f of Resolute. am willing and able
         [6     to perform the duties of receiver as outlined therein.
         17              6,           I have attached to this declaration a copy of      111)    curriculum vitae, as well as
         l8     a presentation demonstrating my and my firm's background and experience relevant to
         19     the Borrowers' emergency hospital operations.              I prepared these documents, which are
        20      true and accurate to the best of my knowledge.
        21               7.           Based on my experience and the experience of those with whom J intend to
        22      work on this engagement as receiver. I believe           R('.$O!Ulu,     by and through me, is qualified
        23      to act as a receiver oyer Borrowers,

        24               I have read the foregoing declaration and rice]          'f.!   under penalty of perjury that the
        25      foregoing is true and correct.
        26                DATED: April        4: 201 8.
        27
        28


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    RESOLUTE
                        problems solved.
                        ,/..




  CURRICULUM VITAE


  SUMMARY
  Jeremiah Foster is president and founder of Resolute, a receivership
  and financial advisory firm located in Scottsdale. He is the lead when
  it comes to business development, corporate renewal consulting and
  real estate activities for the firm. Jeremiah possess cross-functional
  experience in startup, growth, and turnaround environments. He
  has advised creditors, equity holders, and enterprises in their
  navigation' of many phases of a turnaround, acquisition or divestiture
  plan. Personally, he has sold more than $550M in real sstcte and
  participated in the sale of 15 enterprises. Jeremiah graduated
  from University of Arizona with a Bachelors of Science degree in
  engineering.

  COURT APPOINTED       RECEIVERSHIP     EXPERIENCE

    Shoot the Moon, LLC,case no. 15-60979-11; United States Bqnkruptcy
    Court for the District of Montana. Assisted Chapter 11Trustee with
    business operations and financial reporting of 11franchise restaurants.
    Instrumental with the sale of enterprise and assets of the Debtor
    along with creditor claim settlements.
    Architectural Traditions LLC,case no. C20l42834; Pima County
    Superior Court. Appointed to liquidate $30MM custom door
    manufacturer. Process involved structured asset sale and collection
    of receivables which resulted in full retirement of secured debt and
    surplus which was distributed pro rata to unsecured debtors via an
     orchestrated claims process.
     Meyer 6; Lundahl Manufacturing Co.,case no. CV20l4-0l3429;
     Maricopa County Superior Court. Appointed to liquidate a $20MM
     custom millwork manufacturer. Process involved sale of collateral to
     include FF6;Eand Real Estate.
     CllnTrlco, case no..CV20l4-051145; Maricopa County Superior Court.
     Appointed to take control of operating business that administered
     clinical trials for exploratory drugs.




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 COURT APPOINTMENTS
 Federal
   Financial Advisor to law firm to conduct a Chapter II Plan of
   Reorganization feasibility analysis for an alternative fuel company
 • Liquidating     Trustee tor Shoot the Moon. LLC liquidating trust
   Chapter 11Trustee. U.S. Bankruptcy         Court    v. Shoot   The Moon. LLC.
   CV 15-60878-11. 2015
  • Financial Advisor for Debtors. U.S. Bankruptcy Court v. Industrial Ride
    Shop. LLC; Industrial Skate and Boards. Inc.. Case No. 2:16-bk-14176-BKM;
    Case No. 2:16-bk-14388-BKM
  • Financial Advisor to Florence Hospital for real estate matters.
    Case No. 4:13-bk-03201



  Superior
  • Dean M. Barlow v. Barlow Company. Inc. - Maricopa County Superior
    Court; F;inancial Advisor. 2016
   C. Dwayne Walker v. W B Contracting.             Inc. - Apache County Superior
   Court; Receiver. 2015
  • Jerry Workman. et al. v. Mohit Asnani. et al. - Maricopa County Superior
    Court; Special Master. 2015
   ClinTrico LLC v. Advanced       Research LLC - Maricopa County Superior
   Court; Receiver. 2014
  • Wells Fargo Bank v. Meyer 8: Lundahl Manufacturing              Co. - Maricopa
    County Superior Court; Receiver. 2014
    Western      Alliance Bank v. Architectural     Traditions   LLC - Pima County
    Superior     Court; Receiver. 2014
    Bank of Montreal v. High-Tech Institute. Inc. - Maricopa County Superior
    Court; Receiver. 2014
    Monarch Capital Corporation v. For The Earth Corporation.                et al. -
    Maricopa County Superior Court; Receiver. 2014
    General Electrfcal Capital Business Asset Funding v. Two Brother VIII. Inc. -
    Maricopa County Superior Court; Receiver. 2014
    General Electrical Capital Business Asset Funding v. Two Brother II. Inc. -
    Maricopa County Superior Court; Receiver. 2014
    Wells Fargo Bank National Association v. Cactus Rose Construction                   Inc. -
    Maricopa County Superior Court; Receiver. 2014
  • Beal Bank Nevada v. Central Court West Associates.                 et al. - Clark County
    Superior Court; Receiver. 2013
    Enterprise Bank 8: Trust v. Byung T. Pqrk 8: OK C. Park - Pima County
    Superior Court; Receiver. 2013                            .
  • Diversified Funding Group LLC v. Group Three Properties.                et al. - Maricopa
    County Superior Court; Receiver. 2012
    Wells Fat-go Bank v. Kingman Place Apartments                LLC - Mohave County
    Superior Court; Receiver. 2012
  • NY Credit Funding LLC v. Montecito            Ventana LLC. et ol. - Pima County
    Superior Court; Receiver. 2012
  • Enterprise Bank 8: Trust v. Americana           Nogales LLC. et     ol - Santa   Cruz
    Superior Court; Receiver. 2012
  • Alliance Bank of Arizona v. MSJ Investment            Properties     LLC. et al. - Pima
    County Superior       Court; Receiver. 2012




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  EDUCATION
 Bachelors of Science, Engineering, University of Arizona



  PROFESSIONAL     EXPERIENCE
   Resolute - President a Founder                           2008 - Present
   Insight Land 6 Investments                                 2005 - 2008
   Propaganda Communications, Inc.                          2002 - Present
   Mobility Electronics                                       1996 - 2002



  COMMUNITY     INVOLVEMENT
    Past Chairman of the Board and Member of the State and Central
    Executive Committees for Junior Achievement of Arizona
    Board Member, Christ Church School
    Past Board Member, Scottsdale Public Art Advisory Board
    Member, Arizona Town Hall
  • Member, City of Scottsdale ~ McDowell Road/South Scottsdale Task
    Force                         .
   Member, Downtown Scottsdale Town Hall
   Founding Member, One 5



  PROFESSIONAL     AFFILIATIONS
  • Urban Land Institute (ULI)
    Association for Corporate Growth (ACG)
  • Turnaround Management Association (TMA)
    Entrepreneur's Organization (EO)


  ABOUT RESOLUTE
  Resolute is a financial advisory firm that provides creative solutions
  to complex business problems by maximizing value for our clients.
                                                                              RESOL'UTE
  Founded in 2008 by two partners with an average of 20 years of
  receivership and financial advisory experience in a wide range of          --.--.----- ...-.. problems solved.
  industries. A service-driven firm dedicated to becoming your partner,
  Resolute presents clients with creative solutions to secure, resolve,
  and enhance financial assets and business operations.                                  602.315.7104
                                                                               jfoster@resolutecommercial.com

  Resolute's ability to maximize value in entangled business situations                  (Headquarters)   .
  has been utilized by financial institutions, corporations, law firms,       . 7201 E, Camelback Road, Ste. 250
                                                                                      Scottsdale, AZ 85251
  state and federal courts, and trustees throughout the country.                         o 480.947.3249
                                                                                         f 480.946.3556

                                                                               1910 E. Sahara Avenue, Ste.1464
                                                                                     Las Vegas, NV 89104
                                                                                        o 702.359.0627
                                                                                        f 7.02.369.1290

                                                                                 www.resolutecommercial.com




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    Resolute Distressed Healthcare Experience
    We are not consultants or regulatory/compliance testimony experts. Our expertise in operating distressed
    healthcare scenarios is supported by our extensive experience.

                                               >    WASHINGTON     HOSPITAL
                                                    Receiver for 99 bed, 3 operatory regional acute care hospital in Culver City, CA; maintained
                                                    operations for period of time, liquidated FF&E/real estate and collected receivables

I                   •                          >   . PASADERA   BEHAVIORAL    HEALTH NETWORK
~                                                  Receiver to Tucson based nonprofit that provided behavioral health care and substance abuse
                                                   treatment; wound down operations, liquidated FF&E including sale of 11 acre campus and
                                                   collected receivables

                                               >    GLOBAL MElDlCAl    EQUIPMENT    OF AMERICA,    INC.
                                                    Receiver to national durable medical equipment enterprise consisting of 13 locations in 7 states.
                                                    Operated company until determined that magnitude of Medicare fraud was substantial. Orderly
                                                    liquidated all FF&E, real estate and collected receivables. Referred case to FBI for successful
                                                    conviction for fraud of the Principals.




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             Resolute Distressed Healthcare Experience
                                                                       . >   NOW CARE URGENT CARE
                                                                             Receiver for 13 unit regional urgent care enterprise. Interim Management arose from partnership
                                                                             dispute between shareholders and failing business. Resolute stabilized operations by Instilling
                                                                             financial controls and discipline to turnaround under-performing business. Resolute helped
                                                                             facilitate the sale to Private Equity backed roll up .

.-
~
                                     -.                                 >    AZ-TECH RADIOLOGY
                                                                             Financial advisor to debtor in bankruptcy with 8 radiology clinics located throughout Arizona.
                                                                             Assisted company by refining accounting/collections   processes and building new marketing
                                                                             initiatives.

                                                                        >    ClINTRICO
                                                                             Receiverto operating business that manages network of physician lead clinical trials for exploratory
                                                                             drugs and education associated with cutting edge therapies.

                                                                        >    PERPETUAL HEALTHCARE .
                                                                             Retained for Forensic Accounting over 3 healthcare companies regarding a partnership     dispute




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   Jeremiah Foster, Proposed" Receiver
   Jeremiah Foster is President and Founder of Resolute. He is the firm lead when it
   comes to receivership, corporate renewal, and business consulting.

         Accomplished fiduciary having served as: Chapter 11 Trustee, Liquidating Trustee, Superior
         Court Receiver, and Superior Court Special Master

   •     Adept at asserting leadership and control in challenged and distressed situations

   •     Executed sales of more than $550M in total consideration    that have included enterprises
         and real estate

         Advised creditors, equity holders and enterprises in their navigation of many phases of a
         turnaround, acquisition or divestiture plans




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    Phillip Robinson, Operating (FO
   Phillip Robinson is a restructuring professional with significant interim
   management and CFO experience within the health care industry, including'                                .
   hospitals, medical groups and senior living facilities.

   •     Accomplished financial leader with 35,+ years of experience with 20 of those years focused in
         the healthcare industry

          Led financial team that took a Texas community hospital through the bankruptcy process which
          led to a successful sale under the courts supervision

         Secured a $100 million real estate and receivables financing program for a diversified
          healthcare system

  •      Directed the financial aspects of the, due diligence and acquisition of a distressed hospital in
         Florida, stabilization and turnaround of its cash flow and operations, and sale to its primary
         physicians all within one year

  •       Provided stabilization                and strategic planning as interim CFO for urban hospital upon emergence
         .frorn bankruptcy



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       Phillip Robinson, Operating CFO
       Operational Healthcare Experience
       >    GRANT THORNTON lLP
             Director in the Corporate Advisory and Restructuring Services practice with major clients
           . including Wadley Regional Medical Center, St Vincent's Catholic Medical Center, and West
             Penn Allegheny Health System. Led successful reorganization of i3 Texas not for profit
             community hospital through Chapter 11 filing and sale.

       >    DOCTORS COMMUNITY HEALTHCARE CORP/MICHAEL REESE HOSPITAL
            Interim CFO of six hospital for-profit    holding company following   emergence from
            bankruptcy
       >    MEDICAL MANAGEMENT OF AMERICA
            CFO for all financial activities of this private management company which controlled
            healthcare and real estate holdings with revenues in excess of $250 million. Coordinated
            acquisition and divestitures of hospitals and nursing homes.
       >   TATUM PARTNERS
           Provided senior level interim financial leadership, strategic planning consulting and
           financial/operational assessments for hospitals, medical groups and specialty practices
           around the country, including for-profit and not-for-profit healthcare providers.

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  Situational Timeline                                                                                                                       January 10, 2018
                                                                                                                                         New Vision H'ealth, llC filed
                                                                                                                                              Motion for ose
   .. Case Number:                 2:14-bk-01451-MCW
                                                                                                                                               January 12, 2018
                                                                                                                                       Wtthout notice to the Creditor
                                                  2014
                                                                         October 7, 2-0:1.5 Second
                                                                      Amended and Restated Joint
                                                                                                             mil                         Trustee or an opportunity to
                                                                                                                                          respond, Bankruptcy Court
                                                                                                                                       granted, in part, the Motion for
                                                                        Plan of Reorganization for                                                   OSC
                                                                           Gilbert Hospital and                                                 January 26, 2018
                 March 6, 2013
                                                                      Florence Hospital at Anthem                                       creditor Trustee filed a timely
        Florence Hospital at Anthem
                                                                                   filed                                                Motion for Relief From Order
             flied for bankruptcy




                                         February 5, 2014 Gilbert                                         February 19, 2016
                                          Hospital, llC filed for                                        The "Confll"med Plan
                                                bankruptcy                                             Documents", which include
                                                                                                     the Plan, Confirmation Order,




                                                                               -
                                                                                                      and Amended Cormrma'"•.lon
                                                                                                           Order took effect

                                                                                                         Trust created to receive
                                                                                                      funds from Gilbert Hospital's
                                                                                                      management company, New
                                                                                                           Vision Health, llC fO(
                                                                                                        distribution to the genera (
                                                                                                          unsecured credltors of
                                                                                                               Gilbert Hospital

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   Issues of Concern
   Borrower
                • Deteriorating           financial plan
                • Borrower needs to find exit solution quickly

  Stakeholders
                • How to provide certainty of sale
                • Efficient distribution         of proceeds
                • Other strategic financial alternatives available

  Other
            •       Outside of the Bankruptcy, what process promotes the sale
            •       Valuation/Identification         of FF&E
                    Collection of receivables




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    Engagement Overview                                         and Areas of Focus
    Resolute Receivership Services

        Establish un biased control over' management               and collateral

        Develop 13 week cash flow statement to establish triggers and timing for protective advances (if needed)

    •   Define process for sale of going concern

    •   Help achieve consensus among the stakeholders in forging a plan to achieve recoveries

        Be proactive in defining and assessing alternatives,            as appropriate,   in seeking the best method for maximizing value for
        stakeholders '




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  Engagement Overview                                             and      Areas of Focus.
 •    Identify unencumbered                  assets

      Provide the Lender's professionals, where applicable, with input on the debtor's plan of reorganization                     to orderly
      liquidate/transition to purchaser

 •    Provide analyses to the Stakeholders with. respect to any proposals from the proposed buyer that mayaffect                        recoveries

 •    Help formulate,               if necessary, a liquidation   plan if the sale process or existing stalking horse ceases to have the exclusive
      right to do so




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    Hourly Rate Schedule'
    Principal; Receiver; Expert Witness .....                            ',' . . . . . . . . . . . . . . . . . . . . . . . . .   $350

   Senior Managing Director . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    $300

    Managing Director; Controller . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . .                         $250

   Senior Accountant                                                                                                        "    $200

   Director                                                                        :                                '. . . . .   $175

   Accounting/Associate.                           ...........................................                                   $150

   Administrative                         ... . ... . .. ... ....... ... .... ... . .•.. . .... ... .. ... ..                    $100




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                    Reimbursable Costs
                Postage                            '.' . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   At Cost

                Photocopies.             ....................................................                                                      $.10 Per Copy

                Fax - Outgoing                                                               '. . . . . . . . . . . . . . . . . . . . . . . ..     $1.00 Per Page

                Fax - Incoming                   '.' . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   No Charge

                Messenger          I Delivery                                                                           '              ;...        At Cost

               Court Filing Service                                                   :.. ............. .............                              At Cost

               long Distance Telephone                                                  '.' . . . . . . . . . . . . . . . . . . . . . . . . . .    At Cost

               Bond. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           At Cost

            Travel Time & Expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          Time - % Hourly Rate

                                                                                                                                                   Mileage - IRS Rate

                                                                                                                                                   Other - At Cost




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    Resolute                                0   ••       Problems Solved

    Leading integrated financial advisory firm whose services focus on
    providing both clients and businesses with intelligent and realistic
    resolutions.
               Founded in 2008 by two partners, Jeremiah Foster and John Mitchell, Ill, with
               a combined 50+ years of business and advisory experience

               Premiere receivership service company in the Southwest
               Backed by an 9-person team of professionals with experience in distressed
               assets, finance, accounting, and management, across a wide variety of
               industries. and product types
          ..   Headquartered                         in Scottsdale, AZ with an office in Las Vegas, NV

          •    Dedicated to resolving your problems_




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    Where Many See Obstacles, Resolute Sees Outcomes

    Since 2008, the team of professionals at Resolute have engaged with assets totaling
    over $1 Billion in locations all a.cross the country,




                                                                                                 •   Engagements




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    Expertise On Your Side
  Jeremiah has taken the lead when it comes to receivership, corporate renewal and business consulting. To
  date, Jeremiah has been appointed as Receiver, Trustee, Special Master, or Liquidating Trustee in over 20                J'     h
  matters and has executed sales of more than $550M in total consideration that have included 'enterprises             PRESIDE~~~~aFO~~~:;
  and real estate. His extensive experience representing companies, lenders, and private equity sponsors has                       (480J 947-3248
  proved instrumental to their success in resolving distressed matters. He holds a Bachelor's of Science        jfoster@resolutecommercial.com

  degree in Engineering from University of Arizona.



  Phillip Robinson is a financial leader and restructuring professional with 35+ years of experience
  involving significant interim management and CFO experience within the healthcare Industry                              Phillip Robinson
  including hospitals, medical groups and senior living facilities. He has been an active member of the            SENIOR
                                                                                                                        MANAGING   DIRECTOR
  Healthcare Financial Management Association as well as the Turnaround Management Association.                                    (480J 947-3321
                                                                                                           probinson@resolutetommerciaLcom
  Phillip graduated from Illinois State University with a Bachelor of Accounting degree.




  Nicole is tenacious when it comes to finding the missing pieces of a financial puzzle. Her areas of
  expertise include forensic accounting, Ponzi schemes, receiverships, bankruptcy, and fraud detection. She         Nicole Manos, CIRA,CFE
  is responsible for the daily management of State and Federal Court-appointed     receiverships, bankruptcy       SENIOR MANAGING DIRECTOR
  trustee, and analyses of multimillion dollar Ponzi schemes and solvency projects. Nicole graduated                               (480) 947 ·3321
                                                                                                               nmanos@resolutecommercial.com
  Summa Cum Laude from Arizona State University with a Bachelor of Science in Economics.




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   Expertise on Your Side
 Jessie has substantial experience supporting senior managing directors and certified accounting
 professionals in her role as an asset manager. She has assisted in the evaluation of economic damages,                       Jessie Sheehan
 asset valuation, and fraud investigations. She is proficient in defendant and asset investigation,                       MANAGING DIRECfOR
                                                                                                                                 (480) 947·3321
 forensic analysis offinancial reports and statements, damage calculation, victim and creditor
                                                                                                           jsheehan@resolutecommerCial.com
 correspondence, and distributions from recoveries. She is also heavily involved in the planning and
 implementation    of the firms receivership and trustee objectives.


 Mark Thompson is a driven and innovative accounting professional with over 2S years of experience.
 Having earned his CPA designation in 1994 has allowed him to build the skills it takes to bridge the                   Mark Thompson, CPA
 gap between what has been done and what needs to be done to achieve a company's financial                                 MANAGING DIRECfOR
 objectives. Mark demonstrates strong interpersonal skills by building confidence from colleagues that                             (480) 947-3321
                                                                                                          mthompson@resolutecommercial.com
 work around him and across the organization. Possessing the ability to assess financial conditions of
 companies coupled with his understanding of diverse business environments allows for the
 development and implementation    of new practices and processes to obtain the desired results.


 Doug is an integral part of the team for all corporate entities and project work. He manages the
 operational activities of the corporate entities as well as oversees the project accounting team.                            Doug Wolfgang
                                                                                                                                   CONTROLLER
 Doug brings more than 20 years of knowledge in accounting and operations to the company. He has                                 (480) 947-3321
 assisted in creating and implementing policies and procedures for accounting, budgeting, inventory       dwolfgaflg@resolutecornmercial.com
 control and customer service.




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      Expertise on Your Side
   Lawrence is Resolute's Senior Advisor on matters relating to financial advisory and bankruptcy. Lawrence
   has experience in finance and management roles in the casino gaming industry. He has served as CFO or                       Lawrence Taylor
   Vice President offive different companies and has extensive valuation experience. Lawrence has over 10                         SENIOR ADVISOR
   years of experience in restructuring and has served as financial advisor and expert in numerous cases.                           (480) 947-3321
                                                                                                                 Itaylor@resolutecommercial.com
   Lawrence is acknowledged by the U.S. Bankruptcy Court, District of Nevada as an expert in casino gaming
   valuation. His combination of operational and restructuring experience makes him an invaluable asset to
   Resolute.


     Nick Guerrieri's role at Resolute involves performing the analysis, due diligence and other required
     duties. Included in these duties are creditor- and debtor-side in court and out-of-court
                                                                                                                                   Nick Guerrieri
     restructurings and insolvencies, develop financial models, pitch book materials and conduct                                         DIRECTOR
     research and analysis to help advise clients OFI actual or projected situations.                                               (480) 947-3321
                                                                                                              nguerrleri@resolutecommerdal.com




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  Thank You




  FOR MORE INFORMATION,                                   PLEASE CONTACT:

 JEREMIAH                                        FOSTER
  principal & founder                   ---------------

  o I     480.947.3248
  C   I   602.:315.7104
  E   I   jJostgr@re501ute<:otnn~.£:::iip}""


  7201 EAST CAMELBACK ROAD, SUITE 250
  SCOTTSDALE, AZ 85251




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     \(;UU'I"""y~UU y'UF                    Renaissance One                        Attorneys at Law In
                                            Two North  Central Avenue              Chicago
                                            PhOenix, Arizona 85004·2391            Indial'1apolls
                                            a02.229.5200                           Madison
                                            Fax 602.229.5690                       MilwauKee
                                            www.quarles.oom                        Naples
                                                                                   Phoenix
                                                                                   Scoftsdale
                                                                                   Tampa
                                                                                   Tucson
                                                                                   Washington, D.C.
                                           Writer's Direct Dial: 602.229,5436
                                           E·Mail: john.oneal@quarles.com


                                                                   March 8, 2018



    YlA UPS ANn FACSIMILE

    Florence Hospital at Anthem, LLC
    5656 South Power Road
    Gilbert, Arizona 85236
    Attn: Dennis Rutherford, CEO
    Facsimile: (480) 279-5836

             Re:      DEMAND TO VACATE

    Dear Mr. Rutherford:

               On February 13, 2018, MPT of Florence, LLC ("MPT") terminated the Lease Agreement
     dated-November 4, 2014- (as amended, the IILeasell) between MPT and Florence Hospital at
     Anthem, LLC (''FHA "), under which MPT leased to FHA that certain real property and,
     improvements located in Florence, Arizona (the "Leased Premises"). Reference is also made tQ
     th.at eertain Stipulation and Agreement Regarding Debtor's Assumption of Real Property Lease
     arid blat~ Ma.tters.between MPT and FHA, filed in the United States Bankruptcy Court for the
    Distriet of Arlzon« on January &, 2D14 (the "Stipulation Agreemene). Capitalized tenus used and
    'not defined in this letter have the meaning attributed to them in the Lease or the Stipulation
    Agreement

           MPT requested in its February 13, 2018 termination notice that FHA contact MPT
   'immedlately to discuss FHA's plan for an orderly transition of the Leased Premises. Since that
    time, MPT has not heard from FHA regarding FHA vacating the Leased Premises.

             Accordlngly, MPT hereby demands that FHA vacate the Leased Premises. And again,
    MPT requests that FHA immediately contact MPT and this office to arrange for an orderly
    transition of the Leased Premises from FHA.

             This letter is without prejudice to, and MPT expressly reserves, any and all other rights and
    remedies under the Lease, the Other Agreements, the Stipulation Agreement, and all other
    agreements or instruments executed in connection therewith, applicable law 01' otherwise. MPT's


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       Flor;en~ Hospital at Anthem, LLC
       March 8,2018
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       failure, delay; or refusal to pursue such other rights and remedies at this time does not constitute a
       waiver {If any- right or remedy available to MPT now or in the future, all of which shall remain in
       full force and effect and shall not be deemed to be waived, impaired, estopped, diminished. or
       prejudiced in any manner.



                                                               V~.;;~~
                                                               John Maston O'N eal

        JMOllam

       cc:       GeraldShelley
                 F~~Pte     Craig, P.C.
                 2394 East Camelback Road
                 Suite 600
                 Phoenix: AZ 85016-

                 r.nkJIgo~DLIHoldings I, LLC
                 fudigo Gapital Services, LLC
                 325 West ~3'8thStreet, Room 1005
                 New York, NY 10018
                 Attn; Benjamin Bornstein


                  Gilbert Hospital, LLC (as Guarantor)
                  5656 South power Road
                  Gilbert, AZ 8.5236
                  AttI1~ Dennis Rutherford
                  Facsimile: (4iW) 279-5'836




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           any-right or'remedy available to MPT now or in the future. all of which shall remain in full for-ce
           alta ¢.ff'fictand shall not be deemed
                                             to be waived, impaired, estopped, diminished, or prejudiced
           in any manner,




           co:        Gerald Shelley
                    Fenn~mpreCraig, P.C.
                    23&4:,East Camelback Road
                    stitte 600
                      PhoeniX.. AZ 85016




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                         EXHIBIT 4




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                                                                                               Dale C. Schian
                                                                                                dale@biz.1aw



                                                 March 20,2018


     Sent via Entail Only fgshellev@fclaw.contl

     Gerald L. Shelley, Esq.
     Fennemore Craig, P.C.
     2394 East Camelback Road, #600
     PhoeniK,Juizona 85016-8429

              Re:    MEDHOST Forbearance

     Dear Gerald:

             On December 15, '2017 MEDHOST of Tennessee, Inc., MEDHOST Direct, Inc., and
     Yourflaretlniverse, Inc. (collectively "MEDHOST") sent written notice to Gilbert Hospital and
     Florence Hospital at Anthem (jointly, the "Companies") notifying the Companies of
     MEDHOST'S intention to terminate the "Agreements," as defined in the notioes.unless past-due
     amounts were cured within 30 days.

           On January 19, 2018 MEDHOST notified the Companies in writing of termination ofthe
     Agreements,   Notwithstanding the termination, MEDHOST permitted the Companies an
     accommodation as follows:

              However, wlu1e MEDHOST has the right to terminate the Agreements and all
              access to the system immediately, as an accommodation MEDHOST will delay
              this termination for a period of sixty (60) days for the sole purpose of allowing
              Customer to make arrangements for any of its data currently stored on
              MEDHOST servers. At the conclusion of that sixty day period, MEDHOST will
              terminate all remaining access to the system. All access to the system between
              the date of this letter and the date on which MEDHOST terminates such aocess
              shall be governed by the Agreements. Beyond this limited access; MEDHOST is
              hereby terminating all other services, including statement processing services,
              effective immediately.

            The accommodati-on granted by MEDHOST is to expire on March 20, 2018. The
     Companies have requested that MEDHOST agree to forbear from terminating access to the
     MEDHOST system until April 3, 2018, and MEDHOST is willing to do so on the following
     terms and conditions:


              1.     The forbearance does not reinstate or otherwise afford the Companies my
 00370536.7

                          1850 North Central Avenue, Suite 900 • Phoenix, Arizona 85004-4531

                                            602-277-1501   • www.biz.1aw


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                                                                                                    ,



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   March 20, 2018
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   continuing rights under the Agreements except as set forth herein;

              2.    MEDHOST is willing to forbear from terminating access to the system until April
    3,2018;

          3.        All access to the system shall continue to be governed by the terms of the
    Agreements;

              4.    In consideration ofMEDHOST's     agreement to forbear in terminating service:

                    a.      The Companies will immediately pay MEDHOST the amount of
                            $50,000;

                    b.      The Companies acknowledge that such payment is not by reason of
                            an antecedent debt, but strictly in consideration of the new
                            accommodation granted by MEDHOST;

                     c.     On or before March 23, 2018, Florence Hospital at Anthem shall
                            pay the sum of $30,000 as provided for in the Settlement
                            Agreement ofMEDHOST's Claims dated November 10, 2017 and
                            approved pursuant to an Order Approving Stipulation Regarding
                            Settlement Agreement of MEDHOST Claims dated March 13,
                            2018. If such payment is not timely received, MEDHOST's
                            forbearance shall automatically terminate without further notice.

            5.      Absent further agreement in writing between the parties, MEDHOST's agreement
    to forbear shall automatically terminate on April 3, 2018; and

           6.    MEDHOST's prior accommodations and this agreement to forbear shall not
    create any entitlement or expectancy of additional accommodatioris or forbearance by
    MEDHOST in exercising its rights under the agreement.

              If the foregoing accurately reflects our agreement and to assure uninterrupted service,
    please sign in the space below and return an executed copy of this letter to me by tomorrow.


                                                         Sincerely,




                                                         Dale C. Schian


    DCS:jsl




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    cc: client

    GILBERT HOSPITAL, LLC and FWRENCE
    HOSPITAL AT ANTHEM, LLC


    By __ ~                    ~         __
        Gerald L. Shelley, its Counsel




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                                                                                          -
    1   Kyle S. Hirsch, 024155
        Julie M. airk, 033908
    2   BRYAN CAVB LEIGHTON PAISNER
    3   Two N. Central Avenue, Suite 2100
        Phoenix, AZ 85004-4406
    4   Telephone: (602) 364-7000
        Facsimile: (602) 364-7070
    5
        E-mail:        kyle.hirsch@bclplaw.com
    6                  iul~e.birk@bclplaw.com

    7   Attorneys for Plaintiff Indigo-DLI Holdings I, LLC
    8
                        IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
    9
                                    IN AND FOR THE COUNTY OF MARICOPA
   10
   11   INDIGO-DLI HOLDINGS I, LLC, a Delaware               Case No. C!Vzo    (a --0&J]-"(1)
        limited liability company,
   12                                                        ORDER GRANTING
                             Plaintiff,                      APPLICATION FOR
   13
                                                             APPOINTMENT OF RECEIVER
   14            vs.
                                                             (Commercial Court Assignment)
   15 NEW VISION HEALTH, LLC, and Arizona
      limited liability company; GILBERT
   16 HOSPITAL, LLC, an Arizona limited liability
   17 company; and FLORENCE HOSPITAL AT
      ANTHEM, LLC, an Arizona limited liability
   18 company,
   19                        Defendants.
   20
   21            The Court has considered the Application for Appointment of Receiver
   22   ("Application") with the supporting declarations and exhibits filed by plaintiff Indigo-
   23   DLI Holdings I, LLC ("Plaintiff'), and the entire case record.        Capitalized terms not
   24   otherwise defined in this Order shall have the meaning given in the Application.
   25            Plaintiff alleges that defendant New Vision Health, LLC ("NVH") owns 100% of
   26   the equity interests in defendants Gilbert Hospital, LLC ("GH") and Florence Hospital at
   27   Anthem, r.,LC ("FHA" and, collectively with GH and NVH, "Borrowers").              Plaintiff
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                 1   further alleges that GR operates an emergency healthcare facility located at 5656 S.

                 2   Power Road, Gilbert, Arizona ("GR Business") and that FHA, operates an emergency

                 3   healthcare facility located at 4545 North Hunt Highway, Florence, Arizona ("FHA

                 4   Business" and, collectively with the GR Business, "Business"). Plaintiff further alleges

                 5   that Borrowers have defaulted on their payment and performance obligations to Plaintiff,

                 6   and that Plaintiff holds senior-priority perfected lien interests in and to virtually all of the

                 7   assets of Borrowers.           Plaintiff further alleges that the immediate appointment of a

                 8   receiver is warranted to protect Plaintiff s security interests in the assets of Borrowers, to

                 9   preserve the value thereof and of the Business which value will erode unless and until a

                10   receiver is appointed to sell, liquidate and/or marshall the assets of Borrowers for the

      CI        11   benefit of Borrowers' creditors, and to protect the public either through continued or
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                12   discontinued hospital operations while such sale, liquidation and/or marshalling takes
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.2l~ 0I! co~                  The Court finds substantial cause for appointing a receiver. Accordingly,
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     0  15                    IT IS HEREBY ORDERED:
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IDzjf           16   I.        GRANTING the relief requested in the Application as set forth herein.
      !         17   Il,      APPOINTMENT OF RECEIVER. Resolute Commercial Services, LLC, an
                18            Arizona limited liability company, by and through Jeremiah Foster, is hereby

                19            appointed receiver ("Receiver"), effective iminediately upon compliance with the

                20            requirements of Arizona Rule of Civil Procedure 66(b)(2).

                21   III.     DUTIES OF RECEIVER.                 The Receiver is granted the following powers and

                22            duties:

                23            A.          Possession. Take immediate and exclusive possession and control of-all the

                24                        assets owned by Borrowers and used in connection with the Business

                25                        including, without limitation, all bank accounts, deposit accounts, accounts

                26                        receivable, equipment, general intangibles and intangible assets; licenses of

                27                        every kind; healthcare receivables of every kind and nature, including all

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                 1                        proceeds thereof; Medicare or Medicaid provider .numbens)               and/or

                2                         provider agreement(s) with all rights thereunder, including rights to bill and

                 3                        collect on accounts receivable generated thereunder; insurance contracts,

                4                         payments, proceeds, reimbursements, and/or other recoveries; goods;

                 5                        instruments; inventory; investment property; leases; contract rights; books,

                 6                        records, lists, customer/client/patient lists, agreements, and all other

                 7                        documents; motor vehicles; furniture; fixtures; trade names, trademarks,

                 8                        and all other intellectual property rights; litigation claims; cash on hand;

                 9                        ownership interests and/or management control rights of Borrowers; and all

                10                        other personal property owned by Borrowers (collectively, "Property"); and

      0         11            B.          Operation, Maintenance, and Liquidation.          Take all actions that the
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                12                        Receiver deems necessary: to safeguard, preserve, protect, and maximize
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                13                        the value of the Property and the Business; to operate, sell, liquidate, and/or
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!l:c            14                        wind down the Business as the Receiver, in his absolute and sole discretion
~ c< ~
lJ ~ ><~        15                        and business judgment, deems appropriate or as approved by the Court
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III             16                        including, for example and without limitation: making all personnel
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                17                        decisions; entering into and terminating any and all contracts and

                18                        agreements relating to the Business; acting under any license or permit

                19                        issued to Borrowers in connection with the operation of the Business;

                20                        marketing and selling all or any portion of the Property, including any or all

                21                        of the Business, free and clear of liens, claims, liabilities, and/or

                22                        encumbrances of any kind or nature except as may be expressly and

                23                        voluntarily assumed; and collecting all government and non-government

                24                        healthcare receivables directly and/or through one or more agents.

                25                        Receiver shall be entitled to gain access to all information pertaining to the

                26                        Property and the Business, including but not limited to all patient healthcare

                27                        records; provided, however, that Receiver shall not be excused from, and

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                        1                        shall remain obligated to abide by, all aspects of the Health Insurance

                        2                        Portability and Accountability Act; and

                        3             C.         Pre-Receivership Bills. Pay from funds of the receivership estate, subject

                        4                        to the Budget as defined in Paragraph (0) below, current operating, selling,

                        5                        wind down, and liquidation expenses of the Business and the Property,

                        6                        incurred by the Receiver subsequent to his appointment, including, without

                        7                        limitation, fees and administrative expenses of the Receiver and the fees

                        8                        and administrative expenses of the professionals retained by the Receiver;

                        9                        but the Receiver may not use funds of the receivership estate to pay any

                       10                        bills for goods or services contracted for or provided to Borrowers, the

      °                11                        Business or the Property prior to the date of this Order, unless such
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     so
III
                       12                        payment is: (i) a pre-receivership payroll obligation pertaining to the
 Iii':;!
'iii U)
Q.     ai°c                                      Business and not payable to the owner of any Borrower; and/or (ii)
c     :d~c             13
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.~~ I!~                                          necessary to enable the Receiver to continue to operate andlor wind down
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1U5i-:~                                          the Business and the Property and, in such case, only with Court approval
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~oo                                              or with the express written consent of Plaintiff; and
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      I-
                       17            D.          Receiver's Agent. Hire and, subject to the Budget as defined in Paragraph

                       18                        (0) below, pay such agents, independent contractors, consultants, and

                       19                        employees (including, without limitation, Resolute Commercial Services,

                       20                        LLC) as may be needed to assist the Receiver in managing, the Property and

                       21                        operating, selling, liquidating, and/or winding down the Business, if

                       22                        appropriate, provided the amount of the compensation paid to such agents,

                       23                        independent contractors, consultants, and employees must be comparable to

                       24                        that charged by similar companies for similar services.      Such authority

                       25                        expressly includes such services as the Receiver deems necessary to collect

                       26                        government and non-government healthcare receivables generated by the

                       27                        Business; and

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    1            E.          Receiver's      Counsel.       Hire independent            legal counsel     as the Receiver

    2                        determines      is reasonable      and necessary,          and subject to the Budget as

    3                        defined in Paragraph           (G) below, reimburse           and compensate         such legal

    4                        counsel      for their services        at rates reasonable        and appropriate        for the

    5                        services provided; and

    6            F.          Reimbursement           and     Compensation          Of     Receiver.        Receive,      from

    7                        receivership        funds (whether earned or borrowed):                 (i) reimbursement     for

    8                        reasonable     and necessary       out-of-pocket      expenditures        of the receivership,

    9                        including Receiver's          standard costs for mileage, faxes, copies and similar

   10                        Receiver-provided          benefits;    (ii) compensation         for fees earned        by the

   11                        Receiver, calculated at the hourly rate of $3 SO/hour or such contingency fee

   12                        arrangement as may be made with Plaintiff calculated based on recovery of

   13                        liquidated     Property;      and (iii) compensation            for Resolute      Commercial

   14                        Services, LLC, acting as consultant to the Receiver, at hourly rates ranging

   15                        from $lOO/hour - $3 SO/hour; and such other terms as agreed between

   16                        Receiver      and Plaintiff,     for such time and effort as is reasonable                   and

   17                        necessary for Receiver to accomplish the purpose and tasks set forth in this.

   18                        Order including but not limited to operating, selling, liquidating,                        and/or.

   19                        winding       down      the   Business,      preparing       reports,    attending    hearings,
                                                                      I



   20                        preparing Court filings, and participating in discovery, and which time shall

   21                        be accounted for in the monthly financial report; and

   22             G.         Operating Budget.          Prepare a projected 13-week cash flow budget for the

   23                        Property      and the Business          ("Budge!"),        to be approved       in writing     by

   24                        Plaintiff, based upon operating data obtained from Borrowers                         and/or the

   25                        Business and other sources where the use of a budget is appropriate.                          An

   26                        initial Budget        shall be prepared       and submitted        for Plaintiffs      approval

   27                        within     thirty    (30) days     of the date of Receiver's                appointment,      and

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    1                        subsequent Budgets shall be submitted for Plaintiff s approval within thirty

    2                        (30) days of the end of the pending Budget period; and

    3            H.          Existing Bank Accounts. Issue demands for the freezing and turnover of

    4                        funds upon any financial institution which is a depository of funds

    5                        belonging to Borrowers andlor related to or arising from the Business,

    6                        whether such accounts are in the name of Borrowers or not, and Receiver

    7                        may indemnify the institution upon whom such demand is made on behalf

    8                        of the receivership estate, and open such accounts in the name of the

    9                        Receiver as necessary to manage and operate the Business andlor the

   10                        receivership estate; and

   11            I.          Utility Services and Deposits.       Issue demands in the name of the

   12                        receivership upon public utilities which Receiver determines provide

   13                        services' to the Property andlor the Business, to transfer such services

   14                        together with any deposits held by the utility to the exclusive control of

   15                        such Receiver, and to establish andlor continue existing utility service by

   16                        paying only those utility expenses incurred during the course of the

   17                        receivership and, if required, by providing the utility provider with an

   18                        adequate security deposit; and

   19             J.         Post Office Box. Issue demands in the name of the receivership upon the

   20                        U.S.- Postal Service, other mail and freight carriers, and private mailbox

   21                        operators to gain exclusive possession and control of such postal boxes as

   22                        may have been used by Borrowers for the receipt of funds and other mail

   23                        related to the Property and the Business, and take any other steps as

   24                        Receiver deems reasonable and necessary to retrieve, collect and review all

   25                        mail addressed to Borrowers related to the Property and the Business; and

   26             K.         Source of Revenue.     Identify all revenue sources related to the Property

   27                        and/or   the   Business,   whether    fees,   rents,   royalties,   insurance

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    1                          reimbursements     and/or payments,      receivables   collections,   avoidable

    2                          transfer recoveries or otherwise, and make demand upon all payees to make

    3                          remittances of future sums and past-due balances solely to the' Receiver;

    4                          and

    5              L.          Demand for Accounts Receivable. From available records, compute the

    6                          amounts due from Borrowers' current or former customers/clients/patients,

    7                          insurance providers,     and/or governmental entities and demand the

    8                          immediate payment to the Receiver of such amounts and to take

    9                          appropriate action to enforce the turnover of such funds; and
   10M.                        Insurance. Determine whether adequate insurance is in place, and, if not, to

   11                          obtain and pay for such insurance from available funds and to undertake all

   12                          steps necessary to satisfy the requirements of obtaining and maintaining

   13                          insurance; and

   14              N.          Right to Lease.    Enter into leases for all or part of the Property, with

   15                          Plaintiff s written consent, upon terms and conditions which                  are

   16                          comparable to the terms and conditions upon which other properties, are

   1'7                         offered' for rent in the marketplace, and to pay leasing commissions under

   18                          any agreement providing for same pursuant to Paragraph (B) hereof; and

   19              o.          Contracts. Continue in effect or cure any contracts presently existing and

   20                          relating to the Property or the Business, including, without limitation, any

   21                          franchise agreements, existing licenses, or other agreements. The Receiver

   22                          may enter into, modify, and/or reject contracts affecting any or all of the

   23                          Property or the Business, and may exercise rights existing under such

   24                          contracts, including, but not limited to, filing suit thereon, if necessary; and

   25              P.          Improvements. Expend sums from the receivership estate with Plaintiff's

   26                          written consent which, in the business judgment of the Receiver, are

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    1                        required to make the Business and/or the Property competitive, marketable

    2                        and/or profitable; and

    3            Q.          Advances by Plaintiff.     Obtain advances from Plaintiff or any other existing

    4                        lender of any Borrower (though not obligating Plaintiff or any such lender

    5                        to do so) of such funds as may be required by Receiver to cover operating

    6                        expenses     of the receivership,        and the costs and expenses           needed      for

    7                        Receiver to perform all of the tasks and duties set forth in this Order.                  To

    8                        the extent advances are obtained from Plaintiff or any other existing lender

    9                        of any Borrower, such amounts shall be added to the advancing lender's

   10                        sums due and owing by such Borrower and secured by the Property (if

   11                        applicable), and such advancing lender shall be entitled to charge interest

   12                        on such advances       at the highest rate (including              the default rate) then

   13                        payable under the underlying loan documents, with interest to be collected

   14                        with and in addition to all othersums         due such advancing lender as allowed

   15                        thereunder      for periodic   interest,    penalty    interest,     scheduled   principal

   16                        reductions, all Receiver's fees and expenses, attorneys' fees and court costs

   17                        expended,       and any other costs or fees incurred,                by reason     of such

   18                        Borrower's      default or by reason of Receiver accomplishing the purpose and

   19                        tasks set forth in this Order.          During the first month of the receivership

   20                        only, to the extent the receivership         estate has insufficient cash to pay the

   21                        approved fees and expenses of the Receiver and Receiver's                   professionals

   22                        (after accounting      for the cash balance           at the commencement            of the

   23                        receivership,    subsequent collections, and payment of subsequent operating

   24                        expenses), Plaintiff agrees to lend the receivership               estate pursuant to the

   25                        terms of this Paragraph Q up to $150,000 (but only to the extent of any cash

   26                        shortfall)   for the exclusive      purpose    of paying      the approved         fees and

   27                        expenses of the Receiver         and Receiver's       professionals.     Nothing     in this

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    1                        Paragraph Q is meant to cap the amount of approved fees and expenses of

    2                        the Receiver and Receiver's professionals           or limit the payment of fees and

    3                        expenses      of   the   Receiver       and   Receiver's       professionals     from     the

    4                        receivership estate; and

    5            R.          Receiver's     Right to Borrow.          Only to the extent any existing             lender,

    6                        including Plaintiff, is unwilling to make advances pursuant to Paragraph

    7                        (Q) above, borrow for the purpose of funding operation of the receivership

    8                        estate where the revenues are not sufficient for Receiver to perform all of

    9                        the tasks and duties set forth in this Order; and

   10             s.         Permits and Licenses.        Apply, obtain, and pay any reasonable fees for any

   11                        lawful     license, permit    or other governmental            approval   relating   to the

   12                        Property     or the Business;    to confirm the existence of and exercise the

   13                        privileges of any existing license or permit or the operation thereof related

   14                        to the Property or the Business; and do all things necessary to protect and

   15                        maintain such licenses, permits and approvals, including, but not limited to,

   16                        taking such license in the name of the Receiver personally or his nominee.

   17                        The Receiver may, in the name of the receivership estate, continue to utilize

   18                        all of the permits and licenses pertaining to the Business or th~ Property, or

   19                        transfer     to the name of the receivership               estate permits      and licenses

   20                        pertaining to the Business or the Property, or apply for new permits and

   21                        licenses in the name of the receivership          estate.      The Receiver is expressly

   22                        authorized to continue operating the Business, without interruption,                    under
                                                                                        )



   23                        any applicable      Medicare    and/or Medicaid       provider number           and related

   24                        provider agreement.       The appointment of the Receiver shall not constitute a

   25                        breach     or default    under any licenses,       approvals,      or permits     presently

   26                        affecting the Business or the Property; and

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    1             T.         Request Police Assistance.           Request assistance of law enforcement officials

    2                        when taking possession,             or at any other time during the term of the

    3                        receivership,     if, in the opinion of Receiver, such assistance is necessary to

    4                        preserve the peace; and

   .5             u.         Distribution     of Funds.        If Receiver determines that it possesses funds in

    6                        excess of those needed to pay all operating               costs of the receivership,

    7                        including      tax liabilities,    and if there are no other outstanding       bills or

    8                        obligations of Receiver (including fees and expenses of the Receiver or any

    9                        employee or professional retained by the Receiver in accordance with this

   10                        Order), and no lienholders            of the Property   senior to Plaintiff requiring

   11                        payment, then Receiver may make distributions to Plaintiff, such' sums to

   12                        be applied by Plaintiff in the manner provided for in the underlying loan

   13                        documents,       or as otherwise determined        by this Court, with the express

   14                        provision that any such distribution shall not reinstate any loan, affect any

   15                        foreclosure or DCC sale of any property of the receivership estate, or waive

   16                        or modify Borrowers'          performance obligations set forth in the existing loan

   17                        documents in any way; and

   18             v.         Periodic Reporting.          Provide the Court and any other interested party who

   19                        reasonably      so requests a periodic (and in no event less frequently than

   20                        quarterly) summary of revenues and disbursements                 on a "cash reporting

   21                        basis"   as that      term     is commonly      understood     within   the accounting

   22                        profession, and, upon conclusion of the receivership, the Receiver shall file

   23                        with the Court a final summary               accounting      for the full term of the

   24                        receivership; and

   25             W.         Financial Records and Reporting.           Take possession of Borrowers'      financial

   26                        records, including but not limited to any financial records in the possession

   27                        of Borrowers'       auditors and accountants,       and, in the Receiver's     business

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                   1                        judgment, to engage accountants to complete Borrowers'                 audited financial

                   2                        statements; and

                   3            X.          Taxpayer and Other ID Numbers.          Use for any lawful purpose any taxpayer

                   4                        identification   numbers    relating to the Property,          Borrowers,     and/or the

                   5                        Business, or any other number assigned to the Property, the Business, or

                   6                        any of the Borrowers,       including without limitation any Medicare              and/or

                   7                        Medicaid billing number; and

                   8            Y.          Bankruptcy       Filing.     Upon      Receiver's    receipt      of    notice    of    the

                   9                        commencement        of a bankruptcy     case in which any Borrower is a debtor

                  10                        and/or any or all of the Property is part of the bankruptcy estate, retain

      0           11                        possession    and control of the receivership       estate and continue to perform
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C._!              12                        Receiver's    duties as set forth in this Order until such time as (i) Plaintiff
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                  13                        confirms     in writing that it will not seek to excuse Receiver                 from the
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.21~        I!~   14                        turnover requirements      of 11 U,S.C. § 543, or (ii) an order is entered by the
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B~.~g             15                        bankruptcy court directing Receiver otherwise; and
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~o8                             Z.          Marketing and Sale of Business.          Upon Plaintiffs       prior written approval,
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      !           17                        the Receiver is authorized to place the Business for sale on the market,

                  18                        retain an investment       banker and/or broker        approved        by Plaintiff,   and

                  19                        undertake any and all other duties associated with the marketing and sale of

                  20                        all or part of the Business, including executing documents necessary for

                  21                        consummation      of a sale, with such sale being subject to Plaintiff and Court

                  22                        approval.

                  23   IV.      DUTIES OF BORROWERS AND OTHERS.'                                    Borrowers,        including    any

                  24             employee, officer, shareholder, representative,           attorney, accountant, or other agent

                  25            of any of the Borrowers, or any entity under the control of any of the Borrowers,

                  26             shall:

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                   1             A.          Cooperate. Provide reasonable cooperation with the Receiver and disclose

                   2                         all information relevant to Borrowers, the Business, and the Property,

                   3                         including copies of bills, service contracts, invoices, submissions to

                   4                         insurance providers, customer/client/patient healthcare records, and bank

                   5                         accounts, and names of all contractors, subcontractors, vendors, suppliers,

                   6                         employees,    attorneys,    accountants,    representatives,      insurers,   and

                   7                         customers/clients/patients; and tum over to the Receiver any other material

                   8                     . relevant
                                                .   and necessary in the business judgment
                                                                                    .
                                                                                           of the Receiver to the

                   9                         fulfillment of the tasks and objectives set forth in this Order, Borrowers

                  10.                        shall reasonably cooperate with the Receiver to facilitate Receiver's (i)

                  11                         collection of the private pay and private portion of Medicare and Medicaid
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              l   12                         receivables and receivables and settlements under Medicare and Medicaid
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                  13                         and insurance company receivables; (ii) obtaining information necessary
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'iii c( 6 C/
oJ - N C'         14                         for any reporting to be submitted in accordance with applicable laws, rules,
       jh:~
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00)( ..           15                         and regulations involving Medicare and/or Medicaid healthcare receivables;
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~oo                                          and
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       ~                         B.          Be Enjoined. Be prohibited and restrained from: (i) disturbing, in any way,
                  17
                  18                         Receiver's ability to perform his tasks and objectives as set forth in this

                  19                         Order or from enjoying the benefits of any contract or lease pertaining in

                  20                         any way to the operation or wind-down of the Business; (ii) collecting, or

                  21                         attempting to collect, the rent, issues, income and profits derived from the

                  22                         Business and/or the Property; (iii) expending, disbursing, transferring, .

                  23                         assigning, selling, conveying, devising, pledging, mortgaging, creating a

                  24                         security   interest   m    or   disposing    of,   dissipating,     mishandling,

                  25                         misappropriating, diverting, or otherwise permitting waste of any of the

                  26                         Property or other asset of Borrowers, including without limitation the

                  27                         Business and any revenue generated by the Business; (iv) taking any

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                        1                         actions that would, directly or indirectly, have an adverse impact on the

                        2                         value of the Property and/or the Business, including without limitation the

                        3                         whole or any part of the Property; and (v) without the express written

                        4                         consent of the Receiver, removing from the Property any personal property

                        5                         asserted to belong to them; and

                        6              C.         Provide Books and Records. Provide to Receiver no later than 12:00 p.m.

                        7                         MST, on the business day following entry of this Order all books and

                        8                         records relating to the Property and/or the Business, including any and all

                        9                         payroll and other employee-related records; and

                       10             D.          Customer Cooperation. With respect to the customers/clients/patients of

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      0                11                         the Business or others making payment to Borrowers or any other person
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                       12                         on behalf of the Business, pay any amounts directly to Receiver effective as

  e~ ~                 13                         of the date of this Order; and
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                       14             E.          Others Indebted to Borrowers. With respect to any other persons or entities
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BBlf!!                 15'                        owing sums to Borrowers which would otherwise be payable to Borrowers,
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mzit                   16                         .pay such sums to Receiver, including any portion thereof which represents
      ~                                           reimbursements or payment for past-due rents, sales, or services; and
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                       18             F.          Surrender Assets. Tum over to Receiver, and to instruct their agents and

                       19                         employees to tum over to Receiver, all goods, inventory, profits, rents,

                       20                         security deposits, cash and all other assets of the receivership estate, all

                       21                         keys and contracts, all receivables, and all other things of value, and to

                       22                         cooperate with Receiver in all ways reasonable, as Receiver performs its

                       23                         Court-appointed tasks, without Borrowers interfering or impeding Receiver

                       24                         in any way, or Borrowers entering upon the receivership property except

                       25                         with the prior written consent of Receiver; and

                       26              G.         Further Surrender Assets. Cooperate in the transition to the Receiver of the

                       27                         control and/or management of the Property, the Business, and/or any asset

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                       1                        of Borrowers or the Business; and within twenty-four (24) hours after the

                       2                        effective date of the receivership, tum over to the Receiver all of the

                       3                        following pertaining to the Property and the Business (but only to the extent

                       4                        that such items are in their possession, custody or control):

                       5                        1.     All keys, key fobs, alarm codes, and other security devices (whether

                       6                               to real property, personal property, equipment, safe deposit boxes,

                       7                               mail boxes, or otherwise);

                       8                        2.     All records pertaining to customers/clients/patients, accounts, and

                       9                               assets, including, by way of illustration but not limitation, all credit

                      10                               card billings and cash receipts journals, insurance payment and

      0               11                               reimbursement      information,    and' patient healthcare receivable
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C ~~              ~   13                        3.     All records regarding communications with any local, state or
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.liP':: ~ ~           14                               federal governmental agency regarding the Property and/or the
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                      15                               Business;
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~oo                                             4.     All      records      regarding        communications      with       all
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                      17                               customer/client/patient insurance providers;

                      18                        5.     The petty cash fund, if any;

                      19                        6.    ,A current aged account receivables or delinquency report;

                      20                        7.     An aged listing of all payables;

                      21                        8.     A copy of any records relating to operating expenses for the Property

                      22                               and the Business;

                      23                        9.     A list of utilities and utility accounts;

                      24                        10.    Operating statement from the most recent year-end and from the

                      25                               current year;

                      26                        11.    All on-site employee payroll records and employee files and

                      27                               applications;

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                      1                        12.        An inventory of all equipment, furniture, vehicles and supplies for

                     2                                    the Property and the Business;

                     3                         13.        All existing service contracts;

                     4                         14.        All franchise agreements, if any, including all amendments;

                      5                        15.        All signage agreements, if any, including all amendments;

                      6                        16.        All pending bids for contractor work;

                      7                        17.        All insurance policies (including the terms thereof) on the Property

                      8                              -    andlor the Business;

                      9                        18.        All vendor insurance certificates;

                     10                        19.        Documents identifying and summarizing all pending litigation

                     11                                   (excluding this action);
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                                               ~O.        All documents, books, records and computer files, computer
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Ii ::151 ~           13                                   equipment, software, management         files, equipment, furniture,
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.21~ I! ~                                                 supplies and all passwords needed to access such software and
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oolf'"               15                                   computer files, email accounts maintained for the Property and/or
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mZQ..                16                                   the Business (and all off-site financial records) including, but not
   ....~                                                  limited to, all records concerning the income and the operation and
                     17
                     18                                   management ofthe Property and/or the Business; and

                     19                        21.        All -documents pertaining to licenses and permits relating to the

                     20                                   Business; and

                     21                        22.        Such other records pertaining to the management and assets of the

                     22                                   Property and the Business as may be reasonably requested by the

                     23                                   Receiver; and

                     24            H.          Access Codes. Provide the Receiver with all passwords, passcodes, and

                     25                        user names required to access electronic data and to use any computer

                     26                        located on the receivership property or belonging to the Borrowers and/or

                     27                        pertaining to the Business, or any other computers on which such

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                          1                        information     is stored, together       with passwords     needed     to access the
                                                                           ,                                                   ,




                         2                         Business' e-mail accounts and the e-mail accounts of the Borrowers and its

                          3                        employees, contractors, representatives and agents; and

                         .4            I.          Prepare Pre-Receivership        Accounting. Prepare and submit to Plaintiff and

                          5                        Receiver     an accounting      for all income received for the one-year period

                          6                        prior to the commencement of the receivership, to be delivered no.later than

                          7                        five (5) business days after the entry 'of this Order; and

                          8            J.          Insure.    Fully cooperate with Receiver in adding Receiver and Plaintiff as

                          9                        additional insureds and Plaintiff as the loss payee on all insurance relating

                         10                        to the operation and management of the Property including, but not limited

     0                   11                        to, fire, extended coverage, property damage, liability, fidelity, errors and
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                         12                        omissions,     and workers'

                                                   deemed appropriate by Receiver.
                                                                                    compensation,     and modifying      the policies      if

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                              V.       RECEIVER'S DISCRETION. Notwithstanding the above authority and power
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                                       to act with respect to the Property                  and the Business,   Receiver    shall not be
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Illz   a:                16            obligated to take any actions which it does not deem reasonable and necessary, or
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     ....                17            if adequate funds are not available to pay for the actions or services of Receiver,

                         18            its agents andlor third parties engaged by Receiver.

                         19   VI.      NO IMPAIRMENT TO PLAINTIFF'S RIGHTS AND REMEDIES.                                                  No

                         20            impairment of Plaintiff s rights and remedies and nothing contained in this Order
                                                                               ,              '
                         21            shall prohibit, limit, or .restrain Plaintiff from enforcing its respective rights and

                         22            exercising its respective remedies under applicable law and under the Loan and

                         23             Security Documents           against Borrowers,        the Property   (or any portion thereof),

                         24            and/or any revenue' generated               by the Business      including,   without   limitation,

                         25            initiating or completing a sale or transfer of the Property, or any portion thereof, if

                         26            such sale or transfer is approved and confirmed by this Court (except for the sale

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                    1             or transfer of the Property that occurs in connection with a duly noticed and

                   2              properly held DCC sale, which does not require Court approval).

                   3    VII.      LIABILITY OF PLAINTIFF.                   Plaintiff, and its respective subsidiaries,

                   4              affiliates, owners, members, managers, officers, directors, agents, representatives,

                    5             shareholders, bond holders, and employees shall not be liable for any act or

                   6              omission of the Receiver or its owners, members, managers, officers, directors,

                   7              agents, representatives, shareholders, and employees.           Plaintiff shall not be

                    8             deemed to be a mortgagee in possession as a result of:

                   9              A.         The appointment of a Receiver pursuant to this Order; and

                   10             B.         The Receiver's taking possession of the Property and collecting revenues of

                   11                        the Business; and
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c._!               12             C.         Plaintiff initiating andlor completing any DCC sale of the Property; and
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c :::I 0 ~         13             D.         Plaintiff initiating andlor completing a sale or transfer of the Property, or
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!l- 0tII'          14                        any portion thereof, if such sale or transfer is approved and confirmed by
~ i·.< ~~                                    this Court; and
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IDZ6:              16             E.         The Receiver's management, operation, and/or winding down of the
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  ~                                          Business.
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                   18   VUI. LIMITATION OF RECEIVER'S LIABILITY.                              In addition to any legal

                   19             doctrine applicable to officers of the Court under Arizona law, including without

                   20             limitation judicial immunity available to Court-appointed receivers, the Receiver

                   ~1             and his agents, contractors, employees, and representatives shall be held harmless

                   22             from any and all claims, losses, and/or liability arising out of any action or

                   23             inaction in connection with 'carrying out the Receiver's duties and responsibilities

                   24             set forth in this Order. In the event the Receiver prevails in any suit filed against

                   25             the Receiver, his agents, contractors, employees and/or representatives over the

                   26             Receiver's performance of his duties and responsibilities set forth in this Order,

                   27             the reasonable fees and costs of defending such action (including any appeals

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                                   1              thereof to final resolution and award of judgment) not ordered to be paid by the

                                  2               non-prevailing party(ies) shall be reimbursed as a receivership expense pursuant to

                                   3              the terms of this Order.

                                  4    IX.        TERMINATION OF RECEIVERSHIP.                         The Receivership           in the above-

                                  5               captioned action created by this Order shall terminate upon:                (i) completion of a

                                  6               DCC sale or any other transaction that results in the transfer of ownership of all of

                                  7               the Property, and distribution of all remaining assets out of the receivership estate

                                   8              consistent with the provisions set forth in this Order; (ii) payment in full of the

                                  9               indebtedness owed to Plaintiff by Borrowers, and all expenses of the receivership

                                  10              estate; or (iii) order of the Court.    Upon termination of the receivership, Plaintiff

          °                       11              shall file a Notice of Termination of the receivership which, unless an objection is
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 :!!§o                            12              filed with the Court within five (5) court days following the filing of such Notice
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                                  l3              with      the Clerk   of the Court,    shall discharge        Receiver   and exonerate            the
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'.g>~ 11! ~                                       receivership    bond, if any.    Upon the filing of the Notice of Termination of the
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                                  15              receivership, the Receiver is directed to transfer possession of all of the Property
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 ~Oo
IDzf                              16              remaining in the receivership estate, and any documents or records relating to such
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          ~                                       Property, the Business,     and the Borrowers,      to the designated representative               of
                                  17
                                  18              Borrowers (except in the event of a sale or other transaction that disposes of all of

                                  19              the Property, in which case the transfer of possession shall be made to the person

                                  20              or entity that acquired ownership of the Property) and to submit a final report and

                                  21              accounting pursuant to applicable law, unless such final report and accounting are

                                  22              waived by the then parties to this action.

                                  23              IT IS FURTHER ORDERED that except by leave of this Court, all lessors,
                                  24   lessees,      customers/clients/patients,     principles,   investors,     suppliers     andlor       creditors

                                  25   seeking to enforce any claim, right, or interest against any Borrower, the Business andlor

                                  26   the Property          are barred by this Order from using any self-help                or doing anything
                                                                                                                                         .
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                           1   whatsoever to interfere in any way with the Receiver in the conduct of the receivership

                           2   estate.

                           3             IT IS FURTHER             ORDERED    that Plaintiff may, at any time, with or without

                           4   cause, apply to the Court for an order dismissing the Receiver                 and/or appointing   a

                           5   substitute receiver to replace the Receiver appointed in this Order.

                           6             IT IS FURTHER             ORDERED    that the Receiver or Plaintiff may, at any time,

                           7   apply to this Court for further or other instructions and powers necessary to enable the

                           8   Receiver to properly perform the Receiver's             duties and to properly preserve and protect

                           9   the Property, or otherwise resolve ambiguities or disagreements             regarding the language

                          10   used in this Order.

     0                    11             IT IS FURTHER         ORDERED       that:
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                                         Receiver shall post a bond in the amount of $                                 _
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                                         IT IS FURTHER         ORDERED       that this Order is entered:
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,~..>c ~~                                _     on an interim basis subject to further Court order.
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           x~             15                   on a final basis.
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III        Q)
~oo                                      DONE IN OPEN COURT this __                  day of                  , 2018.
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                          19                                                    Judge, Maricopa County Superior Court
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